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                               No. 25-5248

         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT

                     VERA INSTITUTE OF JUSTICE ET AL.,
                           Plaintiffs-Appellants,
                                      v.
                      DEPARTMENT OF JUSTICE, ET AL.,
                          Defendants-Appellees,

            On Appeal from the United States District Court
                     for the District of Columbia
                            No. 25-cv-1643
             The Hon. Amit P. Mehta, U.S. District Judge

  PLAINTIFFS-APPELLANTS’ EMERGENCY MOTION FOR AN
             INJUNCTION PENDING APPEAL

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 July 11, 2025
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                 GLOSSARY OF ABBREVIATIONS

 APA                 Administrative Procedure Act

 CFC                 Court of Federal Claims

 OJP                 Office of Justice Programs




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                           INTRODUCTION

      In April 2025, DOJ’s Office of Justice Programs abruptly and

summarily terminated 376 multi-year grant and cooperative agreements

awarding more than $820 million in essential funding for public safety.

OJP sent identical form emails to Plaintiffs-Appellants and other

grantees, offering the same unsupported explanation that Plaintiffs’

awards no longer effectuated the program goals or OJP’s priorities.

      These arbitrary and unlawful grant terminations were devastating

to Plaintiffs and vulnerable populations that rely on their services.

Plaintiffs are organizations that use OJP funds for purposes such as

protecting communities from violence and furnishing services to crime

victims. They train and assist law enforcement, correctional facilities

staff, prosecutors, and states and localities. They work with vulnerable

populations who have been crime victims, including by providing free

interpretation services that allow Deaf and disabled crime victims to

communicate with law enforcement, and by training law enforcement to

serve individuals with disabilities who are victims of sex or labor

trafficking. They fund and work to successfully interrupt gun crime and

gang violence for juveniles and adults, including those at the highest risk,



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in cities across the country. They fund and work in hospitals to provide

lifesaving assistance for violently injured victims and their families,

while also mitigating retaliation that may arise. They provide resources

and necessary care to AAPI victims of hate crimes and violence.

      As a direct result of OJP’s unlawful termination of these grants,

critical services Plaintiffs provided in their communities have abruptly

ceased and organizations have shuttered. Staff have been laid off, and

many more will soon be laid off without a restoration of grant funding.

In some places, community members Plaintiffs serve have already and

will continue to lose their lives because of the disruption in critical, grant-

funded services. Tragically, since this suit was filed, Plaintiffs such as

FORCE Detroit were unable to intervene in active, known conflicts that

they otherwise would have mediated but for their loss in funding. This

void in services predictably resulted in the gun deaths of children and

members of their community over the July 4 weekend.                 App.173a;

App.120a. These senseless deaths will continue absent relief from this

Court.

      Plaintiffs moved for a preliminary injunction on behalf of

themselves and similarly situated grantees whose grants were



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terminated. The district court wrote that “there is no doubt in the court’s

mind that OJP’s award terminations were unfair and indiscriminate,”

App.168a, and that OJP’s “decision to terminate these awards was

unquestionably arbitrary, at least in lay terms,” App.136a. The court

also stated that “Defendants’ rescinding of these awards is shameful. It

is likely to harm communities and individuals vulnerable to crime and

violence.” Id. Yet, the court denied relief, mistakenly believing it was

powerless to “cure” this “injustice” and address OJP’s unlawful

termination of Plaintiffs’ grants, App.169a, because the Tucker Act

divested it of jurisdiction.

      Plaintiffs respectfully move this Court for an emergency injunction

pending appeal. Plaintiffs have demonstrated a likelihood of success that

the grant terminations were unlawful, and absent an injunction pending

appeal, Plaintiffs and the communities they serve will continue to suffer

grave, life-altering harm.1




   1 Plaintiffs sought analogous relief from the district court under FRAP

8. The district court has not ruled on the motion. Plaintiffs will inform
the Court when it does.


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                             BACKGROUND

      1.   Detailed regulations govern OJP’s administration of federal

grant funding and specify the grounds on which grants may be

terminated.    2 C.F.R. § 200.340; id. § 2800.101 (adopting Uniform

Administrative Requirements).

      Relevant here, OJP may terminate grants only under certain

circumstances and pursuant to specific procedures, including “pursuant

to the terms and conditions of the … award, including, to the extent

authorized by law, if an award no longer effectuates the program goals or

agency priorities.” Id. § 200.340(a)(4). If OJP wishes to terminate a grant

based on its failure to effectuate agency priorities, it can do so only if that

basis for termination is itself in the terms and conditions of the award.

Guidance for Federal Financial Assistance, 89 Fed. Reg. 30,046, 30,089

(Apr. 22, 2024) (terminations based on an award “no longer

effectuat[ing]” agency priorities are allowed “[p]rovided that the

language is included in the terms and condition[s] of the award”).

      2. In late-April 2025, OJP terminated 376 grants worth more than

$820 million without notice. App.2a. OJP sent identical form emails to

Plaintiffs and other grantees, offering the same unsupported explanation



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 that Plaintiffs’ “awards no longer effectuate[] the program goals or

 agency priorities.”   App.2a.   OJP ordered the grantees to stop work

 immediately and informed them that they would be reimbursed for work

 completed before termination. Id.

      Plaintiffs promptly filed a class-action lawsuit challenging OJP’s en

 masse terminations, raising constitutional, ultra vires, and APA claims.

 Dkt. 11. Plaintiffs moved to provisionally certify a class of all grantees

 whose awards OJP terminated and requested a preliminary injunction.

 Dkt. 10.

      On July 7, the district court denied Plaintiffs’ motion for a

 preliminary injunction, granted Defendants’ motion to dismiss, and

 denied as moot Plaintiffs’ motion for class certification. App.135a. The

 court concluded that it lacked jurisdiction to adjudicate Plaintiffs’ APA

 claims under the Tucker Act because Plaintiffs’ claims were essentially

 contractual in nature. App.148a-161a. The court also concluded that

 Plaintiffs’ constitutional claims failed and dismissed Plaintiffs’ lawsuit.

 App.161a-168a.




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                               ARGUMENT

      An injunction pending appeal is appropriate if Plaintiffs are likely

 succeed on their appeal, will suffer irreparable harm without an

 injunction, and the equities and public interest favor an injunction.

 Population Inst. v. McPherson, 797 F.2d 1062, 1078 (D.C. Cir. 1986). It

 is appropriate where Plaintiffs have presented a “serious legal question”

 on the merits, and the other factors weigh in Plaintiffs’ favor. Sherley v.

 Sebelius, 644 F.3d 388, 398 (D.C. Cir. 2011).

 I.   Plaintiffs are likely to prevail.

      A.    This Court has jurisdiction to grant preliminary
            injunctive relief.

      The APA generally authorizes judicial review of final agency

 actions like the grant terminations challenged here. The district court

 nonetheless concluded that it lacked jurisdiction on the theory that the

 Tucker Act supplants the APA in this context and vests exclusive

 jurisdiction in the Court of Federal Claims. But the APA is available for

 claims that turn primarily on “interpretations of statutes and regulations

 rather than the terms of an agreement negotiated by the parties.”

 Widakuswara v. Lake, 2025 WL 1288817, at *12 (D.C. Cir. May 3, 2025)

 (Pillard, J., dissenting), reconsideration en banc denied, 2025 WL



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 1556440 (D.C. Cir. May 22, 2025), & on reconsideration en banc, 2025 WL

 1521355 (D.C. Cir. May 28, 2025).

      A claim is “within the Claims Court’s exclusive Tucker Act

 jurisdiction” only if “both” (1) the “the source of the rights upon which the

 plaintiff bases its claims” are contractual, “and” (2) the relief sought is

 contractual. Crowley Gov. Servs. v. GSA, 38 F.4th 1099, 1106-07 & n.6

 (D.C. Cir. 2022) (emphases added); see also Megapulse, Inc. v. Lewis, 672

 F.2d 959, 968 (D.C. Cir. 1982). Further, this Court has “categorically

 reject[ed] the suggestion that a federal district court can be deprived of

 jurisdiction by the Tucker Act when no jurisdiction lies in the Court of

 Federal Claims.” Tootle v. Sec’y of Navy, 446 F.3d 167, 176 (D.C. Cir.

 2006). All three considerations support district court jurisdiction over

 Plaintiffs’ APA claims.

      1. Plaintiffs have brought “traditional claims under the [APA], not

 contract law.” Order at 2, U.S. Conf. of Catholic Bishops v. State, No. 25-

 5066 (D.C. Cir. Mar. 28, 2025) (Millett, J., dissenting) (“Millett Opinion”)

 (Government’s “sudden, unreasoned, and unjustified termination” of

 funding “violates federal law, not [the] contract”). Plaintiffs brought two

 APA claims: (1) OJP’s unreasoned termination of Plaintiffs’ grants is



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 arbitrary and capricious; and (2) OJP’s interpretation of Section 200.340

 as allowing termination of grants based on a post-award change in

 agency priorities is unlawful.2

        The first claim—whether OJP engaged in reasoned decisionmaking

 before terminating 376 grants—requires no reference to the grant

 agreements; it merely requires that the Court look at OJP’s identical and

 self-evidently deficient termination notices to determine whether they

 are arbitrary and capricious under the APA.

        The second APA claim—whether OJP properly interpreted Section

 200.340 as allowing an agency to terminate a contract based on a post-

 award change in agency priorities—also does not depend on the

 underlying grant agreements. To the contrary, whether an agency has

 properly interpreted a regulation is a bread-and-butter question under

 the APA that district courts confront every day and certainly have the

 jurisdiction and competency to resolve. “To decide this case, the court

 will have to interpret those federal laws and review the State



    2Plaintiffs have not sought an injunction pending appeal on their
 constitutional, ultra vires, or third APA claim (that OJP violated Section
 200.340 by failing to include the basis for termination in Plaintiffs’ grant
 agreements).


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 Department’s administrative record. The court will have little, if any,

 need to analyze or interpret the Conference’s contracts” with OJP.

 Millett Opinion at 2; contra Ingersoll-Rand Co. v. U.S., 780 F.2d 74, 78

 (D.C. Cir. 1985) (interpretation of a termination-for-convenience clause

 “within the unique expertise of the [CFC]”).

      It is thus statutory and regulatory provisions that the Court will

 have to reference to determine whether OJP’s terminations were

 unlawful.    Determining whether OJP “exceeded its authority” or

 “violated” these laws “requires primarily an examination of the statutes”

 and regulations it “has purportedly violated”; these are “not questions the

 district court” need “answer by examining a contractual promise.”

 Crowley, 38 F.4th at 1108-09.

      2. The relief inquiry “boils down to whether the plaintiff effectively

 seeks to attain monetary damages.” Id. at 1107. Here, Plaintiffs seek

 classic remedies available in APA cases: an order preliminarily enjoining

 OJP’s terminations because they are arbitrary and capricious, and

 contrary to law because they relied on an unlawful interpretation of

 Section 200.340(a)(4).




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         Plaintiffs asked the court to: “[p]reliminarily and permanently

 enjoin Defendants, their agents, and all persons acting in concert or

 participation with Defendants from terminating grants under [Section

 200.340(a)(4)] on the basis of a ‘change’ in agency priorities.” App.31a.

 It also asked the Court to “[d]eclare that OJP’s terminations on the basis

 of Section 200.340(a)(4) are unlawful, including its interpretation that

 [it] allows OJP to terminate a grant based on a ‘change’ in agency

 priorities,” App.30a. These are requests for “traditional equitable and

 declaratory relief—the mainstay of APA actions,” which are “entirely

 different from monetary damages under the Contract.” Millett Opinion

 at 3.

         It is immaterial that one downstream effect of finding that the

 terminations were unlawful would be a requirement that OJP resume

 disbursing grant money to Plaintiffs. The Supreme Court has “long

 recognized” that “[t]he fact that a judicial remedy may require one party

 to pay money to another is not a sufficient reason to characterize the

 relief as money damages.” Bowen v. Massachusetts, 487 U.S. 879, 893

 (1988). Rather, “money damages” are amounts “given to the plaintiff to

 substitute for a suffered loss,” such as “injury to [the plaintiff’s] person,



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 property, or reputation.” Id. at 893, 895. “Money damages” are distinct

 from “specific remedies,” which “are not substitute remedies at all, but

 attempt to give the plaintiff the very thing to which he was entitled.” Id.

 at 895.

      Plaintiffs do not seek ordinary contractual relief of money damages

 here, nor would such relief be “appropriate.” Plaintiffs are not owed

 specific, calculated sums “designed to compensate for completed labors,”

 Maine Cmty. Health Options v. U.S., 590 U.S. 296, 327 (2020). Plaintiffs

 are entitled by regulation to receive payment for work they completed

 prior to termination and therefore did not need to seek backward-looking

 relief to compensate for their past work. 2 C.F.R. § 200.344.

      In addition to reinstatement of funding, Plaintiffs’ APA claims seek

 “non-monetary relief that has considerable value independent of any

 future potential for monetary relief,” by seeking class-wide prospective

 declaratory and injunctive relief to invalidate and enjoin OJP’s

 interpretation of Section 200.340 and prospective class-wide relief that

 would prevent OJP from terminating future grants on the threadbare

 basis present here. Kidwell v. Dep’t of Army, 56 F.3d 279, 284 (D.C. Cir.

 1995). This relief would allow Plaintiffs and the class of grantees to



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 continue to carry out their missions, including “the ability to provide

 services” and to “perform” their “contractual obligations,” Crowley, 38

 F.4th at 1111.

      There is independent and crucial value to Plaintiffs in prospective

 relief making clear that OJP may not, consistent with the APA, terminate

 grants based on a vague change in agency priorities. This relief is all the

 more important given the government’s unprecedented use of Section

 200.340(a)(4) across many agencies to abruptly terminate grant funding

 for hundreds or thousands of grants with little to no reasoning and

 without providing grantees with any notice prior to doing so.

      3. The CFC cannot provide the relief Plaintiffs seek in this lawsuit:

 “prospective relief.” Bowen, 487 U.S. at 905. The Supreme Court “ha[s]

 stated categorically that the [CFC] has no power to grant equitable

 relief.” Id.; see Widakuswara, 2025 WL 1288817, at *13 (Pillard, J.,

 dissenting). The Tucker Act authorizes only backward-looking relief, not

 claims for prospective relief. Maine Cmty., 590 U.S. at 325.

      Thus, the CFC lacks authority to award the type of relief that would

 adequately remedy Plaintiffs’ harms. The CFC is “not empower[ed]” to

 order declaratory or injunctive relief requiring the government to adopt



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 certain practices “with respect to the disposition of appropriated funds.”

 Nat’l Ctr. for Mfg. Scis. v. U.S., 114 F.3d 192, 202 (Fed. Cir. 1997). The

 Tucker Act instead gives the CFC jurisdiction only when a plaintiff has

 the right to recover past damages. See Lummi Tribe v. U.S., 870 F.3d

 1313, 1318 (Fed. Cir. 2017); Crowley, 38 F.4th at 1112-13 (CFC lacks

 jurisdiction where plaintiff sought declaratory and injunctive relief).

       Thus, a suit like this one requesting “a strings-attached

 disbursement” subject to the terms and conditions of the grant

 agreements—as opposed to a “free and clear transfer of money”—is a suit

 for equitable relief, not money damages. Lummi Tribe, 870 F.3d at 1318-

 19.   Because Plaintiffs seek to resume forward-looking cooperative

 agreements, which “includ[e] subsequent supervision and adjustment” by

 OJP, they bring a claim “for equitable relief” and “not for presently due

 money damages.” Id. at 1319. The CFC cannot grant any relief absent

 “a claim for ‘actual, presently due money damages,’” which Plaintiffs

 have not brought. Nat’l Air Traffic Controllers Ass’n v. U.S., 160 F.3d

 714, 716 (Fed. Cir. 1998) (quoting U.S. v. King, 395 U.S. 1, 3 (1969); see

 King, 395 U.S. at 4 (“[C]ases seeking relief other than money damages

 from the Court of Claims have never been within its jurisdiction.’’).



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      That strings-attached disbursement is exactly what Plaintiffs are

 seeking.    They are asking that the Court reinstate their grant

 agreements so that they may continue providing critical services in their

 communities.     And a damages remedy is particularly inapt given

 Plaintiffs’ “cooperative, ongoing relationship” with the Government “in

 the allocation and use of the funds.” Nat’l Ctr., 114 F.3d at 201.

      B.    The district court’s contrary reasoning is erroneous.

      1. The district court believed that the Supreme Court’s stay order

 in Department of Education v. California “forecloses the exercise of

 jurisdiction over Plaintiffs’ arbitrary and capricious claim.” App.156a.

 That order determined that the government was likely to succeed in

 showing that the district court “lacked jurisdiction to order the payment

 of money under the APA.” Id. The order acknowledged Bowen’s holding

 that courts retain jurisdiction under the APA to order equitable relief,

 even when that relief will result in payment of money. Id. But the Court

 concluded that the district court’s jurisdiction did not extend to orders ‘to

 enforce a contractual obligation to pay money along the lines of what the

 District Court ordered here,” id. (quoting Great-W. v. Knudson, 534 U.S.

 204, 212 (2002) (emphasis added)).



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      California does not support the district court’s conclusion. In that

 case, the district court ordered the government “to pay out past-due grant

 obligations and to continue paying obligations as they accrue.”

 California, 145 S. Ct. 966, 968 (2025).         Thus framed, the Court

 distinguished between cases in which there is a “‘possibility’ that an order

 setting aside an agency’s action may result in the disbursement of funds,”

 where district court jurisdiction is proper, id. (quoting Bowen, 487 U.S.

 at 910), and “orders ‘to enforce a contractual obligation to pay money,’”

 where district court jurisdiction is unavailable, id. (quoting Great-W., 534

 U.S. at 212). California found that the particular order entered below fit

 in the latter bucket.

      In so finding, the Court plainly did not overrule Bowen or hold that

 grant claims will never fall into the first bucket. Appropriately, the vast

 majority of courts evaluating jurisdictional issues post-California have

 continued to follow Bowen, including for APA claims of the sort Plaintiffs

 have brought here. Dkt. 11-1 at 36; Dkt. 37 at 32.

      Importantly, California had no occasion to consider whether the

 grant agreements there were the type of contract that can give rise to

 Tucker Act jurisdiction because no party presented that issue. The court



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 below nevertheless believed it “foolhardy to assume that the Supreme

 Court did not at least implicitly consider whether the grants at issue were

 contracts in the first place.” App.153a. But it is well-settled that—even

 after full merits briefing—the Supreme Court will reach issues outside

 the scope of the petition for certiorari only in the “most exceptional cases.”

 Stone v. Powell, 428 U.S. 465, 481 n.15 (1976). That principle applies

 with greater force when, far from full merits consideration, the Court

 provided a one-paragraph discussion after emergency briefing.

       Plaintiffs’ agreements are not “contracts” that give rise to Tucker

 Act jurisdiction: for the CFC to have jurisdiction, a “contract” claim must

 be based on a contract that creates a right to money damages—and

 Plaintiffs’ agreements create no such right. See Dkt. 11-1 at 31-33. The

 cooperative agreements require Plaintiffs to use the awarded funds for a

 public purpose and subject to various conditions rather than being

 acquisition or service contracts “for the direct benefit or use” of the

 government.      31 U.S.C § 6305(1).       With cooperative agreements,

 jurisdiction lies in the CFC if there is an affirmative indication that the

 agreement creates a right to money damages, which is absent here. St.

 Bernard Parish v. U.S., 134 Fed. Cl. 730, 735 (2017).             Presuming



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 Plaintiffs’ agreements create a right to money damages would circumvent

 these restrictions, and Plaintiffs’ agreements therefore do not create the

 “right to money damages” needed to fall within the Tucker Act’s

 “jurisdictional reach,” Lummi Tribe, 870 F.3d at 1317.

      The California district court’s order was about paying money—both

 for work already done and for work to be done in the future. California

 v. Education, 769 F. Supp. 3d 72, 78 (D. Mass. 2025). That dynamic—

 which is decidedly not featured by Plaintiffs’ complaint here—explains

 the Court’s reliance on Great-West, a case that distinguished Bowen

 because the claims “did not deal with specific performance of a

 contractual obligation to pay past due sums.” 534 U.S. at 212. The lower

 court’s conclusion to the contrary is erroneous.

      2. The district court correctly concluded that California had no

 bearing on Plaintiffs’ contrary-to-law claim because the Court “had no

 occasion to consider jurisdiction over a contrary to law claim because the

 district court did not reach it when granting a TRO.” App.157a. The

 court nonetheless concluded that two “on par” cases required dismissal

 of Plaintiffs’ APA claims for lack of jurisdiction. Id. (relying on Spectrum

 Leasing v. U.S., 764 F.2d 891 (D.C. Cir. 1985); Ingersoll-Rand, 780 F.2d



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 74). That conclusion is erroneous. Both the source of the rights and relief

 sought in this case are distinct from Spectrum and Ingersoll-Rand.

      Spectrum involved the development and delivery of a “data

 communications network” and “hardware systems” to the government.

 764 F.2d at 892. After Spectrum was unable to provide a “software

 package in accordance with the contract requirement,” the government

 “invoked the contract’s liquidated damages clause” to collect nearly $2

 million in damages. Id. Spectrum sued, requesting a declaration that it

 was “entitled to immediate payment of all hardware and maintenance

 payments illegally withheld,” an “injunction requiring the government to

 pay monies owed for computer hardware,” and a declaration that the

 government’s collection of money violated the Debt Collection Act. Id. at

 894-95. The Court concluded that the contract created the substantive

 right requiring the government to “pay monies owed for computer

 hardware.” Id. at 894. The Court also concluded that “the relief sought

 is a typical contract remedy,” that is “an order compelling the government

 to pay money owed in exchange for goods procured under an executory

 contract,” which it likened to a “seller’s action for the price of goods

 against a private buyer.” Id. at 894-95.



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      Both the source of the rights and relief requested here differ from

 those in Spectrum. The source of Plaintiffs’ rights are the APA and

 regulations governing grant termination. Plaintiffs have argued that the

 regulations independently forbid termination; the primary reason that

 this Court has to look at the grant agreement is because the government

 has argued that the terms of the grant permit termination. But the

 assertion of a contract-based defense does not transform a claim into a

 contract claim. United Aeronautical Corp. v. U.S. Air Force, 80 F.4th

 1017, 1026 (9th Cir. 2023). And although the district court focused on

 one of Plaintiffs’ contrary-to-law claims, it failed to mention or analyze

 Plaintiffs’ second contrary-to-law claim: that OJP violated Section

 200.340 by terminating grants based on a post-hoc change in agency

 priorities. Again, Section 200.340 supplies the source of the right (the

 conditions under which termination is appropriate), and the APA

 supplies the source of the remedy: prospective injunctive relief.

      The relief also differs from Spectrum. Plaintiffs are not seeking an

 immediate lump-sum payment of money for goods procured under an

 executory contract, which is a classic contractual remedy.          Rather,

 Plaintiffs are seeking reinstatement of their grant agreements so that



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 they may continue carrying out grant-funded work in their communities.

 Plaintiffs also ask that their grant terminations be set aside under the

 APA because OJP’s rationale is arbitrary and capricious, and because

 OJP’s interpretation of Section 200.340 is unlawful.         Plaintiffs seek

 injunctive and declaratory relief that would govern OJP’s interpretation

 of Section 200.340 as to the entire class of grantees.

      Ingersoll-Rand is inapposite for similar reasons.           There, the

 government terminated a contract for air compressors based on a

 “termination for convenience clause” in the contract and re-solicited bids.

 780 F.2d at 78. The Court concluded that the source of the rights were

 based on the contract, deeming the “dispute” “entirely contained within

 the terms of the contract” because the question was “whether the contract

 forbids termination under these conditions,” and therefore the Plaintiff

 could “challenge the termination based solely on contract principles.” Id.

 In those circumstances, the Court reasonably concluded that allegations

 that the terminations violated certain other regulations did not change

 “the essential character of the action.” Id. An interpretation of the

 termination-for-convenience clause was “within the unique expertise of

 the Court of Claims,” and the “substance” of the claim was that there was



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 “was no good reason to terminate the contract and begin solicitation.” Id.

 The court also concluded that “the essence” of the relief was “specific

 performance of the contract.” Id. at 79.

      The same is not true here.          Plaintiffs argue that a regulation,

 Section 200.340, forbids termination of the 376 grants, and that under

 the APA, OJP’s terminations are arbitrary and capricious. This inquiry

 does not require any specialized knowledge of the government-

 contracting process, as was the case in Spectrum and Ingersoll-Rand,

 cases challenging the circumstances under which a single contract was

 terminated and which relied on the terms of the contracts.

      This last point makes this case vastly different from Spectrum and

 Ingersoll-Rand:     Plaintiffs   have    brought   a   class-action   lawsuit,

 challenging OJP’s identical termination of 376 grants, on the basis that

 OJP’s terminations were arbitrary and capricious, and that OJP’s

 interpretation of Section 200.340 as allowing an agency to effect a mass

 termination of 376 grants based on a post-award change in agency

 priorities is contrary to law. See Dkt. 37 at 8 (class actions seeking

 injunctive relief not permitted in CFC). Resolving the common questions

 of law requires no specialized knowledge of the government-contracting



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 process: the question presented and the relief sought are classic questions

 of law under the APA and seek classic APA remedies in a class action

 lawsuit. Jurisdiction is proper in this Court.

 II.   OJP’s en masse grant terminations violate the APA.

       Plaintiffs are likely to succeed on the merits of at least one of their

 APA claims.     The district court concluded that OJP’s “decision to

 terminate these awards was unquestionably arbitrary, at least in lay

 terms.” App.136a. The Court recognized that Plaintiffs were serving the

 “very purposes” articulated in OJP’s terminations. Id. And “[w]hen

 asked at oral argument why these awards were no longer consistent with

 the agency’s new priorities, Defendants’ counsel had no answer. He

 simply shrugged his shoulders.”        Id.   The Court decried that the

 “rescinding of these awards is shameful,” and stated “[t]here is no doubt

 in the court’s mind that OJP’s award termination were unfair and

 indiscriminate.” App.168a. “When a government agency, especially the

 [DOJ], agrees to fund private organizations to carry out a public purpose,

 such organizations expect regularity and respectful treatment. That is

 not what occurred here.” App.168a-169a.




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      1. Plaintiffs are likely to succeed on their claim that OJP’s identical,

 cursory, and unreasoned terminations of 376 grants represent nearly

 every hallmark of arbitrary and capricious agency action. Dkt. 37 at 16-

 19. OJP admits that each notice was identical, Dkt. 27-1 ¶ 20, and did

 not include any explanation specific to the terminated grantee or any

 discussion of the significant reliance interests at stake. OJP did not

 dispute that it entirely failed to consider reliance interests when

 terminating Plaintiffs’ grants and that it failed to consider “responsible

 alternatives to its chosen policy” and failed “to give a reasoned

 explanation for its rejection of such alternatives,” Dkt. 11-1 at 20-22.

 Every court to consider the merits of similar boilerplate terminations

 concluded that they were arbitrary and capricious. Id. at 20-21 (citing

 cases).

      2. By terminating grants based on a post-award “change” in agency

 priorities, OJP violated Section 200.340. Dkt. 37 at 9-13. One court

 concluded that Section 200.340(a)(4) does not allow OJP to terminate a

 grant based on a “change” in agency priorities. MTA v. Duffy, 2025 WL

 1513369, at *28 (S.D.N.Y. May 28, 2025). Rather, Section 200.340(a)(4)

 allows OJP to terminate a grant if “an award no longer effectuates the



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 program goals or agency priorities.” A “change” in agency priorities does

 not trigger the boundless authority to cancel any and all grants; Section

 200.340(a)(4) allows for terminations because of failures stemming from

 the grant recipient—such as where the recipient can no longer effectuate

 the goals and priorities that motivated the award in the first place. This

 reading comports with the text of the regulation, OMB’s exemplars of

 specific instances in which termination would be appropriate under this

 provision in the 2020 Rule, OMB’s explanation for changes to the

 termination provision in 2024, and the fact that no agency has previously

 interpreted Section 200.340 in this manner prior to 2025. See Am. Ass’n

 of Colls. v. McMahon, 2025 WL 833917, at *19 (D. Md. Mar. 17, 2025).

 III. The remaining factors compel granting an injunction
      pending appeal.

       1. The difference in irreparable harm between the parties is stark.

 The court agreed that terminations are “likely to harm communities and

 individuals vulnerable to crime and violence.” App.136a. It is central to

 Plaintiffs’ organizational missions to provide grant-funded services to

 individuals in their communities.          But in some places, individuals

 previously benefiting from Plaintiffs’ services have already and will

 continue to lose their lives because of the disruption in Plaintiffs’ critical,


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 grant-funded services. Tragically, since this suit was filed, Plaintiffs

 such as FORCE Detroit and HRiA were unable to intervene in active,

 known conflicts that they otherwise would have meditated but for their

 loss in funding. App.173a; App.178; App.186a; App.115a-134. This void

 tragically but predictably resulted in the gun deaths of children and

 members of their community over the July 4 weekend and will continue

 unless and until Plaintiffs’ grant funding is reinstated.          App.186a

 (FORCE Detroit would have funded an organization working in the zip

 code where shootings occurred but for its loss of grant funding).

      In addition to this senseless loss of life, Plaintiffs submitted

 significant additional evidence of irreparable harm, including laying off

 of staff, eliminating critical and life-saving programming central to

 Plaintiffs’ mission, reputational harms, and other harms that have had

 devastating impacts on the safety of individuals and communities across

 the country. Dkt. 11-1 at 7-11, 36-38; Dkt. 37 at 35-40.

      Since this lawsuit was filed, multiple putative class members have

 been forced to shut down because of OJP’s terminations. Dkt. 30 at 10;

 App.179a. All Plaintiffs have been forced to eliminate or severely restrict

 critical, often life-saving services in their communities that were funded



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 by terminated grants.      App.84a, 80a-81a, 89a, 69a.           This has had

 “devastating” impacts on those who rely on Plaintiffs’ services. App.89a.

 “[I]n 23 hospitals across the country, individuals who directly benefitted

 from these intervention programs in the hospital are no longer going to

 have life-saving assistance, and in some cases, members in the

 community will lose their lives because of the disruption of services.”

 App.84a.

      Absent an injunction pending appeal, grant-funded organizations

 will continue to shutter their doors; staff will continue to be laid off;

 victims of crime, hate crimes, and sex trafficking will be unable to receive

 free trauma counseling and interpretation services; and Plaintiffs’ hard-

 earned reputation will continue to be irreparably tarnished.               See

 App.173a (describing harms since litigation has started).

      Individuals of all ages, from children to adults will continue to die

 from gun violence because of the voids left by Plaintiffs and grantees who

 have had to shutter their doors and abruptly end or limit services.

 Receiving funding a year or more from now when this litigation ends is

 meaningless to Plaintiffs and the individuals who otherwise would be

 receiving the intended benefit of the grant agreements, but for OJP’s



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 unlawful termination. The vast disparity in harms is reason enough to

 grant the injunction. Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1330

 (D.C. Cir. 2024) (equity favors allowing a party to “fully litigate[]” its

 claims “without being throttled by a shutdown of its business”).

       2. The balance of equities and public interest also decidedly weigh

 in favor of granting an injunction pending appeal. For much the same

 reason that Plaintiffs have demonstrated irreparable harm, equity and

 the public interest weigh heavily in Plaintiffs’ favor. See Dkt. 37 at 40-

 44. Additionally, amici detailed that “the magnitude of cuts cannot be

 overstated,” and has greatly harmed the broader public interest. Dkt. 37

 at 40-42.

       3. This Court may issue a classwide preliminary injunction without

 deciding whether the class should be certified. A.A.R.P. v. Trump, 145 S.

 Ct. 1364, 1369 (2025) (“[B]ecause courts may issue temporary relief to a

 putative class, we need not decide whether a class should be certified”).

 In A.A.R.P., the Supreme Court granted an appellate injunction for

 a class that the district court declined to certify.

                               CONCLUSION

       The Court should grant Plaintiffs’ motion for an injunction pending



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 appeal.

 Dated: July 11, 2025                      Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the typeface and type-volume limitations

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 Dated: July 11, 2025                     /s/ Lisa Newman
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               CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit

 Rule 26.1, I state that no Plaintiffs have any parent company and that

 no publicly held company has a 10% or greater ownership interest in any

 Plaintiffs.

 Dated: July 11, 2025             /s/ Lisa Newman
                                  Lisa Newman
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                     CERTIFICATE OF SERVICE

      I certify that on July 11, 2025, a true and correct copy of this Brief

 was filed with the Clerk for the United States Court of Appeals for the

 District of Columbia Circuit via the Court’s electronic filing system,

 which will forward a copy to all counsel of record.        I certify that I

 separately served Defendants’ counsel of record via email.

 Dated: July 11, 2025                    /s/ Lisa Newman
                                         Lisa Newman
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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE,
      34 35th Street, Suite 4-2A
      Brooklyn, NY 11232;
     CENTER FOR CHILDREN & YOUTH JUSTICE,
      300 Elliott Avenue W, Suite 360
      Seattle, WA 98119;
     CHINESE FOR AFFIRMATIVE ACTION,
      17 Walter U Lum Place, #19
      San Francisco, CA 94108;                                                   Case No. 1:25-cv-1643
     FORCE DETROIT,
          1551 Rosa Parks Boulevard, Suite B,
          Detroit, MI 48216;
     HEALTH RESOURCES IN ACTION,
      2 Boylston Street, 4th Floor
       Boston, MA 02116;
     Plaintiffs, on behalf of themselves and all others similarly situated,
     v.

     UNITED STATES DEPARTMENT OF JUSTICE,
      950 Pennsylvania Avenue, NW
      Washington, DC 20530;
     PAMELA J. BONDI, in her official capacity as
     United States Attorney General,
      9950 Pennsylvania Avenue, NW
      Washington, DC 20530;
     OFFICE OF JUSTICE PROGRAMS,
      810 7th St NW
      Washington, DC 20001;
     MAUREEN A. HENNEBERG, in her official
     capacity as Acting Head of the Office of Justice
     Programs,
       810 7th St NW,
        Washington, DC 20001;

     Defendants.



      CLASS ACTION COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF




                                                                    1a
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             Plaintiffs bring this class action against the U.S. Department of Justice (DOJ); Pamela J. Bondi,

    in her official capacity as Attorney General of the United States; the Office of Justice Programs (OJP);

    and Maureen A. Henneberg, in her official capacity as Deputy Assistant Attorney General for

    Operations and Management and as the Acting Head of the Office of Justice Programs. Plaintiffs

    state and allege as follows:

                                               INTRODUCTION

             1.      In April 2025, the Department of Justice’s Office of Justice Programs abruptly and

    summarily terminated more than 370 multi-year cooperative agreements and grants awarding more

    than $820 million in essential funding.1

             2.      With no prior notice, OJP sent a form email to Plaintiffs and other grantees, offering

    the same unsupported explanation that Plaintiffs’ “awards no longer effectuate[] the program goals or

    agency priorities.” OJP ordered the grantees to stop work immediately and informed them that they

    would be reimbursed only up to the date of the termination letter.

             3.      The terminated grants cut across a broad swath of critical programs and have a

    successful track record of making our communities safer. These include grants addressing violence

    reduction and intervention, policing and prosecution, victims’ services, juvenile justice and child

    protection, substance use and mental health treatment, corrections and reentry, justice system

    enhancements, research and evaluation, and other state- and local-level public safety functions. See

    Council on Crim. Justice, DOJ Funding Update: A Deeper Look at the Cuts (May 2025),

    https://counciloncj.org/doj-funding-update-a-deeper-look-at-the-cuts/          [https://perma.cc/94DS-

    W7A4].




             1
            For ease of reference, the agreements at issue will be referred to as “grants,” unless
    otherwise noted.
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            4.      Plaintiffs are non-profit organizations that were awarded federal grant funding. They

    work to train and assist law enforcement, correctional facilities staff, prosecutors, and states and

    localities. They work with vulnerable populations who have been victims of crime, including by

    providing free interpretation services that allow deaf and disabled victims of crime to communicate

    with law enforcement, and train law enforcement on identifying and serving individuals with

    disabilities who are victims of sex or labor trafficking. They fund and work at the community level to

    successfully interrupt gun crime and gang violence for juveniles and adults, including those at the

    highest risk for gun violence, in cities across the country. They fund and work in hospitals to provide

    lifesaving assistance for violently injured victims and their families, while also mitigating retaliation

    that may arise from the situation.

            5.      As a direct result of OJP’s unlawful termination of Plaintiffs’ grants, services to many

    of these populations have abruptly ceased. Staff have been laid off without meaningful alternatives

    for employment, and many more staff will soon be laid off without funding.

            6.      OJP’s abrupt and unlawful termination of Plaintiffs’ grants had an immediate and

    irreparable impact on Plaintiff organizations, their staff, and the individuals and communities that they

    serve. These terminations have led to an abrupt discontinuation of vital services to some of the most

    vulnerable in our communities, making individuals and the communities in which they live less safe.

            7.      Absent a preliminary injunction, Plaintiffs will suffer irreparable harm—multi-year

    projects will terminate abruptly, specialized staff will be laid off, critical services will be withdrawn

    from communities facing some of the gravest safety concerns—all compounded by lasting damage to

    hard-earned reputational trust.

            8.      OJP’s termination of more than 370 multi-year grant awards with no notice and no

    reasoned explanation about why the grants were being terminated, is quintessential unlawful agency



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    action that violates the APA. These terminations violate the Constitution and agency regulations,

    exceed OJP’s lawful authority, and are arbitrary and capricious. See 5 U.S.C. § 706(2)(A)–(C).

                9.    OJP’s abrupt termination of Plaintiffs’ grants is unlawful and should be enjoined

    during the pendency of this litigation.

                                      JURISDICTION AND VENUE

                10.   This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331 because this

    action arises under federal law including the U.S. Constitution and the Administrative Procedure Act

    (APA), 5 U.S.C. §§ 551 et seq.

                11.   The Court has authority to enter a declaratory judgment and to provide temporary,

    preliminary, and permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of Civil

    Procedure; the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202; the All Writs Act, 28 U.S.C.

    § 1651; and the Court’s inherent equitable powers. The Administrative Procedure Act further

    authorizes the Court to grant temporary and permanent relief from agency action. 5 U.S.C. §§ 705–

    706.

                12.   Venue is proper under 28 U.S.C. §§ 1391(b) and (e) because a substantial part of the

    events or omissions giving rise to the claims occurred in this judicial district. Defendants are United

    States agencies and officers sued in their official capacities, and at least one Defendant resides in this

    district; and a substantial part of the events or omissions giving rise to the claim occurred in this

    district.

                                                   PARTIES

    PLAINTIFFS

                13.   The Children and Youth Justice Center d/b/a Center for Children & Youth Justice

    (CCYJ) is a Washington State based nonprofit funded in 2006 by Washington State Supreme Court



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    Justice Bobbe J. Bridge (ret.) to create better lives for generations of children and youth by reforming

    the child welfare and juvenile justice systems.

            14.      Chinese for Affirmative Action d/b/a Stop AAPI Hate is a U.S.-based non-partisan

    Civil Rights coalition dedicated to ending racism and discrimination against Asian Americans and

    Pacific Islanders (AAPIs).

            15.      FORCE (Faithfully Organizing for Community Empowerment) Detroit is a

    community violence intervention (CVI) organization dedicated to building a safer, freer Detroit,

    Michigan.

            16.      Health Resources in Action (HRiA) is a Massachusetts based non-profit organization

    working to improve and reimagine public health, with a vision of healthy people thriving in equitable

    and just communities.

            17.      Vera Institute of Justice (Vera) is a New York based non-profit, with a national

    footprint, working to advance safety and justice.

    DEFENDANTS

            18.      Defendant DOJ is a federal agency headquartered in Washington, D.C.

            19.      Defendant Pamela J. Bondi is the Attorney General of the United States. She is sued

    in her official capacity.

            20.      Defendant OJP is an agency of the federal government and a subordinate agency of

    DOJ headquartered in Washington, D.C.

            21.      Defendant Maureen A. Henneberg is the Deputy Assistant Attorney General for

    Operations and Management and the Acting Head of the Office of Justice Programs. She is sued in

    her official capacity.




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                            REGULATIONS GOVERNING DOJ GRANTS

            22.     Detailed regulations govern DOJ’s administration of federal grant funding, including

    those grants administered by OJP, and specify the grounds on which such grants may be terminated.

    These regulations stem from Office of Management and Budget (OMB) Uniform Guidance for

    Federal Financial Assistance, codified at 2 C.F.R. part 200, which OMB promulgated pursuant to its

    authority to “establish government wide financial management policies for executive agencies,” 31

    U.S.C. §§ 503(a), 504.     The OMB Uniform Guidance generally requires federal agencies to

    “implement” OMB’s guidance “in codified regulations.” 2 C.F.R. § 200.106. DOJ has followed that

    instruction by issuing its own regulation adopting the OMB Uniform Guidance. 2 C.F.R. § 2800.101.

            23.      Under these regulations specific to grant termination, OJP may terminate grants only

    under certain circumstances and pursuant to specific procedures. The regulations do not provide

    unfettered discretion for OJP to terminate grants; they instead allow for the termination of grants in

    three circumstances: (1) “if the recipient or subrecipient fails to comply with the terms and conditions

    of the Federal award”; (2) “with the consent of the recipient or subrecipient, in which case the two

    parties must agree upon the termination conditions”; and (3) “pursuant to the terms and conditions

    of the Federal award, including, to the extent authorized by law, if an award no longer effectuates the

    program goals or agency priorities.” Id. § 200.340(a).

            24.     Under Section 200.340(a)(4), OJP may terminate a grant based on agency priorities

    only if the terms and conditions of the award clearly and unambiguously specify that a grant can be

    terminated on those grounds. Additionally, a termination must be made on an award-by-award basis,

    and OJP must rely on “specific evidence” to demonstrate that “an award” no longer effectuates a

    program goal or agency priorities. Section 200.340(a)(4) does not authorize OJP to base a termination

    on a post-award “change” in agency priorities. Rather, OJP is allowed to terminate a grant under that



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    provision only where specific evidence demonstrates that “an award” no longer serves the agency

    priorities or program goal, as articulated when the grant was awarded.

                                         FACTUAL ALLEGATIONS


        I. OJP’s Grants Awards Supporting Plaintiffs’ Community Violence Intervention
           Programs

            25.     OJP, established by the Justice Assistance Act of 1984, is the largest grantmaking

    component of DOJ.2 Among its activities is providing financial support through grant awards to

    organizations implementing crime control and prevention strategies, and crime victim services.3

            26.     OJP’s granted various awards to each of the Plaintiffs to fund Plaintiffs’ work to create

    safer communities.      Plaintiffs’ grant programs address a broad swath of community violence

    intervention and prevention projects, including initiatives designed to improve policing and

    prosecution, victims’ services, juvenile justice and child protection, substance use and mental health

    treatment, corrections and reentry, justice system enhancements, research and evaluation, and other

    state- and local-level public safety functions. Plaintiffs’ OJP awards also helped provide financial

    support for partner programs, community organizations, subgrantees, local government agencies and

    municipalities, and contractors to also engage in violence reduction and intervention work.

            Center for Children & Youth Justice (CCYJ)

            27.     As the only organization solely committed to reforming the juvenile justice and child

    welfare systems in Washington State, CCYJ’s approach is rooted in listening to those most impacted—

    children, young adults, and families—by failures of these systems, leading to the development,

    coordination, and implementation of reforms designed to support children and youth, stabilize



    2
      U.S. Dep’t of Just., Org., Mission & Functions Manual, Office of Justice Programs,
    https://perma.cc/D8PK-T9KZ.
    3
      Amy L. Solomon, I worked for this office under the DOJ. Trump's cuts will make you less safe., USA Today
    (May 2, 2025), https://perma.cc/HV4S-VM7L.
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    families, and strengthen communities. CCYJ accomplishes its mission by partnering with local and

    state government, law enforcement, courts, schools, and coalitions with similar goals, and community-

    based organizations to test and implement reforms and by piloting best practices, facilitating

    collaboration among stakeholders, providing training and technical assistance, and advocating for

    data-driven and youth centered solutions.

           28.     CCYJ was awarded $6 million dollars in grant funding from OJP pursuant to a grant

    agreement, 15PBJA-22-GG-04749-MUMU (CCYJ Award 1), and a cooperative agreement, 15PBJA-

    23-GK-05198-CVIP (CCYJ Award 2). Funding from both of CCYJ’s awards were critical to

    advancing CCYJ’s mission to reform child welfare and juvenile justice systems in Washington State.

           29.     CCYJ Award 1 provided funding for CCYJ’s “Enhancement of the Leadership,

    Intervention & Change (LINC) Group Violence Prevention and Intervention in King County,

    Washington” project. The project supported CCYJ’s regional adaptation and implementation of the

    Office of Juvenile Justice and Delinquency Prevention, Comprehensive Gang Model (CGM) to

    address violence prevention and intervention in Washington state’s most populous and diverse county.

    The LINC program serves youth and young adults who are involved with, or at risk of involvement

    with gangs and/or violence. Within the LINC program, CCYJ is a lead agency and plays a key role in

    implementing the CGM in King County, Washington, providing fiscal management, administrative

    support, direct service coordination, training and data collection and analysis. CCYJ, through the

    CCYJ Award 1 funding, directly supports up to 200 youth and young adults’ participation in the LINC

    program.

           30.     Under the CCYJ Award 2, CCYJ accepted a cooperative agreement award supporting

    capacity building and training for five community-based organizations (CBOs) in King County,

    Washington. These CBOs provide community violence intervention (CVI) services to youth and

    young adults at highest risk of victimization or perpetration of gun violence in King County,

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    Washington. CCYJ intended to provide significant developmental support to these CBOs to sustain

    and enhance their administration and operations and to support sustainability of their CVI strategies.

    CCYJ developed and granted subawards to these CBOs, hired staff dedicated to the project, and

    committed significant time and resources to develop comprehensive capacity building assessments

    and tools.

               Stop AAPI Hate

               31.   Stop AAPI Hate was founded in March 2020, in response to the alarming increase in

    acts of hate against the AAPI community during the COVID-19 pandemic, by three 501(c)(3)

    organizations: Chinese for Affirmative Action (CAA), AAPI Equity Alliance, and San Francisco State

    University (Asian American Studies Department), with CAA as the lead fiscal agency. Since its

    founding, Stop AAPI Hate has become the nation’s largest reporting center for tracking anti-AAPI

    hate acts, and also provides critical support to victims of hate around the country. The organization’s

    data and research center is also used by researchers, government agencies, and elected officials annually

    to help raise public awareness and advocate for policies that effectively address anti-AAPI hate. It has

    been cited by the U.S. Commission on Civil Rights, the California Commission on the State of Hate,

    in testimony before Congress, and before the United Nations. By helping government agencies, law

    enforcement, and community partners to understand where hate occurs, who is mostly commonly

    targeted, and what types of hate acts are most prevalent, Stop AAPI Hate improves public safety by

    allowing governments and communities to develop targeted strategies that protect people who need

    it most.

               32.   Chinese for Affirmative Action, doing business as Stop AAPI Hate, was awarded $2

    million dollars from OJP via a grant agreement, 15PBJA-24-GG-02840-ADVA (Stop AAPI Hate

    Award).      Stop AAPI’s Hate’s grant award supported its “Stop AAPI Hate Community-Based

    Approaches to Prevent and Address Hate Crimes and/or Hate Incidents” program. The project

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    would develop a holistic, multi-disciplinary, trauma-informed, community-based approach to

    documenting AAPI hate incidents and provide crisis response, care, and healing to victims of hate.

    The key areas for activities outlined in the grant proposal included data and research on AAPI hate

    incidents in partnership with AAPI communities; policy advocacy to educate, inform, and provide

    technical assistance to prevent anti-AAPI hate; community care to partner with communities to center

    healing and improve crisis response including further work on a landscape analysis of existing

    resources and models; and public education & digital media to sustain public education and

    conversations on anti-AAPI hate and scapegoating. Stop AAPI Hate anticipated grant funding would

    be used to form a multidisciplinary team to develop community-based strategies for impacted

    individuals, and would include partnerships with AAPI/Black, Indigenous, and People of Color

    organizations, the expansion of community healing pilots, and increased awareness of AAPI hate

    incidents.

            FORCE Detroit

            33.    Founded in 2015, FORCE Detroit is charged to steward, incubate, and provide

    financial support to grassroots organizations and activists committed to alternatives to community

    safety that minimize criminalization. FORCE Detroit’s five organizational goals include: (1) building

    a system for peace by training and supporting CVI organizations—through grants, professional

    development, and mentoring, to strengthen community violence intervention statewide; (2) hosting

    events and actions that inform and engage the public around CVI strategies and identify solutions to

    gun violence; (3) building public-private partnerships to raise $150 million over 10 years to expand

    CVI and advocate for a Detroit Office of Neighborhood Safety; (4) growing public awareness of and

    engagement in violence interruption through targeted campaigns and events, such as CVI Advocacy

    Day, Get Out the Vote activities, and community listening sessions; and (5) strengthening

    infrastructure to support growth and position FORCE Detroit as a local and national CVI leader in

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    peacemaking. To reach those goals, FORCE Detroit’s works to provide direct services to people

    impacted by violence; advocacy and public education, and training and technical assistance for

    emerging CVI leaders.

            34.     FORCE Detroit was awarded approximately $2 million dollars in grant funding from

    OJP pursuant to a grant agreement, 15PBJA-24-GG-03109-CVIP (FORCE Detroit Award). The

    award supported FORCE Detroit’s “Keepers CVI” initiative, a program to expand and enhance

    evidence-based and innovative practices that reduce and prevent gun violence in Detroit’s Warrendale-

    Cody Rouge neighborhood, with youth and young adults living in areas with high rates of gun and

    other forms of violence. FORCE Detroit designed the “Keepers CVI” program to, among other

    things reduce fatal and non-fatal shootings, enhance opportunities for violence-impacted people to

    secure employment or start small businesses, increase access to culturally appropriate social services,

    and improve organizational capacity to deliver impactful, evidence-based programs. As a part of this

    program and through a carefully crafted service delivery model, FORCE Detroit employs violence

    interruption staff who perform critical work—from intake coordination and community-based data

    collection to guiding participants through interviews or showing up to support people and families at

    funerals. Grant funding from FORCE Detroit’s award supported the salaries of FORCE Detroit’s

    violence interruption staff. Award funding was also budgeted to contract with community partners—

    local coaches, mentors, licensed therapist, and trainers—to fulfill the award’s project.

            Health Resources in Action (HRiA)

            35.     With over 300 staff across the country, HRiA partners with individuals, organizations,

    and communities to transform the practices, policies, and systems that improve health and advance

    racial equity. For over two decades, HRiA has worked in communities across the country to plan and

    launch CVI strategies that cultivate and strengthen a comprehensive and collaborative CVI ecosystem.

    HRiA approaches violence as a public health issue; helping communities understand that violence

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    spreads like disease, violence is preventable, and community members have critical solutions to offer.

    Its staff, through partnerships with institutions and other organizations, work to strengthen the

    community violence intervention ecosystem.

            36.     HRiA was awarded approximately $8.55 million dollars in grant funding from OJP

    pursuant to three grant agreements: 15PBJA-24-GK-04067-CVIP (HRiA Award 1), 15POVC-22-GK-

    00557-NONF (HRiA Award 2), and 15PBJA-23-GK-05187-CVIP (HRiA Award 3). Each of the

    awards helped further HRiA’s work to identify and engage people at the highest risk of violence,

    employ CVI workers who hold deep knowledge, credibility, and trust within communities, expand

    professional and educational opportunities for CVI workers and the organizations they work within,

    develop relationships with law enforcement and community, build partnerships between CVI

    organizations and cross-sector partners, and establish and strengthen hospital-based violence

    intervention programs.

            37.     HRiA Award 1 provided funding for HRiA’s efforts to expand professional and

    educational opportunities for community violence intervention workers and transform their work

    environments. HRiA Award 2 funded tailored and comprehensive technical assistance (TA) and

    training for violence prevention professionals (VPPs) and hospital-based violence intervention

    programs. VPPs reduce and mitigate retaliation after incidents of violence by serving as trusted

    individuals in hospitals who can speak and respond to victims of gun violence and community

    violence. The TA project aimed to enhance services to victims by strengthening the infrastructure

    and quality of hospital-based programs, and VPP services. HRiA Award 3 was intended to support

    small, grassroot CBOs engaged in CVI work. HRiA selected five CBOs to receive subaward funding

    that would build their organizational capacities, and support training in intervention and outreach best

    practices. Each of the five subrecipients are community-based violence prevention organizations that

    specifically serve youth and young adults.

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            38.     HRiA has managed $92 million in federal grant awards and expenditures over the past

    decade. It has received direct federal awards under 10 programs from three federal agencies and has

    served as a pass-through recipient of dozens of other federal programs. Until January 2025, HRiA

    has never had a federal grant terminated.

            Vera Institute of Justice (Vera)

            39.     Founded in 1961, for over sixty years, Vera has worked in partnership with community

    and government leaders—including in law enforcement and corrections—to address some of the

    most intractable problems in the criminal justice system. Vera’s mission is to pilot, test, and scale

    innovations that prevent crime and address its drivers, increase accountability, and rely less on

    incarceration and more on the programs and services that help individuals, families, and communities

    to thrive. To support its work, Vera has been awarded and successfully fulfilled numerous cooperative

    agreements and grants with OJP, including its subsidiary agencies, the Bureau of Justice Assistance

    (BJA), National Institute of Justice (NIJ), Office of Juvenile Justice Delinquency and Prevention

    (OJJDP), and Office for Victims of Crime (OVC), as well as DOJ agencies Community Oriented

    Policing Services (COPS) and the Office on Violence against Women (OVW), during both Republican

    and Democratic administration.

            40.     Vera was awarded $7.25 million in grant funding from OJP via five cooperative

    agreements: 15POVC-21-GK-01096-NONF (Vera Award 1), 15PBJA-24-GK-02981-JAGP (Vera

    Award 2), 15PBJA-23-GK-05353-MUMU (Vera Award 3), and 15PBJA-23-GK-05375-SCAX (Vera

    Award 4), and 15POVC-21-GK-03261-HT (Vera Award 5). Each award furthered Vera’s work to

    transform the criminal justice system.

            41.     Vera Award 1 funded free sign language interpretation service to Deaf crime victims.
    Turner Decl. ¶ 19.       The interpretation services included specially trained, trauma-informed

    interpreters, allowing victim services providers to interact directly and effectively with Deaf survivors

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    in their community and to provide Deaf survivors with both short and long-term assistance. Vera

    Award 2 provided funding for technical assistance to public safety agencies in the Community Service

    Departments in Albuquerque, New Mexico, and Richmond, California to improve response to
    behavioral and mental health-related 911 calls through subawards. Vera Award 3 was designed to

    assist prosecutors in Arizona, Colorado, Massachusetts, North Carolina, and Virginia in their efforts

    to develop effective policies, practices, and programs to expand safety diversion in their jurisdictions.

    Vera Award 4 provided funding for help three state departments of corrections implement new

    restorative justice policies, implement trainings on restorative practices for staff, physically improving
    building, and gaining support for new approaches to prison safety. Vera Award 5 supported assisting
    police agencies more effectively serve victims of sex and labor trafficking with disabilities through

    online training programs.


        II.         Plaintiffs’ Grant Awards Were Suddenly Terminated without Specific or
                    Individualized Explanations.

              42.      On April 4, 2025, Plaintiff Vera Institute of Justice received an email from OJP

    immediately terminating five grants, totaling more than $7 million, that it held with the federal

    government.

              43.      On April 22, 2025, Plaintiffs Stop AAPI Hate, CCYJ, FORCE Detroit, and HRiA

    received identical emails from OJP immediately terminating their grant funding, totaling more than

    $15 million dollars.

              44.      OJP sent all Plaintiffs identical emails with the following boilerplate “explanation” as

    to why the grants were being immediately terminated:

              These awards are being terminated because they “no longer effectuate[] the program
              goals or agency priorities.” 2 C.F.R. § 200.340(a)(4). The Department has changed its
              priorities with respect to discretionary grant funding to focus on, among other things,
              more directly supporting certain law enforcement operations, combatting violent
              crime, protecting American children, and supporting American victims of trafficking
              and sexual assault, and better coordinating law enforcement efforts at all levels of

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            government. These awards [This award] demonstrate that they [it] no longer effectuate
            Department priorities.
            45.     None of the Plaintiffs has previously had a federal grant terminated, and many

    Plaintiffs, like CCYJ, Vera, and HRiA have been recipients of grant funding for many years under

    both Democratic and Republican administrations.

            46.     To Plaintiffs’ knowledge, OJP has never previously terminated grants because of a

    “change in agency priority,” and prior to April, termination of OJP grants was exceedingly rare.

            47.     OJP has provided no further explanation for the justification to the Plaintiffs for these

    grant award terminations.

            48.     DOGE staffer Tarak Makecha—a former Tesla employee—is reportedly listed as the

    author of the spreadsheet listing the grant awards targeted for termination. He reportedly created this

    list without consulting the OJP program managers, many of whom learned of the terminations only

    after they were communicated to grantees.4

            49.     Plaintiffs received no advance notice, prior to receiving the termination notices, and

    they were afforded no opportunity to respond to the purported basis for the terminations prior to

    them going into effect. Instead, OJP offered Plaintiffs a 30-day appeal window, after termination;

    according to a statement by a DOJ official, funds would supposedly be restored “if direct impact to

    victims can be thoroughly established” by the grantees.5

            50.     Plaintiffs immediately stopped receiving funds pursuant to these grant awards.

    Plaintiff CCYJ was locked out of the federal grant payment system after receiving the termination

    notice. At least one Plaintiff, Vera, was locked out of the federal grant payment system a few days

    before receiving their termination notices. And collectively Plaintiffs are owed thousands of dollars in


    4 Sarah N. Lynch and Peter Eisler, DOGE staffer advised on cuts to Justice Dept grants, document and source
    say, Reuters (Apr. 29, 2025), https://perma.cc/JM7M-CKDR.
    5 Ken Dilanian and Laura Strickler, Justice Department cutting grants that help crime victims, NBC

    News (Apr. 24, 2025), https://perma.cc/SJR3-3MLE.
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    outstanding expenses incurred before termination that need to be reimbursed:                CCYJ has

    approximately $211,000 in known, unreimbursed expenses incurred prior to termination. Stop AAPI

    Hate currently has $127,557.29 in pre-termination expenses not yet submitted for reimbursement.

    FORCE Detroit has $4,845 in unpaid reimbursements through the termination date. HRiA is owed

    $93,870 at the time of termination. Vera has approximately $381,476 in unreimbursed expenses.

        III.         OJP’s en masse termination of grant awards has caused, and will continue to
                     cause, immediate and irreparable harm to Plaintiffs

               51.      The abrupt termination of their grant awards caused immediate harm to each of the

    Plaintiffs’ businesses and to the very programmatic operations prescribed by their awards. Frontline

    workers and dedicated employees have been terminated, laid off, and furloughed. And the hard-

    fought trust and reputation each Plaintiff has built within their community have been irreparably

    damaged as Plaintiffs are forced to cancel contracts, halt programs, terminate services, and turn away

    people who need support. Because all of the Plaintiffs’ work focuses on some sort of community

    violence intervention, the Plaintiffs’ absence in their communities and inability to provide services as

    a result of the loss of funding has dangerous, dire, and possibly deadly consequences.

               Center for Children & Youth Justice (CCYJ)

               52.      As a direct result of OJP’s terminations, CCYJ has had to end a project to build

    organizational and administrative capacity of CBOs to support sustainability of their CVI strategies

    and to reduce funding for a critical program in King, County, Washington, which serves up to 200

    youth annually who are involved with, or at risk of involvement with, gangs and/or violence. As result

    of this grant termination, as many as 65 young people may no longer be able to access these services,

    including 13- through 24-year olds who CCYJ knows are carrying guns or other weapons and self-

    identify as being in a gang.




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            53.      CCYJ also was forced to terminate all of the subawards and contracts it granted under

    CCYJ Awards 1 and 2. For CCYJ Award 2, CCYJ completely halted any related project activities, and

    laid off the dedicated staff it had hired to fulfill the project.

            Stop AAPI Hate

            54.      Stop AAPI Hate funded staff salaries through the terminated grants and therefore will

    likely have to laying off 20% of its employees within a year if its funds are not reinstated.

            55.      As a direct result of OJP’s termination of its grant funding, at least 40 victims of hate

    crimes will lose the opportunity to participate in Stop AAPI Hate’s healing support programs.

            56.      Stop AAPI hate will no longer be able to substantially assist communities who are

    dealing with the aftermath of large-scale incidents of hate and violence (like mass shootings), which

    they have played a critical role in doing in the past.

            57.      The organization has had to terminate planned partnerships within the community to

    care and provide services for victims of hate crimes, policy and advocacy work promoting safer public

    transit systems, and it renowned data collection and research on anti-AAPI hate and violence that has

    become a critical platform for victims and resource for policy makers, nationwide.

            FORCE Detroit

            58.      Three frontline FORCE Detroit employees, with significant expertise, meaningful ties

    to the community, and trusted relationships with high-risk program participants, were laid off; losing

    those roles meant losing critical functions like intake coordination, trauma support, community-based

    data collection, and those who have built trust with some of the highest risk individuals.

            59.      As a direct result of OJP’s terminations of its grant funding, FORCE Detroit has seen

    immediate breakdowns in a care ecosystem it painstakingly built, including crumbling of the backbone

    of its violence intervention work, which included daily, in-the-field support for youth and young adults

    ages 14 through 24 who are most at risk of gun violence.

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            60.      The program funded by this grant has reduced fatal and non-fatal shootings, enhanced

    opportunities for violence-impacted people to secure employment or start small businesses, and

    provided critical communal support including showing up at funerals and coaching individuals

    through job interviews. For individuals who rely on FORCE Detroit for safety planning, relocation

    assistance, employment support, or therapy referrals, this termination of funding is devasting. This

    includes individuals like Carol, a single mother and dedicated nurse who, after offering temporary

    shelter to a friend, became the target of escalating violence, culminating in the tragic shooting of her

    stepdaughter. FORCE Detroit was able to help Carol and her children by covering move-in expenses,

    helping her access therapy services, and ultimately helping Carol’s family heal from the unimaginable

    tragedy they faced. But without grant funds, FORCE Detroit cannot sustain or continue providing

    critical assistance to victims of violence in Detroit, as it did for Carol.

            61.     The termination of these grants has eliminated the resources needed to maintain a

    consistent presence in communities most impacted by violence and weakens the infrastructure it built

    to interrupt cycles of harm, with no viable replacement in sight. Without these funds, FORCE Detroit

    cannot sustain long-term programming, attract and retain qualified staff, or expand life-saving

    interventions that its communities urgently need.

            Health Resources in Action (HRiA)

            62.     HRiA funded staff salaries through the terminated grants and faces layoffs of up to 31

    specialized staff members.

            63.     As a direct result of the termination of HRiA’s grant funding, HRiA is no longer able

    to provide critical, lifesaving assistance in 23 hospitals for violently injured individuals and their

    families, which could ultimately lead to loss of life.

            64.     Numerous hospitals no longer have assistance for their violence prevention

    professionals who provide invaluable support to victims and their families and mitigate retaliation

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    from victims of gun and community violence when they leave the hospital. These programs allowed

    the medical staff to care for their patients while the program-funded staff manage the aftermath and

    safety risks.

            65.     Similarly, many of HRiA’s subrecipients of grant funding are often the sole source of

    CVI work in their communities, and many have been forced to reduce or completely halt their

    community -based violence prevention work, which has had a devastating impact on the communities

    who rely on these organizations, including youth that are served by the subrecipients.

            66.     At the individual level, the grant award termination has left those at the highest risk

    for gun violence unsupported and susceptible to the environment they are in; people who were mid-

    transformation can lose momentum or backslide; and people who were connecting with frontline

    workers may be difficult to reach with gaps in services and supports. This has resulted in immediate

    harm in neighborhoods that now lack grant-funded staff who could immediately intervene in active

    conflicts and retaliations, or to respond to flare ups in violence.

            67.     At least 250 government, health care and philanthropy leaders, and frontline workers

    could lose the opportunity to attend HRiA’s annual conference and learn best practices to respond to

    community violence because the grant funding supporting those individuals was terminated.

            Vera Institute of Justice (Vera)

            68.     As a direct result of OJP’s termination of Vera’s grant awards, Deaf and hard-of-

    hearing victims of crimes lost access to free sign language interpretation services to allow those victims

    to communicate with law enforcement and victim services. This program has served more than 4,000

    individuals, and Vera has been forced to turn away individuals who needed access to these essential

    services.

            69.     The needs of human trafficking survivors with disabilities will go unmet after Vera was

    forced to abruptly cancel a training for more than 486 individuals (more than half in law enforcement)

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    and dozens of law enforcement agencies to help law enforcement identify and serve the unique needs

    of this population. Cancelling this training lessens law enforcement’s ability to serve as a force

    multiplier for other officers in the future.

            70.      The cities of Richmond, California and Albuquerque, New Mexico have lost more

    than $700,000 in subaward funding to modernize each city’s 911 call systems and train civilian

    specialists to respond to mental and behavioral health crises and to prevent and intervene in violent

    crime, especially gun-related homicides and shootings.

            71.      Prosecutors in Arizona, Colorado, Massachusetts, North Carolina, and Virginia can

    no longer benefit from Vera’s expanding diversion programs, which were designed to help prosecutors

    address the underlying drivers of criminal conduct in their communities and instead focus on

    prosecuting the most violent crime plaguing a community.

            72.      Because of termination of grant funding, two state Department of Correction facilities

    withdrew from Vera’s project to support data collection, policy development, training and monitoring

    for correctional facilities to increase safety in prisons.

                                      CLASS ACTION ALLEGATIONS

            73.      Plaintiffs bring this action under Federal Rule of Civil Procedure 23(a), Rule 23(b)(1),

    and 23(b)(2) on behalf of themselves and all other entities similarly situated.

            74.      Plaintiffs seek to represent the following class (the “Proposed Class”):


                  All entities in the United States issued awards by the U.S. Department of Justice (DOJ)
                  Office of Justice Programs, whose grants DOJ terminated in April 2025 pursuant to 2
                  C.F.R. § 200.340(a)(4).



            75.      The Proposed Class is so numerous that joinder of all members is impracticable. See

    Fed. R. Civ. P. 23(a)(1). Defendants terminated over 370 OJP awards given to organizations across

    the country.
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            76.     The Proposed Class’s claims turn on common questions of fact or law that are capable

    of classwide resolution. See Fed. R. Civ. P. 23(a)(2). The legality of Defendants’ mass terminations is

    a common question capable of resolution in one stroke.

            77.     Plaintiffs’ claims are typical of the claims of those of the Proposed Class as the whole.

    See Fed. R. Civ. P. 23(a)(3). Each class member’s claim arises from the same course of events

    (Defendants’ illegal award terminations) and each class member has experienced the same injury (the

    termination of their awards) if relief is denied.

            78.     Plaintiffs will fairly and adequately represent the Proposed Class. See Fed. R. Civ. P.

    23(a)(4). They are committed to seeking a declaration and injunction that will benefit all members of

    the Proposed Class equally, declaring their award terminations illegal and restoring those awards as

    they existed before the terminations. Plaintiffs are aware of their obligations as class representatives

    and willing to dedicate time and effort to pursue this matter on behalf of every member of the

    Proposed Class.

            79.     Plaintiffs are represented by counsel with extensive experience in administrative law,

    constitutional law, and class actions and who are committed to zealously representing the Class. See

    Fed. R. Civ. P. 23(a)(4), 23(g).

            80.     Defendants have acted or refused to act on grounds that apply generally to the

    Proposed Class, violating the APA in the same way as to all class members and subjecting all class

    members to the same unlawful terminations. Final injunctive relief and corresponding declaratory

    relief is therefore appropriate with respect to the Class as a whole. See Fed. R. Civ. P. 23(b)(2).

            81.     Alternatively, declaratory relief is appropriate under Rule 23(b)(1)(A) because

    Defendants have engaged in an ongoing course of conduct that is illegal as to all members of the

    Proposed Class, and separate actions by individual class members would create a risk of inconsistent

    results. See Fed. R. Civ. P. 23(b)(1)(A).

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                                            CLAIMS FOR RELIEF

                                                     Count I
                        U.S. Constitution – Fifth Amendment Due Process Clause
                              (Against Defendants Bondi and Henneberg)

            82.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs.

            83.     The Fifth Amendment to the United States Constitution guarantees that no person

    shall be deprived of life, liberty, or property without due process of law.

            84.      Plaintiffs have a constitutionally protected interest in the OJP funding they applied

    for, were awarded, and relied on. Plaintiffs have expended significant resources to set up their

    programs in reliance on their grant awards. Plaintiffs’ interest in their grant awards is established and

    governed by the acceptance of their application by the federal government. See, e.g., Cnty. of Santa Clara

    v. Trump, 275 F. Supp. 3d 1196, 1218 (N.D. Cal. 2017), aff’d in part, vacated in part, remanded sub nom, City

    & Cnty. of San Francisco v. Trump, 897 F.3d 1225 (9th Cir. 2018).

            85.      Because Plaintiffs have a protected property interest in their grant funding, they were

    entitled to reasonable notice and due process before OJP summarily terminated their grant funding.

            86.      Plaintiffs did not receive prior notice before OJP summarily terminated its grant

    terminations and ceased disbursing funds owed on them. Nor were Plaintiffs provided a hearing or

    other opportunity to challenge the termination of the grants before OJP terminated them, including

    allowing Plaintiffs to contest the purported basis for the terminations.

            87.     The terminations deprive Plaintiffs of their interest in their funding without the

    procedural due process rights to which they are entitled. Plaintiffs have had their operations disrupted

    as a result, including reduction in services provided, furloughs of staff, and damage to relationships

    with community beneficiaries, with ongoing risks to their very existence.

            88.     OJP’s terminations therefore violate the Fifth Amendment Due Process Clause.

            89.      OJP’s terminations without sufficient due process must be declared unlawful.
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            90.      The Court should enter prospective injunctive relief to enjoin OJP from terminating

    Plaintiffs’ grants without notice and a reasonable opportunity to object prior to deprivation of their

    protected interests in grant funding.

                                                     Count II
           U.S. Constitution – Fifth Amendment Due Process Clause—Void for Vagueness
                             (Against Defendants Bondi and Henneberg)

            91.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs.

            92.     The Fifth Amendment to the United States Constitution guarantees that no person

    shall be deprived of life, liberty, or property without due process of law. A fundamental aspect of due

    process is that government-imposed obligations must be stated with sufficient clarity to provide fair

    notice and prevent arbitrary enforcement.

            93.     Government regulatory enforcement is void for vagueness if it (1) does not provide a

    person of ordinary intelligence fair notice of what is prohibited or (2) if it risks arbitrary application.

    Grayned v. City of Rockford, 408 U.S. 104, 108–09 (1972); FCC v. Fox Television Stations, Inc., 567 U.S. 239,

    253 (2012); U.S. Telecom Ass’n v. FCC, 825 F.3d 674, 736 (D.C. Cir. 2016); Timpinaro v. SEC, 2 F.3d

    453, 460 (D.C. Cir. 1993). Open-ended regulatory terminology that allows for “wholly subjective

    judgments without statutory definitions, narrowing context, or settled legal meanings” violate due

    process. United States v. Williams, 553 U.S. 285, 306 (2008); Coates v. City of Cincinnati, 402 U.S. 611,

    611–14 (1971); Smith v. Goguen, 415 U.S. 566, 573–77 (1974).

            94.     Plaintiffs have a constitutionally protected interest in the OJP funding they applied

    for, were awarded, and relied on.

            95.     OJP’s application of 2 C.F.R. § 200.340(a)(4) to Plaintiffs is unconstitutionally vague

    and constitutes an arbitrary exercise of authority. Plaintiffs’ termination letters summarily assert that

    the relevant grant “no longer effectuates the program goals or agency priorities.” The words


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    “effectuate,” “goals,” and “priorities,” at least, are not defined in the letters, law, or regulations, and

    are unconstitutionally vague.

            96.     The termination also “explain[s]” some of those new priorities, but these newly-

    announced priorities are also not contained in any guidance, law, or regulation and were not included

    defined within Plaintiffs’ award grant documents.

            97.     As a result, OJP’s terminations are unconstitutionally vague, violate the Fifth

    Amendment’s Due Process Clause.

            98.     OJP’s terminations must be declared unlawful.

                                                   Count III
                                       Equitable Ultra Vires Claim
                               (Against Defendants Bondi and Henneberg)

            99.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs.

            100.    The equitable power of federal courts to enjoin “violations of federal law by federal

    officials,” Armstrong v. Exceptional Child Ctr., 575 U.S. 320, 326–27 (2015), includes cases in which a

    federal officer has acted unconstitutionally as well as cases in which the officer has acted “beyond th[e]

    limitations” set by federal statute. Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).

            101.    OJP, through its officials, may exercise only the authority conferred by statute.

            102.    OJP lacked constitutional, statutory, and regulatory authority to issue or implement

    the en masse termination of the Plaintiffs’ and putative class members’ grant awards. As explained

    above, these terminations violate the Constitution’s separation of powers, the Takings Clause, the

    Spending Appropriations Clauses; deprive Plaintiffs’ and putative class members of their procedural

    Due Process rights; are void for vagueness; and have no basis in any law or other authority.

            103.    OJP’s terminations must be declared unlawful.

                                                    Count IV
               Violation of Separation of Powers, Spending and Appropriations Clauses,
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                                        and the Take Care Clause
                               (Against Defendants Bondi and Henneberg)

            104.    Plaintiffs reallege and incorporate by reference the allegations in each of the preceding

    paragraphs.

            105.    Only Congress may appropriate federal money. U.S. Const. art. I, § 9, cl. 7

    (Appropriations Clause); U.S. Const. art. I, § 8, cl. 1 (Spending Clause). And Congress passed laws

    forbidding the executive branch from interfering with its appropriations and spending powers. The

    Impoundment Control Act commands that appropriated funds “shall be made available for

    obligation” absent congressional recission. Pub. L. No. 93-344, 88 Stat. 297, 333 (July 12, 1974)

    (codified as amended at 2 U.S.C. §§ 682 et seq.). The Anti-Deficiency Act Amendments of 1982

    generally prohibit executive branch officers from holding appropriated funds in reserve. Pub. L. No.

    97-258, 96 Stat. 877, 929 (Sept. 13, 1982) (codified as amended in Title 31).

            106.    Congress’ exclusive power of the purse is “a bulwark of the Constitution’s separation

    of powers among the three branches of the National Government.” U.S. Dep’t of Navy v. Fed. Lab.

    Rels. Auth., 665 F.3d 1339, 1347 (D.C. Cir. 2012) (Kavanaugh, J.). Where Congress has legislated on

    point under express and exclusive constitutional authority, Congress’ power is at its apex—and the

    executive branch’s “power is at its lowest ebb.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

    637 (1952) (Jackson, J., concurring).

            107.    When Congress appropriates money, the President’s only role is to spend it consistent

    with the congressional command and purpose. The Constitution “grants the power of the purse to

    Congress, not the President.” City & County of San Francisco v. Trump, 897 F.3d 1225, 1231 (9th Cir.

    2018). An appropriation is a law like any other, and the President must “take Care that the Laws be

    faithfully executed.” U.S. Const. art. II, § 3; and see City & Cnty. of San Francisco, 897 F.3d at 1234




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    (“Because Congress’s legislative power is inextricable from its spending power, the President’s duty

    to enforce the laws necessarily extends to appropriations.”).

            108.    The Executive Branch has no power to amend or rescind appropriations that conflict

    with its priorities. Clinton v. City of New York, 524 U.S. 417, 438 (1998) (“There is no provision in the

    Constitution that authorizes the President to enact, to amend, or to repeal statutes.”). Whatever

    “policy reason” he may have “for wanting to spend less than the full amount appropriate by Congress

    for a particular project or program,” the President “does not have unilateral authority to refuse to

    spend the funds.” In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir. 2013) (Kavanaugh, J.).

            109.    The federal government previously acknowledged that the President cannot withhold

    congressionally appropriated funding. William Rehnquist, before he took the bench, wrote in an

    Office of Legal Counsel opinion that “the suggestion that the President has a constitutional power to

    decline to spend appropriated funds … is supported by neither reason nor precedent.” Presidential

    Authority to Impound Funds Appropriated for Assistance to Federally Impacted Schools, 1 Op. O.L.C. Supp. 303,

    309 (1969). As late Chief Justice Rehnquist explained, that “the President disagree[s] with spending

    priorities established by Congress” cannot “justify his refusal to spend.” Id. at 311.

            110.    Again and again, over the course of years, Congress repeatedly allocated, and

    commanded Defendants to expend grant funds in defined tranches to improve justice systems across

    the country. And it unequivocally instructed the Executive Branch that there was precious little play

    in the joints, allowing the Department of Justice to repurpose only five percent of each tranche before

    returning to Congress for new instructions. Pub. L. No. 118-42, § 205, 138 Stat. 25, 153 (Mar. 9,

    2024). Congress wanted Defendants to spend as much money as Congress allocated, for the purposes

    Congress chose.

            111.    Defendants simply refused. To cite just one example: Congress told Defendant Office

    of Justice Programs to spend $250 million on “a community violence intervention and prevention

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    initiative.” See Bipartisan Safer Communities Act, Pub. L. No. 117-159, 136 Stat. 1313, 1339 (June 25,

    2022). OJP followed the congressional command, contracting with—among other organizations—

    Plaintiff Health Resources in Action to help break the cycle of violence in Boston’s streets. Then

    Defendants decided, simply because their own policy priorities changed, to stop spending the money

    that Congress appropriated—and terminated HRiA’s grant funding without warning. But Congress’

    command did not change, and Congress’ command left Defendants no leeway to simply pocket the

    money.

             112.   In the end, Defendants withheld congressionally appropriated funding more than 370

    times, to the tune of $820 million. This purposeful campaign of defiant refusal to spend congressional

    appropriations violates the constitutional separation of powers, which restrains the executive from

    interfering with Congress’ exclusive powers; the Spending Clause and Appropriations Clause, which

    give Congress alone the power of the purse; and the Take Care Clause, which requires the President

    to follow the law. Federal courts have the equitable power to grant—and Plaintiffs have a non-

    statutory right of action to seek—injunctive relief for these “violations of federal law by federal

    officials.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326-27 (2015).

             113.   As a result, OJP’s refusal to spend funds that Congress has appropriated violates the

    separation of powers, the Take Care Clause, and the Appropriations and Spending Clauses.

             114.   OJP’s terminations must be declared unlawful and in excess of its authority.

             115.   Defendants must be preliminarily and permanently enjoined from declining to spend

    the funds that Congress has appropriated for OJP grants.

                                                      Count V
             Violation of the APA–Contrary to Law and Contrary to a Constitutional Right
                                     (Against All Defendants)

             116.   Plaintiffs re-allege and incorporate by reference all preceding paragraphs.


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            117.    An agency is “bound by its own regulations,” Nat’l Env’t Dev. Assoc.’s Clean Air Project

    v. EPA, 752 F.3d 999, 1009 (D.C. Cir. 2014) (internal quotation marks omitted), and an agency’s failure

    to follow them is “contrary to the law,” Fuller v. Winter, 538 F. Supp. 2d 179, 191 (D.D.C. 2008).

            118.    OJP’s en masse termination of Plaintiffs’ grant awards is final agency action reviewable

    under 5 U.S.C. §§ 702 and 706.

            119.    OJP’s stated authority and basis for terminating Plaintiffs’ awards is because they “no

    longer effectuate[] the program goals or agency priorities.” 2 C.F.R. § 200.340(a)(4).              In the

    termination emails, OJP asserted that “the Department has changed its priorities” and that “these

    awards demonstrate that they no longer effectuate Department priorities.”

            120.    OJP’s terminations were contrary to Section 200.340(a)(4) because OJP is permitted

    to terminate an award based on agency priorities only if that basis for termination was specifically

    permitted by the terms and conditions of the award. OJP did not “clearly and unambiguously” state

    in Plaintiffs’ award documents that it could terminate an award because an award no longer effectuates

    program goals or agency priorities. Without an articulation of those priorities in the award and clear

    notice that the grant can be terminated on that basis, OJP was not permitted to terminate the grants

    on the basis of “agency priorities.”

            121.    OJP’s terminations were further contrary to Section 200.340(a)(4) because a

    termination must be on an award-by-award basis, and OJP must rely on “specific evidence” to

    demonstrate that “an award” no longer serves a program goal or agency priorities. OJP’s terminations

    were predicated on a change in agency priorities, but Section 200.340(a)(4) does not allow OJP to

    terminate a grant based on a “change” to an agency’s priorities. Moreover, OJP did not provide or

    rely on specific evidence that Plaintiffs’ awards should be terminated because they no longer

    effectuated the goals and priorities that motivated the award in the first place.



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            122.    Because Section 200.340(a)(4) does not authorize OJP’s terminations of Plaintiffs’

    grants, those terminations are “not in accordance with law,” 5 U.S.C. § 706(2)(A).

            123.    OJP’s terminations on the basis of Section 200.340(a)(4) must be declared unlawful,

    including its interpretation that 2 C.F.R. § 200.340(a)(4) allows OJP to terminate a grant based on a

    “change” in agency priorities.

            124.    OJP’s terminations must be vacated and “set aside” under 5 U.S.C. § 706(2)(B).

            125.    Plaintiffs’ request that this Court enter preliminary and permanent injunctive relief

    enjoining OJP’s from terminating grants on the basis of a “change” in agency priorities.

                                                     Count VI
                    APA –Arbitrary, Capricious, and an Abuse of Agency Discretion.
                                      (Against All Defendants)

            126.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs.

            127.    OJP’s en masse termination of Plaintiffs’ grant awards is final agency action reviewable

    under 5 U.S.C. §§ 702 and 706.

            128.    Under the APA, the Court shall “hold unlawful and set aside agency action” that is

    “arbitrary [and] capricious.” 5 U.S.C. § 706(2)(A).

            129.    “The APA’s arbitrary-and-capricious standard requires that agency action be

    reasonable and reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

    Agency action violates this requirement if the agency has relied on factors which Congress has not

    intended it to consider, entirely failed to consider an important aspect of the problem, offered an

    explanation for its decision that runs counter to the evidence before the agency, or is so implausible

    that it could not be ascribed to a difference in view or the product of agency expertise. Motor Vehicle

    Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

            130.     OJP’s terminations are arbitrary and capricious because they are “not reasonable” nor

    “reasonably explained.” Ohio v. EPA, 603 U.S. 279, 292 (2024) (quoting Prometheus Radio Project, 592
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    U.S. at 423). The termination notices sent to all named Plaintiffs included identical, three-sentence

    boilerplate explanations for the basis of the termination. They included no discussion specific to an

    individual grant, nor did they explain why any individual grant no longer served the agency’s changed

    priorities.

             131.      OJP’s terminations also failed to take into consideration the reliance interests of

    Plaintiffs and other stakeholders, including the populations they serve.

             132.      OJP’s termination of Plaintiffs’ grants constitutes an “abuse of discretion,” under the

    APA as applied to this class of Plaintiffs.

             133.      OJP’s terminations must be declared arbitrary, capricious, an abuse of discretion, or

    otherwise not in accordance with law.

             134.      OJP’s terminations must be vacated and “set aside” under 5 U.S.C. § 706(2)(B).

                                            PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs pray that this Court:

        (A) Declare unlawful, vacate, and set aside OJP’s decision to conduct an en masse termination of

             the putative class members’ grants;

        (B) Declare unlawful, vacate, set aside Defendants’ terminations of the putative class members’

             grants;

        (C) Declare that OJP’s terminations violate the Fifth Amendment’s Due Process Clause;

        (D) Declare that OJP’s terminations violate the separation of powers, the Take Care Clause, and

             the Appropriations and Spending Clauses;

        (E) Declare that OJP’s terminations on the basis of Section 200.340(a)(4) are unlawful, including

            its interpretation that 2 C.F.R. § 200.340(a)(4) allows OJP to terminate a grant based on a

            “change” in agency priorities;



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       (F) Declare that OJP’s terminations are arbitrary, capricious, an abuse of discretion, or otherwise

          not in accordance with law;

       (G) Preliminarily and permanently enjoin Defendants, their agents, and all persons acting in

          concert or participation with Defendants from enforcing, implementing, maintaining, or

          giving effect to the terminations of putative class members’ grants, including through the

          enforcement of closeout obligations;

       (H) Preliminarily and permanently enjoin Defendants, their agents, and all persons acting in

          concert or participation with Defendants from re-obligating the funds used to support putative

          class members’ terminated grants;

       (I) Preliminarily and permanently enjoin Defendants, their agents, and all persons acting in

          concert or participation from terminating Plaintiffs’ grants without notice and a reasonable

          opportunity to object prior to deprivation of their protected interests in grant funding;

       (J) Preliminarily and permanently enjoin Defendants, their agents, and all persons acting in

          concert or participation with Defendants from declining to spend the funds that Congress has

          appropriated for OJP grants;

       (K) Preliminarily and permanently enjoin Defendants, their agents, and all persons acting in

          concert or participation with Defendants from terminating grants under 2 C.F.R. §

          200.340(a)(4) on the basis of a “change” in agency priorities;

       (L) Stay the termination of the grants pursuant to 5 U.S.C. § 705;

       (M) Enter judgment in favor of Plaintiffs;

       (N) Enter an order in the exercise of the Court’s equitable powers that directs Defendants to take

          all steps necessary to ensure that OJP disburses funds to Plaintiffs in the customary manner

          and in customary timeframes;



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       (O) Require Defendants to submit status reports every 30days after the date of the entry of the

          Court’s order to ensure prompt and complete compliance with the Court’s directive;

       (P) Award Plaintiffs their costs, reasonable attorney fees, and other disbursements as

          appropriate; and

       (Q) Grant such other and further relief as the Court may deem just and proper.




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    Dated: May 22, 2025            Respectfully submitted,


                                   /s/ Jennifer Fountain Connolly
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                                   *Request for admission pending




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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,
     Plaintiffs, on behalf of themselves and all others
     similarly situated,

     v.

     UNITED STATES DEPARTMENT
     OF JUSTICE,
     PAMELA J. BONDI, in her official capacity as               Case No. ________________________
     United States Attorney General,
     OFFICE OF JUSTICE PROGRAMS,
     MAUREEN A. HENNEBERG, in her official
     capacity as Acting Head of the Office of Justice
     Programs,
     Defendants.




                                    DECLARATION OF RACHEL SOTTILE

    I, Rachel Sottile, declare as follows:

             1.       My name is Rachel Sottile. I am a resident of King County in the State of Washington.

    I am over the age of eighteen. This declaration is based upon my personal knowledge and the

    knowledge I have acquired in the course of my duties. If called as a witness, I could and would testify

    competently to the matters set forth below. I provide this declaration in support of Plaintiffs’ motion

    for preliminary injunction.

             2.       I serve as the President & CEO of the Children and Youth Justice Center, which does

    business as the Center for Children & Youth Justice (CCYJ). In this role, I have overall strategic and

    operational responsibility for CCYJ’s mission. My role is to provide leadership and direction for

    CCYJ, mobilizing broad-base support for youth foster care and juvenile justice systems reform by

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    convening experts and stakeholders who can identify gaps and effect systemic change, designing new

    pathways to achieve improved outcomes, independently evaluating these results, and advocating for

    long-term systemic change. My team and I serve as subject matter experts and resources for system

    leaders, incubating innovative research, policy, training, and projects that serve as models for reform.

    I began as President & CEO on December 5, 2018, and have served in the position for over six years.

            3.      In my role as President & CEO, I oversee the two initiatives affected by the grant

    termination at issue in this litigation. I also serve as CCYJ’s Entity Administrator, binding CCYJ in all

    awards and agreements, monitoring progress, and addressing barriers. I am accountable for the grant

    outcomes being fulfilled.

            4.      Prior to this position, I served as the Vice President of the Pretrial Justice Institute

    (Baltimore, MD). I also previously served as the Director of Foster Care & Adoptions for Miami-

    Dade County (FL), Department of Children & Families, D-11, and the Chief Operating Officer of

    Charlee Homes for Children (Miami, FL). My professional roles and leadership span nearly thirty

    years, and include providing direct service to foster care youth, and championing state-based and

    national foster care and juvenile justice systems reform.

    CCYJ’s Mission and Impacted Programs

            5.      The Center for Children & Youth Justice is a nonprofit, founded in 2006 by

    Washington State Supreme Court Justice Bobbe J. Bridge (ret.). CCYJ’s Mission is to create better

    lives for generations of children and youth by reforming the child welfare and juvenile justice systems.

    As the only organization solely committed to reforming these systems in Washington State, CCYJ’s

    approach is rooted in listening to those most impacted—children, young adults, and families—by

    failures of these systems, leading to the development, coordination, and implementation of reforms

    designed to support children and youth, stabilize families, and strengthen communities.              To

    accomplish these reforms, CCYJ works in partnership with local and state government, law

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    enforcement, courts, schools, coalitions with similar goals, and community-based organizations to test

    and implement reforms by piloting promising and best practices, facilitating coordination and

    collaboration among system stakeholders, providing training and ongoing technical assistance, and

    advocating for data-driven and youth-centered solutions.

            6.       As part of this work, CCYJ oversees two initiatives directly impacted by the award

    terminations at issue in this litigation: the Leadership, Intervention, and Change (“LINC”) Program

    and the Community Violence Intervention Capacity Building Project.

            7.      CCYJ has been an active participant in the development of this lawsuit and has

    remained in regular communication with Plaintiffs' counsel about this case. CCYJ is willing and able

    to take an active role in this litigation and to protect the interests of all members of the Class.

    CCYJ’s Grant Process

            8.      In general, grant opportunities are evaluated thoroughly by me and the Executive

    Team to ensure the work prescribed by the grant advances our mission, aligns with how we do our

    work, and engages with community partners and systems involved youth and/or professionals. We

    also evaluate the competencies and expertise needed programmatically, the core infrastructure and

    resources (administrative, technological, finance, compliance, etc.) that will be needed to fulfill the

    grant requirements, and if the organization is structured in a way to fulfill the work prescribed. CCYJ’s

    programmatic leaders are engaged with the Executive Team at the early stages of consideration of a

    prospective grant, to ensure the organization is aligned with the opportunity, work required, and

    intended outcomes. I may consult with CCYJ’s Board of Directors as thought partners and advisors,

    prior to applying for grants. I make the ultimate decision to apply for grants and, if the grant is

    awarded, bind the organization in the award agreement.

    Termination of Grant Funding Without Notice



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            9.      On Tuesday, April 22, 2025 at about 2:30 PM Pacific Time, I received two emails from

    the Office of Justice Programs, OJP_COMMS@public.govdelivery.com,                  labeled “Notice of

    Termination” and purporting to immediately terminate two of CCYJ’s awards—Award No. 15PBJA-

    22-GG-04749-MUMU (CCYJ Award 1) and Award No. 15PBJA-23-GK-05198-CVIP (CCYJ Award

    2), attached here as Exhibits 1 and 3, respectively—pursuant to 2 C.F.R. § 200.340(a)(4) because the

    awards “no longer effectuate agency priorities.”

            10.     The termination emails went on to state that “The Department has changed its

    priorities with respect to discretionary grant funding to focus on, among other things, more directly

    supporting certain law enforcement operations, combatting violent crime, protecting American

    children, and supporting American victims of trafficking and sexual assault, and better coordinating

    law enforcement efforts at all levels of government. This award demonstrates that it no longer

    effectuates Department priorities.”

            11.     No other basis or explanation for the termination was provided. The termination

    email(s) did not claim CCYJ failed to comply with the terms or conditions of the awards, did not

    explain how Department priorities might have changed, and did not otherwise explain why the awards

    supposedly no longer effectuated Department priorities. These two awards together total $6 million

    dollars, with more than $4.1 million dollars of remaining award funding as of April 22, 2025. True

    and correct copies of the termination emails are attached as Exhibits 2 and 4.

            12.     The termination email advised that “[c]onsistent with 2 C.F.R. § 200.342, [CCYJ] may

    appeal this termination in writing within 30 calendar days of the date of this notice.”

            13.     CCYJ was locked out of the federal grants payment system after receiving the

    termination notice. CCYJ has approximately $211,000 in known unreimbursed expenses incurred

    before the awards were terminated. A portion of the outstanding reimbursements—$79,600—should

    pass through to CBOs who have incurred expenses related to the grant awards. Additional invoices

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    from CBOs for work performed prior to termination are still pending. But because CCYJ cannot

    access the payment system, we cannot access funds owed to CCYJ or the CBOs.

            14.      It was CCYJ’s expectation and understanding based on the notice of award, federal

    law, and our past experience with federal awards that the funds awarded would be available throughout

    the award periods and that the DOJ could terminate the awards only if CCYJ failed to comply with

    the terms and conditions of the awards. It was not CCYJ’s understanding that the DOJ could

    terminate these awards based on that agency’s unsupported assertion that the awards no longer

    effectuate agency priorities. CCYJ further understood that costs properly incurred prior to the

    termination of an award would be reimbursed by the DOJ.

    Harm Resulting from Awards Termination

            15.      The termination of CCYJ’s awards created an immediate harm and impact to not only

    CCYJ’s ability to maintain business and programmatic operations prescribed by these awards, but it

    also denied funds to be paid to four lower-tier contractors and three subrecipients, impacting their

    ability to have the financial resources to sustain their organizations. As a result of the termination of

    CCYJ’s award:

                  a. five members of CCYJ’s staff were terminated on April 25, 2025;

                  b. CCYJ has ended the project intended to build the capacity of organizations operating

                     Community Violence Intervention (CVI) strategies in King County, Washington,

                     leaving the county’s youth without enhanced CVI services; and

                  c. an estimated 65 young people will be deprived of direct services from LINC, a

                     program that serves youth who are involved with, or at risk of involvement with, gangs

                     or violence.

            16.      CCYJ relied and acted upon its expectation and understanding that the DOJ would

    fulfill its commitment to provide award funding. CCYJ specifically hired project staff, built the

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    necessary technological, administrative and organizational structures, and executed lower tier

    subawards and vendor services contracts necessary to accomplish the awards’ goals and objectives.

           17.     DOJ’s termination of these awards with no notice forced CCYJ to make cuts in its

    budget to offset the loss of $1.8 million dollars of budgeted funding for CCYJ’s current fiscal year,

    representing a 32% decrease in annual revenue. This included reducing the budget of one program

    (including terminating three related contracts) and eliminating all together another project    tasked

    with carrying out the award goals and objectives, terminating four subawards and services contracts

    that assist CCYJ in carrying out its mission, cutting funding for other programs and support personnel,

    re-positioning staff into other positions, and laying off five members of our staff (24% of CCYJ’s

    workforce) on April 25, 2025.

           18.     DOJ’s termination of these awards has created immense uncertainty for CCYJ as well

    as employees in several other organizations with terminated subawards and services contracts, and has

    required CCYJ employees to spend significant amounts of time working on responding to that

    disorder and confusion. I, along with many other leaders, have spent an enormous number of hours

    over the last few weeks attempting to quantify and mitigate the effects of these award terminations—

    time that could have been spent working to advance child welfare and juvenile justice systems reform,

    including making our community safer through group/gang violence intervention and prevention.

    Award 1: Enhancement of the Leadership, Intervention & Change (LINC) Group Violence

    Prevention and Intervention in King County, Washington

           19.     On September 29, 2022, CCYJ was notified that the Office of Justice Programs (OJP)

    had approved its application for a grant award under the funding opportunity entitled “2022 BJA FY

    22 Office of Justice Programs Community Based Violence Intervention and Prevention Initiative.”

    Shortly thereafter, CCYJ accepted the award. The grant award provides $2,000,000 in funding from

    October 1, 2022, to September 30, 2025. The statutory authority for this award is the Department of

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    Justice Appropriations Act, 2022 (Pub. L. No. 117-103, 136 Stat. 49, 127); Bipartisan Safer

    Communities Supplemental Appropriations Act, 2022 (Pub. L. No. 117-159, 136 Stat. 1313, 1339); 28

    U.S.C. § 530C.

             20.      This grant award, titled “Enhancement of the Leadership, Intervention & Change

    (LINC) Group Violence Prevention and Intervention in King County, Washington” supports CCYJ’s

    regional adaptation and implementation of the Office of Juvenile Justice and Delinquency Prevention,

    Comprehensive Gang Model (CGM) in Washington’s most populous and diverse county. The LINC

    program, in operation since 2011, is a coordinated effort to prevent and reduce community and gun

    violence among youth and the involvement of young people in groups and gangs in King County,

    Washington.

             21.      The LINC program serves all of King County, with a targeted focus on Seattle and the

    South King County communities that have historically accounted for more than 90% of firearm

    violence in the county. LINC’s service area includes over twenty cities and spans several law

    enforcement jurisdictions and school districts, making it a comprehensive initiative aimed at

    addressing violence prevention and intervention across diverse communities. The LINC program

    fosters trust, mutual understanding, and collaboration between law enforcement and the community-

    historically, the LINC program has worked with up to 200 young people annually who are involved

    with, or at risk of involvement with, gangs and/or violence.1 The LINC program serves youth that

    are typically 13-24 years old, carrying a gun or other weapons, self-identify as gang/group involved or,




    1
      In 2024, 120 youth were served by LINC. Of these youth, 29 (24%) enrolled in school; 46 (38%) improved school
    attendance/performance/behavior; 1 (0.8%) was accepted to college; 4 (3%) graduated; 17 (14%) completed probation
    or court assigned activity; 69 (57.5%) decreased or replaced gang/group activity or association; 42 (35%) obtained
    employment; 31 (26%) maintained employment; 33 (27.5%) connected to support services; 16 (13%) connected to
    housing; 2 (1.6%) completed substance use or mental health services; 6 (5%) enrolled in substance use or mental health
    services; and 14 (11.6%) participated actively in mental health or substance use services.

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    at high-risk of becoming gang/group involved, juvenile justice impacted, community violence

    impacted, and disengaged from school.

            22.     The CGM utilizes an “evidence-based framework for coordinating multiple anti-gang

    and violence-reduction strategies to address serious gang problems.” National Gang Center, A Law

    Enforcement       Official’s   Guide      to    the       OJJDP     Comprehensive       Gang       Model,

    https://nationalgangcenter.ojp.gov/comprehensive-gang-model. As described by the National Gang

    Center, the CGM is “a set of five core strategies—community mobilization, opportunities provision,

    social intervention, suppression, and organizational change and development—that offer a

    comprehensive, collaborative approach designed to prevent and reduce gang violence.” Id. Within

    the LINC program, CCYJ functions as the Lead Agency and plays a key role in implementing the

    CGM in King County, Washington, providing fiscal management, administrative coordination and

    support, direct service coordination, training, and data collection, analysis, and reporting.

            23.     Services provided to youth are coordinated through street outreach and geographically

    focused Multi-Disciplinary Intervention Teams (MDITs). LINC MDITs are facilitated by CCYJ and

    include street outreach workers, case managers, school representatives, probation counselors,

    behavioral health specialists, employment services providers, and law enforcement officers. Street

    outreach reaches youth in the community where they are at: physically, emotionally, and

    developmentally. LINC outreach workers are credible messengers- individuals directly impacted by

    community violence. They engage and mentor youth and use trauma-informed approaches to help

    youth set goals and change their lives. The MDITs use a team-based case management approach,

    reviewing each youth’s plan and progress to determine what services can help them meet the goals the

    youth have identified for themselves.

            24.     A cross-sector steering committee consisting of local leaders and decision makers

    oversees the planning, implementation, evaluation, and sustainability of the LINC program. CCYJ

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    staff have provided training and technical assistance and made professional development

    opportunities available to steering committee and MDIT members as well as community partners and

    stakeholders. Training has been provided on a variety of topics related to the implementation of the

    CGM, including but not limited to universal screening for the commercial sexual exploitation of

    children, reducing the propensity for violence and victimization in young women, providing culturally

    appropriate services to diverse communities, the prosecuting attorney’s office’s safer schools strategy,

    and crisis response and violence interruption.

            25.     DOJ terminated this grant with approximately five months remaining and more than

    $684,100 of funds remaining, including significant funding for lower-tier direct services contracts

    supporting street outreach and case management services for young people involved with, or at risk

    of involvement with, violence or gangs.

            26.     As a result of being forced to terminate direct services contracts, CCYJ estimates that

    up to 65 young people will no longer be supported by the LINC program. Specifically, the LINC

    program currently uses a contracted services organization to serve 65 LINC clients through street

    outreach services. If this organization stops participating, and its leadership has indicated that it will

    stop participating as a direct result of the loss of this funding, LINC will serve approximately 65 fewer

    clients. Depending on the capacity of other organizations, there is no guarantee that these young

    people could be served by other, formerly contracted outreach service providers.

    Award 2: Community Violence Intervention Capacity Building Project

            27.     On September 28, 2023, CCYJ was notified that OJP had approved its application for

    a cooperative agreement under the funding opportunity entitled “2023 BJA FY 23 Office of Justice

    Programs Community Based Violence Intervention and Prevention Initiative.” Shortly thereafter,

    CCYJ accepted the cooperative agreement award. The cooperative agreement award provides

    $4,000,000 in funding from October 1, 2023, to September 30, 2026. The statutory authority for this

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    cooperative agreement is the Department of Justice Appropriations Act, 2022 (Pub. L. No. 117-103,

    136 Stat. 49, 127); Bipartisan Safer Communities Supplemental Appropriations Act, 2022 (Pub. L. No.

    117-159, 136 Stat. 1313, 1339); 28 U.S.C. § 530C.

            28.     Building on CCYJ’s many years of experience administering the CGM in King County

    and providing training and technical assistance on a variety of topics, including addressing the

    commercial sexual exploitation of children, CCYJ’s Community Violence Intervention Capacity

    Building Project was intended to support three to five community-based organizations (CBOs). These

    CBOs provide CVI services to young people ages 12-24 years at highest risk of victimization or

    perpetration of gun violence across King County, Washington. In this work, CCYJ acts as an

    intermediary organization, providing targeted training and technical assistance and capacity building

    for implementing and sustaining the CBOs’ CVI strategies. The Giffords Center for Violence

    Intervention recognizes the support of an intermediary organization—like CCYJ—as an important

    component of building and sustaining effective local CVI initiatives. See Leveraging Intermediaries to

    Strengthen the Community Violence Intervention Field report, The Giffords Center for Violence

    Intervention,   https://giffords.org/report/leveraging-intermediaries-to-strengthen-the-community-

    violence-intervention-field (“Intermediaries can help community-based organizations build capacity,

    access more resources, and reach self-sustainability”).

            29.     To select CBO subaward partners, CCYJ conducted a competitive process to engage

    grassroots and small organizations with annual budgets of less than $5,000,000 that were planning to

    initiate or were already operating a CVI strategy in King County, Washington. The selection process

    also involved assessing the organization’s readiness for change, cultural responsiveness, and ability to

    integrate training and technical assistance into their organization to sustain their CVI efforts long term.

            30.     CCYJ developed a request for proposals, hosted a pre-application solicitation webinar,

    and ultimately selected three CBO subaward partners. Throughout the process, CCYJ staff regularly

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    consulted with DOJ Bureau of Justice Assistance (BJA) staff and incorporated their input. Notably, on

    September 25, 2024, at the invitation of BJA leadership, CCYJ was the national host site for an event

    in Seattle commemorating the two-year anniversary of the launch of OJP’s Community-Based

    Violence Intervention and Prevention Initiative. Then-Acting Assistant Attorney General Brent J.

    Cohen and the Director of the National Institute of Justice, Dr. Nancy La Vigne, attended and the

    event occurred at the organizational home of one of CCYJ’s selected subaward recipients. See News

    Release, “Readout of OJP and White House Community Violence Intervention Announcements, U.S.

    Department      of     Justice,   Office     of    Justice    Programs,      September       30,    2024,

    https://www.ojp.gov/archives/pressreleases/2024/readout-ojp-and-white-house-community-

    violence-intervention-announcements.

            31.     CCYJ’s efforts to develop subawards with these CBOs required extensive work on the

    parts of CCYJ and each CBO. CCYJ reviewed and assessed dozens of documents, met with each CBO

    multiple times, and provided training and technical assistance on completing forms and creating

    subaward budgets.      CCYJ staff developed a comprehensive capacity building assessment tool

    specifically focused on sustaining an effective CVI initiative and started building out an online resource

    library for knowledge products related to CVI training, technical assistance, and capacity building.

    After subaward agreements were finalized in February and March of 2025, CCYJ met regularly with

    the subrecipients and administered comprehensive capacity building needs assessments to each CBO.

    Prior to the termination of CCYJ’s cooperative agreement by the DOJ, CCYJ was in the process of

    developing and finalizing capacity building plans for each of the subaward CBO partner organizations.

            32.     CCYJ’s CVI Capacity Building Project cooperative agreement was abruptly terminated

    with approximately 17 months and $3,420,000 of funds remaining. After this cooperative agreement

    was terminated, CCYJ was forced to terminate all three subawards as well as a services contract on

    April 23, 2025. CCYJ had dedicated staff to fulfill this cooperative agreement project. DOJ’s

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    termination of the grant seventeen months early and with no notice necessitated the abrupt cessation

    of project activities and forced immediate layoffs to occur.

           33.     Activities related to this cooperative agreement award project have ceased. This means

    that, despite CCYJ and the CBO’s hard and dedicated work to build the sustainability of these

    organizations and their CVI strategies, none of the CBOs will be supported to enhance their

    administrative and operational capacity to deliver CVI services for youth at highest risk of

    victimization or perpetration of gun violence in King County, Washington.




                                         Signature on following page.




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     Date: May 21, 2025

                                   ___________________________________
                                   Rachel Sottile
                                   President & CEO of the Children and Youth Justice
                                   Center
                                   Gainesville, Florida




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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,
     Plaintiffs, on behalf of themselves and all others
     similarly situated,

     v.

     UNITED STATES DEPARTMENT
     OF JUSTICE,
     PAMELA J. BONDI, in her official capacity as               Case No. ________________________
     United States Attorney General,
     OFFICE OF JUSTICE PROGRAMS,
     MAUREEN A. HENNEBERG, in her official
     capacity as Acting Head of the Office of Justice
     Programs,
     Defendants.



                                      DECLARATION OF CYNTHIA CHOI

    I, Cynthia Choi, declare as follows:

             1.       My name is Cynthia Choi. I am a resident of Los Angeles Country in the State of

    California. I am over the age of eighteen. This declaration is based upon my personal knowledge and

    the knowledge I have acquired in the course of my duties. If called as a witness, I could and would

    testify competently to the matters set forth below. I provide this declaration in support of Plaintiffs’

    motion for preliminary injunction.

             2.       I am the Co-Founder of Stop AAPI Hate and the Co-Executive Director of Chinese

    for Affirmative Action, the fiscal sponsor for Stop AAPI Hate. I have been the Co-Founder of Stop

    AAPI Hate for 5 years and Co-Executive Director of Chinese for Affirmative Action for 9 years and

    4 months. I oversee Stop AAPI Hate’s programming, communication, and fundraising, and directly


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    supervise the Director of Development. I am also responsible for setting the strategic direction of

    the coalition and ensuring that Stop AAPI Hate maintains its reputation as a national authority on

    hate against Asian American and Pacific Islander communities.

           3.      In my role, I also oversee Stop AAPI Hate’s funding streams, including government

    contracts and grants, and the Data & Research, Policy & Advocacy, Community Care, and Strategic

    Communications/Public Education initiatives affected by the grant termination.

           4.      Prior to this position, I held senior roles at Asian Americans/Pacific Islanders in

    Philanthropy, Khmer Girls in Action, and The California Endowment. In September 2022, I was

    appointed to the California Commission on the State of Hate. The Commission works with the

    California Department of Civil Rights to strengthen anti-hate initiatives across California. In 2023, I

    also served on The Coastside Victims Fund Oversight Committee which was established to support

    victims and their families affected by the mass shooting in Half Moon Bay, California.

    Stop AAPI Hate’s Mission and Impacted Programs

           5.      Stop AAPI Hate is a U.S.-based non-partisan Civil Rights coalition dedicated to ending

    racism and discrimination against Asian Americans and Pacific Islanders (AAPIs). In response to the

    alarming increase in acts of hate against the AAPI community during the COVID-19 pandemic, Stop

    AAPI Hate was founded in March 2020 by three 501(c)(3) organizations: Chinese for Affirmative

    Action (CAA), AAPI Equity Alliance, and San Francisco State University (Asian American Studies

    Department), with CAA as the lead fiscal agency.

           6.      Over the course of five years, Stop AAPI Hate has become the nation’s largest

    reporting center tracking anti-AAPI hate acts. Stop AAPI Hate has given voice to nearly 12,800 AAPI

    community members who have experienced hate and amassed a following of nearly 400,000

    supporters across email and social media platforms. Stop AAPI Hate has also provided critical support

    to victims of hate around the country.

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            7.       Consistent with its mission, Stop AAPI Hate has addressed anti-AAPI Hate through

    four main strategic areas: Data and Research, Policy and Advocacy, Strategic Communications, and

    Community Care. The organization has brought mainstream visibility to AAPI discrimination in a

    way that no other organization has before.

            8.       Since its founding in 2020, Stop AAPI Hate has become nationally known as the

    primary source of data and research on acts of hate against the AAPI communities in the country.

    Our reporting center is widely recognized as the largest national reporting center1 and fills a critical

    gap in knowledge about anti-AAPI hate, which research shows is chronically underreported to law

    enforcement and other government agencies. Stop AAPI Hate also conducts the most comprehensive

    national survey on AAPI experiences of hate and discrimination. To date, we have recorded nearly

    12,800 hate acts across the country.

            9.       Not only does our data and research center act as a resource for thousands of AAPIs,

    but our data is also used by researchers, government agencies, and elected officials annually to help

    raise public awareness and advocate for policies that effectively address anti-AAPI hate. It has been

    cited by the U.S. Commission on Civil Rights, the California Commission on the State of Hate, in

    testimony before Congress, and before the United Nations.2 And when Stop AAPI Hate is mentioned

    in articles—nearly 430,000 times, and counting—most cite to the organization’s data, making Stop

    AAPI one of the most widely known sources of information on anti-AAPI hate in the country.

            10.      The national visibility that Stop AAPI Hate has brought to the issue of hate and

    discrimination against the AAPI community has shaped policy, prompted legislatures to make historic


    1
      Making sense of anti-AANHPI hate: A synthesis of evidence from 2020-2024, AAPI Data (Jan. 17, 2025),
    https://aapidata.com/wp-content/uploads/2025/01/Hate-Synthesis-Report-Final.pdf.
    2
      Commission on the State of Hate Report 2022-2023 (California), AAPI Data (July 19, 2024),
    https://aapidata.com/data/commission-on-the-state-of-hate-report-2022-2023-california/?utm source=chatgpt.com;
    UN chief ‘profoundly concerned’ over rise in violence against Asians, UN News (Mar. 22, 2021),
    https://news.un.org/en/story/2021/03/1088002; The Federal Response to Anti-Asian Racism in the United States, U.S.
    Comm’n on C.R. (2023), https://www.usccr.gov/files/2023-10/fy-2023-se-report.pdf.

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    investments in the AAPI community, and fundamentally changed the way AAPIs are perceived in this

    country.

            11.     Through its comprehensive data collection and analysis, Stop AAPI Hate is able to

    identify key trends in how hate is perpetrated against the AAPI community. By helping government

    agencies, law enforcement, and community partners to understand where hate occurs, who is mostly

    commonly targeted, and what types of hate acts are most prevalent, Stop AAPI Hate improves public

    safety by allowing governments and communities to develop targeted strategies that protect people

    who need it most.

            12.     Stop AAPI Hate has been an active participant in the development of this lawsuit and

    has remained in regular communication with Plaintiffs' counsel about this case. Stop AAPI Hate is

    willing and able to take an active role in this litigation and to protect the interests of all members of

    the Class.

    Termination of Grant Funding Without Notice

            13.     On September 23, 2024, Chinese for Affirmative Action d/b/a Stop AAPI Hate

    received its first federal grant award of $2,000,000 from the Bureau of Justice Assistance FY24

    Community-based Approaches to Prevent and Address Hate Crime for the performance period of

    October 1, 2024 through September 30, 2027 (Award Number: 15PBJA-24-GG-02840-ADVA) (Stop

    AAPI Hate Award), attached here as Exhibit 1. Stop AAPI Hate was one of two grantees awarded

    funding under the program’s national Civil Rights organization category.

            14.     Stop AAPI Hate proposed to implement “Stop AAPI Hate Community-Based

    Approaches to Prevent and Address Hate Crimes and/or Hate Incidents.” The purpose of the grant

    initiative is to develop a holistic, multi-disciplinary, trauma-informed, community-based approach to

    documenting AAPI hate incidents and provide crisis response, care, and healing to victims of hate.



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           15.     The key areas for activities outlined in the grant proposal include: data and research

    on AAPI hate incidents in partnership with AAPI communities; policy advocacy to educate, inform,

    and provide technical assistance to prevent anti-AAPI hate; community care to partner with

    communities to center healing and improve crisis response including further work on a landscape

    analysis of existing resources and models; and public education & digital media to sustain public

    education and conversations on anti-AAPI hate and scapegoating.

           16.     We anticipated the grant funding would result in the formation of a multidisciplinary

    team to develop and evaluate community-based strategies for affected individuals and communities

    including the establishment of partnerships with AAPI/Black, Indigenous, and People of Color

    organizations engaging in community care/healing work; the expansion of Community Healing Pilots;

    and increased awareness through media and social media engagement around AAPI hate incidents.

           17.     After receiving its award, and once the grant budget was approved by the Bureau of

    Justice, Stop AAPI Hate began to fulfill deliverables in the first quarter of 2025. To access funding,

    Stop AAPI Hate uses an advance payment model, which means funds are disbursed upfront from the

    Bureau of Justice Assistance grant award based on our approved budget or estimated cash needs. As

    the grantee, we must account for the use of funds through quarterly financial reporting.

           18.     Stop AAPI Hate withdrew $500,000 on January 27, 2025, for deliverables stated under

    our Data and Research, Community Care, and Public Education/Communication programs including

    the development of our annual report on the State of Hate, launching our healing circle for harmed

    individuals, and executing on digital content to raise awareness on the rise of anti-AAPI hate.

           19.     On April 22, 2025, at 2:30 pm, Stop AAPI Hate received an email from the Bureau of

    Justice Assistance purporting to terminate Stop AAPI Hate grants because the award “no longer

    effectuates Department priorities.” The termination email went on to state that “the Department has

    changed its priorities with respect to discretionary grant funding to focus on, among other things,

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    more directly supporting certain law enforcement operations, combatting violent crime, protecting

    American children, and supporting American victims of trafficking and sexual assault, and better

    coordinating law enforcement efforts at all levels of government. This award demonstrate that they

    no longer effectuate Department priorities.” No other basis or explanation for the termination was

    provided. The termination email did not claim Stop AAPI Hate failed to comply with the terms or

    conditions of the award and did not otherwise explain why the award, with approximately $1,500,000

    of funding outstanding, no longer effectuated Department priorities. A true and correct copy of the

    termination email is attached as Exhibit 2.

            20.     The termination email advised that Stop AAPI Hate could “appeal this termination in

    writing within 30 business days.”

            21.     The termination email also required Stop AAPI Hate to commence “closeout and

    other obligations in 2 C.F.R. § 200.340(d),” including an obligation that Stop AAPI Hate “promptly

    refund any unobligated funds,” that have been paid out, and retaining grant records for at least three

    years. The letter threatened that failure to meet these closeout obligations could include “appropriate

    enforcement actions,” and “affect eligibility for future grants.”

            22.     The closeout obligations include preparing and submitting the grant reports;

    terminating agreements with vendors, consultants, and partners; and submitting any remaining

    reimbursement requests for project and closeout expenses. Stop AAPI Hate currently has $127,557.29

    in expenses incurred from April 1 to April 22, 2025, but not yet submitted for reimbursement. Stop

    AAPI Hate will also need to submit a performance and financial report to the DOJ by July 30, 2025,

    showing how the withdrawn amounts have been spent towards programs.

            23.     It was Stop AAPI Hate’s understanding that the funds awarded by these grants would

    be available throughout the grant periods and that the DOJ could terminate the grants only if Stop

    AAPI Hate failed to comply with the terms and conditions of the award. It was not Stop AAPI Hate’s

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    understanding that the DOJ could terminate these grants based on that agency’s assertion that the

    award no longer affects agency priorities.

    Reliance on Grant Funding and Termination Impact on Revenue, Operations and

    Employment

            24.      The termination of Stop AAPI Hate’s award created an immediate harm and impact

    to not only Stop AAPI Hate’s ability to maintain business and programmatic operations prescribed by

    the award but also denied funds to be paid to partners and contractors, impacting their ability to have

    the financial resources to sustain their work. As a result of the termination of Stop AAPI Hate’s grant:

                  a. As a result of the termination of Stop AAPI Hate’s award:

                  b. 20% of Stop AAPI Hate’s staff can expect to be laid off within a year;

                  c. Community groups cannot rely on Stop AAPI Hate’s partnership or support in

                     response to large scale incidents of hate and violence (like mass shootings) as they have

                     in the past;

                  d. Plans to establish partnerships with organizations focused on care, healing and mental

                     health support for the AAPI community have been cancelled;

                  e. At least 40 victims of hate will lose the opportunity to participate in Stop AAPI Hate’s

                     healing support programs; and

                  f. Stop AAPI Hate cannot expand or sustain its community care programs for victims

                     of hate crimes, policy and advocacy work promoting safer public transit systems, or

                     renowned data collection and research on anti-AAPI hate and violence that has

                     become a critical platform for victims and resource for policy makers, nationwide.

            25.      Stop AAPI Hate relied and acted upon its expectation and understanding that the DOJ

    would fulfill its commitment to provide $2 million in grant funding through the end of 2027. In

    reliance on that commitment, Stop AAPI Hate invested staff time and resources into major expansions

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    of our data and research work, our community care program which offers culturally responsive healing

    to victims of hate, our policy and advocacy work focused on improving safety on public transit, and

    our strategic communications work which brings national visibility to the issue of anti-AAPI hate.

            26.     DOJ’s termination of this grant has created immense uncertainty for Stop AAPI Hate

    and has required Stop AAPI Hate employees to spend significant amounts of time working on

    responding to that chaos. Suddenly losing what we expected to be our single largest source of revenue

    just six months into the thirty-six-month grant commitment has now left us scrambling to fill the gap.

    Identifying, applying for, and securing additional funding requires months of dedicated effort—at a

    time when the philanthropic sector itself is under strain and demand for support far exceeds available

    resources. The sudden termination of the grant without any notice has given us little time to prepare

    a plan for dealing with steep and substantial shortfalls in revenue for the next two and a half years.

            27.     For 2026 and 2027, we had projected that the federal grant would be the single largest

    source of revenue for Stop AAPI Hate and would account for nearly a third of our revenue. The

    grant cancellation has already forced us to curb the collection and analysis of data on anti-AAPI hate;

    pull back on engagement with policymakers, journalists, and researchers; shrink the size of our healing

    support programs and rapid response support for victims of hate; terminate plans to form partnerships

    with community groups, and cancel an initiative aimed at improving safety on public transit.

            28.     The loss of funds deeply undermines our ability to combat racism and discrimination

    against Asian American and Pacific Islander communities. It jeopardizes essential services—such as

    such as culturally responsive care and healing for victims of hate, community-based documentation

    of incidents, partnerships that build local resilience, and national efforts to ensure AAPI voices are

    seen, heard, and protected.

            29.     The termination will likely force us to lay off up to 20% of our staff within a year.



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            30.     I, along with many other leaders, have spent an enormous number of hours over the

    last few weeks attempting to quantify and mitigate the effects of these grant termination— time that

    could have been spent working to address and prevent hate and discrimination against AAPI

    communities

    Impact on Community Care

            31.     DOJ’s termination of these grants with no notice will seriously undermine Stop AAPI

    Hate’s ability to provide a crucial platform for AAPI to report incidents of hate acts, access vital

    resources, and engage in culturally relevant healing and support. Stop AAPI Hate’s commitment to

    community care is especially vital in times of tragedy and violence. And the grant termination severely

    undermines our ability to provide this type of crisis response to victims of hate and local community

    organizations, who so often have limited capacity during large scale incidents of hate.

            32.     Without federal funding, Stop AAPI Hate will be unable to provide the support that

    is needed by locally based AAPI organizations during large scale incidents of hate.

            33.     For example, working alongside local communities, we have provided support and

    resources to AAPI victims of hate in some of the most tragic attacks on our community, including

    the Atlanta spa shootings which claimed the lives of eight people including six Asian women, and the

    knife attack on an Asian student in Bloomington, Indiana. And in the aftermath of the devastating

    May 6, 2023, mass shooting at an outlet mall in North Texas—an act of far-right extremism that

    claimed the lives of eight people, including a three-year-old boy—Stop AAPI Hate mobilized swiftly

    to provide rapid response support to the local AAPI community. In response, Stop AAPI Hate

    partnered with local AAPI organizations to provide immediate and ongoing support, including

    coordination around a vigil and press conference.

            34.     We also facilitated connections between community leaders and a White House

    representative who joined the local vigil in a show of national solidarity.

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           35.      Lily Trieu, Interim Executive Director of Asian Texans for Justice, expressed deep

    gratitude, stating: “All of your support and coordination was instrumental in allowing our Dallas-based

    organizations and communities to come together for healing and solidarity.”

           36.      Stop AAPI Hate also relied on the DOJ grant to expand our culturally responsive

    healing support programs nationally.

           37.      Stop AAPI Hate believes healing and community care are powerful responses to hate.

    As a national organization, we work alongside local community-based organizations in the face of

    unexpected and traumatic crises (e.g., the hate-driven stabbing of an Asian student at Indiana

    University, and mass shooting in Allen, Texas). Our work, which centers victims of hate, focuses on

    developing culturally responsive approaches to healing, deepening research and understanding of

    approaches to healing across AAPI and other communities of color, and fostering community

    partnerships.

           38.      One participant in our healing group program shared this after completing the six-

    week program and receiving support from Stop AAPI Hate:



           “The benefits of participating in Stop AAPI Hate have been immeasurable. Not only
           has it facilitated my personal growth and development, but it has also had a positive
           impact on my mental health and well-being. I have experienced a noticeable
           improvement in my overall sense of happiness and fulfillment, as well as a reduction
           in feelings of stress and anxiety. One of the most remarkable aspects of Stop AAPI
           Hate is the sense of community and support it fosters. Being part of a group of like-
           minded individuals who are on a similar journey has been incredibly empowering and
           uplifting. The group dynamic creates a supportive and nurturing environment where
           we can openly share our experiences, challenges, and triumphs, knowing that we are
           not alone in our journey. The effectiveness of the facilitators cannot be praised
           enough. Their expertise, guidance, and unwavering support have been instrumental
           in my growth and development. They possess a unique ability to create a safe and
           inclusive space where participants feel heard, valued, and supported every step of the
           way. Their genuine passion for helping others shines through in everything they do,
           making a meaningful difference in the lives of all who participate.”


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            39.     With support from this grant, Stop AAPI Hate planned to expand its healing support

    program—which we have already successfully piloted in California—to Georgia and Texas. We also

    hoped to build community capacity in parts of the country where there are rapidly growing AAPI

    populations, but fewer mental health resources and other social services for our communities. As an

    organization that has documented nearly 12,800 acts of hate against the AAPI community, we

    understand the trauma that so many in our community live with. Unfortunately, because of the

    cultural bias against mental health support and the lack of culturally responsive resources, Asian

    American adults are 50% less likely and Pacific Islander adults are 70% less likely to receive mental

    health services than white adults. For our coalition, developing a successful national model for healing

    intervention that could be culturally responsive is central to our mission.

            40.     The grant termination has forced Stop AAPI Hate to curb our plans for expansion.

    Instead of developing programs in two states, our plans have been reduced to just one state. As a

    result, at least 40 victims of hate will lose the opportunity to participate in our healing support

    programs. We will also be unable to build capacity where mental health and other social services for

    AAPI communities are under resourced.

            41.     Beyond not being able to expand the program widely, Stop AAPI Hate is unable to

    develop a training curriculum that would have allowed us to share this as a model for other AAPI

    community groups. The grant cancellation has also forced us to cancel plans to establish partnerships

    with organizations that focus on healing in the AAPI community and other communities of color.

    These partnerships are critical to Stop AAPI Hate’s strategy of building community capacity to

    respond to acts of hate with effective and culturally responsive strategies for healing. The loss of these

    partnerships not only hurts Stop AAPI Hate but also harms the AAPI community, which lacks

    investment in healing and mental health support.



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             42.       By preventing us from expanding a culturally responsive healing program, this grant

    termination will ultimately hurt victims of AAPI hate the most, who so often struggle with the trauma

    alone.

    Impact on Data and Research

             43.       The grant termination undermines Stop AAPI Hate’s ability to collect information

    about acts of hate, uplift trends and hate act reports in real time, and significantly curbs our ability to

    provide information to researchers, community partners, government agencies, and journalists. The

    termination also undercuts our ability to collect information and produce research about the

    experiences of Pacific Islander communities–a group that is often overlooked when lumped together

    with Asian Americans in research studies. Specifically, the termination undercuts our data and

    research in three ways:

             44.       First, the termination undermines our ability to sustain the Stop AAPI Hate Reporting

    Center, which is currently the largest reporting center in the country on anti-AAPI hate acts. Research

    shows that just one-third of Asian hate crime victims report the incident to the police.3 The result is

    that most AAPI experiences of hate are not accurately reflected in the FBI Hate Crimes Report. As

    a trusted community reporting center, Stop AAPI Hate fills a critical gap—receiving stories of AAPIs

    who experience traumatic hate acts through our reporting center, and bringing visibility to the stories

    of the thousands of Asian Americans and Pacific Islanders who don’t feel comfortable reporting to

    government agencies.

             45.       For example, one parent of a Central Asian, school-aged girl reported the following:

    “My daughter has been a victim of systematic and continuous racist bullying, discrimination, and



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      Brendan Lantz1 & Marin R. Wenger, Are Asian Victims Less Likely to Report Hate Crime Victimization to the Police?
    Implications for Research and Policy in the Wake of the COVID-19 Pandemic, 68 Crime & Delinq. 1292 (2022),
    https://journals.sagepub.com/doi/pdf/10.1177/00111287211041521.

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    harassment between 2023-2024. The school’s principal covered up for the bully … My child …

    became suicidal. The school intentionally withheld information that it was racist bullying.” Another

    Indian woman in Virginia reported that “the neighbor below us has been targeting us in ways that

    have made us feel unsafe … She has verbally harassed us multiple times … She called both the police

    and animal control on us. She is also taking photos of us and our home without our permission. On

    top of that, she’s using her position on the community board to intimidate us. It’s been incredibly

    stressful and scary for us.”

            46.     Stop AAPI Hate has long served as a crucial platform for reporting these incidents.

    But without federal funding, we are no longer able to provide the level of support our community

    members deserve and have come to rely on.

            47.     The grant termination limits staffing capacity to collect, analyze, and amplify acts of

    hate in real time, which is key to protecting public safety. At a time when hate against our community

    remains alarmingly high, the need for real time reporting on trends is critical for fortifying community

    safety. It allows Stop AAPI Hate to provide actionable data to communities that empowers them to

    respond to emerging threats and protect people where they are most vulnerable. But the production

    of real-time monitoring and analysis is labor intensive. This must be done on a near daily basis, and

    each report submitted to the Stop AAPI Hate reporting center requires painstaking analysis including

    coding, review by multiple analysts, and sometimes supplemental interviews. Because of how labor

    intensive the reporting center analysis is, providing real-time monitoring and analysis has been cost

    prohibitive. Stop AAPI Hate had planned to use grant funding to increase staff capacity necessary for

    this work.

            48.     The cancellation also undermines our ability to provide research and analysis that

    researchers, community partners, government agencies, and journalists across the nation who rely on

    us for insights and policy making. In 2024, we worked with 19 researchers, 17 government agencies,

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    and 16 elected officials. But without federal funding, our ability to distribute and disseminate findings,

    to provide briefings, and to offer individualized technical assistance will be seriously undermined.

            49.     Second, the loss of the federal grant undermines Stop AAPI Hate’s annual survey

    efforts. The Stop AAPI Hate annual survey is the most comprehensive annual national survey

    conducted on anti-AAPI hate. It is conducted on a calendar year basis to be able to provide year-to-

    year trends that can be compared with other annual measures. It is a go-to number for policymakers

    trying to understand the extent of anti-AAPI hate.

            50.     We hoped to produce the survey and annual report for three successive years–in 2025,

    2026 and 2027. But now that the grant has been abruptly terminated, our ability to devote staff time

    to collect, analyze, produce, and distribute comprehensive annual surveys and reports in 2026 and

    2027 is undermined.

            51.     The loss of funding specifically affects our ability to conduct comprehensive annual

    surveys, which are meant to include a large battery of questions not just on the experience of hate but

    on the support needed by communities, on barriers to reporting, and on the actions individuals have

    taken in response to hate. For example, through the annual survey, Stop AAPI Hate was able to

    determine that only around one-third of AAPI respondents who experienced hate in 2024 reported it

    to a formal agency or authority. That is a crucial insight for policymakers who are struggling to

    understand the size and scope of the problem, and who are interested in learning how to make

    government agencies more accessible to AAPI communities.

            52.     The grant termination also impedes our ability to disaggregate survey data in a

    meaningful way. This is crucial in the AAPI community which is composed of more than 95 distinct

    ethnic groups with unique cultural experiences and needs. The funding would have allowed us to

    oversample smaller ethnic groups that are often overshadowed by larger ethnic groups. This type of

    oversampling has allowed us to uncover the fact that Pacific Islanders experienced more physical harm

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    than East Asian, South Asian, and Southeast Asian groups. The funding loss undermines our ability

    to conduct oversamples and glean crucial insights that could help to inform policy that addresses the

    unique needs of smaller ethnic groups.

            53.     Third, the termination undercuts our ability to collect information and produce

    research about the experiences of Pacific Islander communities–a group that has is often overlooked

    when lumped together with Asian Americans in research studies

            54.     We had planned to design and execute a large-scale qualitative study of how Pacific

    Islander communities experience hate in partnership with community groups. Through community

    engagement, Stop AAPI Hate has learned that Pacific Islander experiences of hate differ from those

    of Asian Americans and planned to conduct a major study to fully understand these differences.

    Unless we can find other funding, this large-scale study will likely have to be cancelled or significantly

    scaled back.

            55.     In concert with this study, we had planned to provide data to researchers, community

    partners, government agencies and journalists to bring visibility to how hate affects Pacific Islander

    communities. Without this funding, Stop AAPI Hate will not be able to conduct the outreach and

    engagement necessary to bring this data to life for people who study hate, support directly impacted

    people, and formulate policy. This is a disservice to the Pacific Islander community whose experiences

    are so often overlooked.

    Impact on Public Transit Safety

            56.     The termination of the federal grant undermines our ability to create a Public Transit

    Safety Toolkit that would improve safety on public transit. About 12% of the anti-AAPI hate reports

    to Stop AAPI Hate describe a hate act on public transit, and the reports, particularly those from AAPI

    women, describe verbal harassment while waiting for public transit or riding a bus or train. Through



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     Stop AAPI Hate’s nationally representative survey with NORC, the data is more alarming with close

     to 20% of AAPIs reporting experiencing hate on public transit.

             57.     Given the prevalence of hate on public transit, Stop AAPI Hate developed the idea

     for a Public Transit Safety Toolkit to share nationwide, so that individuals can make efforts to increase

     safety on their own local transit systems. This toolkit would include: (1) a first of its kind survey for

     public transit systems to measure street harassment on their systems, created by the Mineta

     Transportation Institute at San Jose State University; (2) model legislation that requires a public transit

     system to measure street harassment at their stations/stops and vehicles, and develop and implement

     a plan to reduce it; and (3) Know Your Rights resources on rider rights, including equal access to

     public transit and available complaint processes. We also developed ideas for distributing the Public

     Transit Safety Toolkit, including partner briefings with AAPI partner organizations and transit

     advocacy organizations across the country.

             58.     Without the grant, Stop AAPI Hate is unable to implement the Public Transit Safety

     Toolkit because we have limited staff capacity to develop and produce the toolkit, conduct community

     outreach, and distribute and promote the toolkit. As a result, we will not be able to provide this useful

     resource to AAPI communities, who we know are experiencing hate as they ride buses or trains to

     work, school, hospitals, and go about their daily lives.

     Impact on Reputation

             59.     Stop AAPI Hate will also sustain reputation harm because of this grant termination,

     which will undermine our ability to attract future funding. Data and research are core to our mission.

     The sudden termination of what was expected to be a three-year grant undermines our ability to

     maintain Stop AAPI Hate as the premier national clearinghouse on hate against our community.

             60.     This hit to Stop AAPI Hate’s reputation threatens to diminish us in the eyes of other

     funders and individual donors who are worried about investing in an organization that has lost a

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     significant portion of its revenue. As a young organization, founded just 5 years ago, this was Stop

     AAPI Hate’s first federal grant. We had counted on the grant to build credibility and secure additional

     support from state and local governments and philanthropic organizations.           Stop AAPI Hate

     anticipated sustaining the work through the three-year grant period, and planned to apply for future

     federal funding, but those Request for Proposal opportunities have now been cancelled.




                                         Signature on following page.




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


      VERA INSTITUTE OF JUSTICE, et al.,
      Plaintiffs, on behalf of themselves and all others
      similarly situated,

      v.

      UNITED STATES DEPARTMENT
      OF JUSTICE,
      PAMELA J. BONDI, in her official capacity as               Case No. ________________________
      United States Attorney General,
      OFFICE OF JUSTICE PROGRAMS,
      MAUREEN A. HENNEBERG, in her official
      capacity as Acting Head of the Office of Justice
      Programs,
      Defendants.




                                    DECLARATION OF DUJUAN KENNEDY

     I, Dujuan Kennedy, declare as follows:

              1.       My name is Dujuan Kennedy. I am a resident of Detroit, Michigan. I am over the age

     of eighteen. This declaration is based upon my personal knowledge and the knowledge I have acquired

     in the course of my duties. If called as a witness, I could and would testify competently to the matters

     set forth below. I provide this declaration in support of Plaintiffs’ motion for preliminary injunction.

              2.       I am the executive director of FORCE Detroit. In this role, I oversee FORCE

     Detroit’s finance and operations, and supervise the organization’s grant writer, program directors, and

     grant manager. I am also accountable for FORCE Detroit’s grant implementation. Before I was the

     Executive Director, I served as FORCE Detroit’s deputy executive director of programs. As a result

     of having that role, I am intimately familiar with grant writing, finance and reporting processes.


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     FORCE Detroit and Its Mission

             3.      FORCE (Faithfully Organizing for Community Empowerment) Detroit is a

     community violence intervention (CVI) organization dedicated to building a safer, freer Detroit.

     Founded in 2015, FORCE Detroit is charged to steward, incubate, and provide financial support to

     grassroots organizations and activists committed to alternatives to community safety that minimize

     criminalization. FORCE Detroit’s five organizational goals include: (1) building a system for peace

     by training and supporting CVI organizations—through grants, professional development, and

     mentoring, we strengthen community violence intervention statewide; (2) hosting events and actions

     that inform and engage the public around CVI strategies and identify solutions to gun violence; (3)

     building public-private partnerships to raise $150 million over 10 years to expand CVI and advocate

     for a Detroit Office of Neighborhood Safety; (4) growing public awareness of and engagement in

     violence interruption through targeted campaigns and events, such as CVI Advocacy Day, Get Out

     the Vote activities, and community listening sessions; and (5) strengthening our infrastructure to

     support growth and position FORCE Detroit as a local and national CVI leader in peacemaking.

             4.      As part of this work, FORCE Detroit’s approach includes three core components:

     direct services to people impacted by violence; advocacy and public education, and training and

     technical assistance for emerging CVI leaders.

             5.      FORCE Detroit has been an active participant in the development of this lawsuit and

     has remained in regular communication with Plaintiffs’ counsel about this case. FORCE Detroit is

     willing and able to take an active role in this litigation and to protect the interests of all members of

     the Class.

     The Awarded Grants and the Termination of Grant Funding Without Notice

             6.      On September 26, 2024, FORCE Detroit received its first federal grant award of

     $1,999,998 million from the Bureau of Justice Administration FY24 Office of Justice Programs


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     Community Based Violence Intervention and Prevention Initiative Site-Based for the performance

     period of October 1, 2024 through September 30, 2027 (Award Number: 15PBJA-24-GG-03109-

     CVIP)(FORCE Detroit Award 1), attached here as Exhibit 1.

            7.      FORCE Detroit proposed to implement the “Keepers CVI” program. The purpose

     of the program was to expand and enhance evidence-based and innovative practices that reduce and

     prevent gun violence in Detroit’s Warrendale-Cody Rouge neighborhood, with youth and young

     adults (aged 14-24) living in the catchment area (a zone targeted for CVI efforts to combat high rates

     of gun violence and other forms of violence) as the project’s intended beneficiaries. The key areas for

     activities outlined in the grant proposal included delivering culturally competent wraparound services

     designed to help individuals and families overcome challenges, creating safe spaces for programming

     and transitional housing, offering workforce development and entrepreneurial training, meeting the

     needs of girls and women, and diversifying outreach tactics to serve high-risk individuals.

            8.      FORCE Detroit designed the “Keepers CVI” program to, among other things reduce

     fatal and non-fatal shootings, enhance opportunities for violence-impacted people to secure

     employment or start small businesses, increase access to culturally appropriate social services, and

     improve organizational capacity to deliver impactful, evidence-based programs.

            9.      On April 22, 2025, at 5:30 PM, FORCE Detroit received an email from the Office of

     Justice Programs purporting to immediately terminate FORCE Detroit’s grant because the award “no

     longer effectuate[s] agency priorities.” The termination email went on to state that “the Department

     has changed its priorities with respect to discretionary grant funding to focus on, among other things,

     more directly supporting certain law enforcement operations, combatting violent crime, protecting

     American children, and supporting American victims of trafficking and sexual assault, and better

     coordinating law enforcement efforts at all levels of government. This award demonstrates that it no

     longer effectuate Department priorities.” No other basis or explanation for the termination was


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     provided. The termination email did not claim FORCE Detroit failed to comply with the terms or

     conditions of the awards and did not otherwise explain why the awards no longer effectuated

     Department priorities. The award totaled approximately $2 million dollars, with $1,945,998 of funding

     outstanding. A true and correct copy of the termination email is attached as Exhibit 2.

             10.     The termination email advised that FORCE Detroit could “appeal this termination in

     writing within 30 calendar days.”

             11.     The termination email also required FORCE Detroit to commence “closeout and

     other obligations in 2 C.F.R. § 200.340(d),” including an obligation that FORCE Detroit “promptly

     refund any unobligated funds,” that have been paid out, and retaining grant records for at least three

     years. The letter threatened that failure to meet these closeout obligations could include “appropriate

     enforcement actions,” and “affect eligibility for future grants.” FORCE Detroit has $4,845 in unpaid

     reimbursements through the termination date.

             12.     The closeout obligations include an estimated $15,000 to $25,000 in costs for

     administrative expenses for the audit and financial reporting required under the closeout obligation.

     We also must raise unrestricted funds and reallocate other existing unrestricted dollars to cover some

     expenses related to the grant. Unrestricted funds are the most difficult to raise because funders prefer

     supporting specific projects.

             13.     It was FORCE Detroit’s understanding that the funds awarded through its grant

     would be available throughout the grant period and that DOJ could terminate the grant only if

     FORCE Detroit failed to comply with the terms and conditions of the award. It was not FORCE

     Detroit’s understanding that DOJ could terminate the grant just because the agency said that the award

     no longer effectuates agency priorities.

     Reliance, Employee Lay Offs, and Impact on Operations




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             14.      The termination of FORCE Detroit’s awards created an immediate harm and impact

     to not only FORCE Detroit’s ability to maintain business and programmatic operations prescribed by

     the award, but it also denied funds to be paid to partners and contractors, impacting their ability to to

     sustain their organizations and businesses. As a result of the termination of FORCE Detroit’s award:

                   a. three frontline FORCE Detroit employees, with significant expertise, meaningful ties

                      to the community, and trusted relationships with high-risk program participants, were

                      laid off;

                   b. contractors, partners and even young people can no longer rely on FORCE Detroit’s

                      for funding, support or services, hurting the organization’s reputation, trust, and

                      relationships in the community;

                   c. community events and trauma support activities have been cancelled;

                   d. program participants cannot access wraparound services from FORCE Detroit’s care

                      management and mentorship teams; and

                   e. FORCE Detroit’s ability to sustain long-term programming, retain staff, and expand

                      on the organization’s critical and lifesaving violence intervention work has been

                      eliminated.

             15.      FORCE Detroit relied and acted upon its expectation and understanding that DOJ

     would fulfill its commitment to provide grant funding. FORCE Detroit’s mission centers on building

     community-driven responses to violence that prioritize healing, prevention, and structural change.

     The loss of this federal investment undercuts our ability to fulfill that mission, at scale. It eliminates

     the resources needed to maintain a consistent presence in communities most impacted by violence

     and weakens the infrastructure we built to interrupt cycles of harm, with no viable replacement in

     sight. Without these funds, we cannot sustain long-term programming, attract and retain qualified

     staff, or expand life-saving interventions that our communities urgently need.


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             16.     The harm caused by the termination of FORCE Detroit’s grant funding is not

     theoretical: it is real. We have seen immediate breakdowns in a care ecosystem we built with intention.

             17.     For example, the grant funded the very backbone of our violence intervention (VI)

     work, which included daily, in-the-field support for individuals most at risk of gun violence. Our VI

     staff do more than de-escalate conflicts. They guide people through job interviews. They show up at

     funerals. They help people process trauma that others have ignored.

             18.     At least nine FORCE Detroit positions were fully or partially paid using grant funding.

     When the grant was suddenly terminated, we were forced to strategically lay off three of those

     employees. The laid off employees were each Violence Interrupters. These positions were more than

     just job descriptions—they were part of a carefully planned service delivery model. Losing those roles

     meant losing critical functions like intake coordination, trauma support, and community-based data

     collection. And the laid off employees had deep community ties, were trauma-informed, and had built

     trust with high-risk participants.

             19.     Dismissing these employees so suddenly created a logistical, ethical, and emotional

     burden that derailed our staff’s focus from violence interruption work. As a result of the terminations

     and layoffs, we have seen staff burnout escalate as their caseloads increased and support decreased,

     and field-based programming interrupted (e.g., outreach follow-ups dropped, safe space meetups

     canceled).

     Reputational Harm and Impact on Community Contractors

             20.     In addition to seriously harming FORCE Detroit’s organizational stability and staff

     morale, we have suffered reputational harm as a result of the grant termination. We have lost

     creditability with partners and community members who relied on us to follow through on

     commitments funded through the grant.




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             21.     Over the grant term, FORCE Detroit budgeted $149,660 for contractors.                   A

     significant amount of the budget funding would go to entrepreneurs who anticipated having three-

     year assignments.     We identified several contractors with the skills and credibility to provide

     participants with quality program experiences that align with our goals and objectives. These

     independent business owners counted on the income they would receive from working with us. It

     became part of their annual earnings forecast, which means they may have turned down other projects

     based on their commitments to FORCE Detroit.

             22.     The sudden and abrupt termination of our grant forced staff to call our contracted

     partners—local coaches, mentors, licensed therapists, and trainers—to tell them that the income they

     had been counting on would not materialize. These calls eroded the multi-year relationships FORCE

     Detroit had in the works with these contractors. For example, a member of our staff had to inform

     a licensed trauma counselor who cleared space in their practice specifically for our participants that

     FORCE Detroit’s funding had been terminated. Now that counselor faces a financial shortfall and a

     waiting list of participants they are unable help.

     Impact on Community

             23.     The sudden termination of the grant forced FORCE Detroit to halt key components

     of our violence intervention strategy midstream. We were unable to fulfill hiring plans and contracts,

     had to scale back programming, and paused active interventions that directly support individuals at

     risk of gun violence. We have had to pivot to alternative funding options to ensure we did not have

     to lay off any additional staff essential to maintaining community trust and continuity of care, including

     trained outreach workers and program coordinators. We have had to cancel community events and

     trauma support activities that were part of our violence reduction strategy. Additionally, program

     participants receiving intensive wraparound services from our care management and mentorship

     teams now lack support.


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            24.     The communities we serve are already disproportionately impacted by violence,

     systemic disinvestment, and trauma. The most damaging impact of this termination is that it abruptly

     removed trusted support systems for individuals at the highest risk of involvement in violence. Our

     VI team had actively engaged these young people in healing trauma or transitional efforts. Many had

     begun to rely on us for safety planning, relocation assistance, employment support, or therapy

     referrals. The loss of service continuity threatens to undo that progress, destabilize individuals and

     families, and erode trust in community-based approaches. Worse, it communicates to our participants

     that their lives and communities are not a sustained priority for our government.

            25.     For example, Ruth, a devoted mother of five, endured a life-changing ordeal when

     violence erupted outside her home. In June 2023, gunfire from an unidentified vehicle left her and a

     neighbor injured, and subsequent threats forced her into homelessness. Despite holding a Section 8

     voucher and a steady job, housing instability continued to haunt her. Ruth was referred to FORCE

     Detroit’s Keeper program in October 2023 and began the challenging journey to rebuild her life. She

     actively participated in therapy sessions and worked with the Keepers team to find stable housing.

     Ruth’s unwavering faith and the support of the Keepers have given her hope, reminding us that

     recovery is possible with the right resources and community support. But without grant funding,

     FORCE Detroit will be unable to support or expand the Keeper’s program to continue to help

     community members like Ruth.

            26.     Another example of FORCE Detroit’s impact—and the harm that results from the

     termination of its grant award—is Carol’s story. Carol, a single mother and dedicated nurse, faced

     unimaginable trauma when an act of kindness turned into a nightmare. After offering temporary

     shelter to a friend, Carol and her children became targets of escalating violence, culminating in the

     tragic shooting of her stepdaughter. Forced to flee their home, the family relied on FORCE Detroit

     for emergency housing and relocation support. Despite ongoing threats and setbacks, including acts


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     of arson and harassment, Carol secured a new home in January 2024. With move-in expenses covered

     by FORCE Detroit and access to therapy services, her family began to heal. FORCE Detroit cannot

     sustain or continue providing critical assistance to victims of violence in Detroit, as it did for Carol,

     as a result of the award termination.




                                             Signature on following page.




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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTR31ICT OF COLUMBIA



      VERA INSTITUTE OF JUSTICE, et al.,
      Plaintiffs, on behalf of themselves and all others
      similarly situated,

      v.

      UNITED STATES DEPARTMENT
      OF JUSTICE,
      PAMELA J. BONDI, in her official capacity as               Case No. ________________________
      United States Attorney General,
      OFFICE OF JUSTICE PROGRAMS,
      MAUREEN A. HENNEBERG, in her official
      capacity as Acting Head of the Office of Justice
      Programs,
      Defendants.



                                       DECLARATION OF STEVEN RIDINI

     I, Steven Ridini, declare as follows:

              1.       My name is Steven Ridini. I am a resident of Suffolk County in the State of

     Massachusetts. I am over the age of eighteen. This declaration is based upon my personal knowledge

     and the knowledge I have acquired in the course of my duties. If called as a witness, I could and

     would testify competently to the matters set forth below. I provide this declaration in support of

     Plaintiffs’ motion for preliminary injunction.

              2.       I am the President and CEO of Health Resources in Action (HRiA). In this role, I

     lead the organization and partner with the HRiA Board and staff to develop a vision and strategic

     direction rooted in addressing critical public health issues through a health and racial equity

     framework. This includes building strategic partnerships with key individuals and organizations to


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     advance HRiA’s mission and maximize our community impact. I started as President and CEO on

     March 1, 2016, and have served in the position for nine years.

            3.      In my role as CEO, I oversee and hold programmatic and fiduciary responsibility

     across the programs affected by the grant terminations. I work with the appropriate staff to ensure

     that all programmatic deliverables are effectively met, fiscal management is sound, and the

     organization is in compliance with the terms as outlined in the grant awards.

            4.      In addition to my role as CEO, I serve as a Board member or contributing member to

     numerous public health organizations, such as, the American Public Health Association, the

     Massachusetts Public Health Alliance (past Board Chair), and the National Network of Public Health

     Institutes (Board member). Prior to my current position, I served as Vice President of Programs at

     HRiA for 18 years, overseeing community health initiatives. Prior to HRiA, I worked for local,

     national, and international non-profits focused on alcohol, tobacco, and other drug prevention efforts.

     I am also a former faculty member of Harvard University’s Graduate School of Education.

     Health Resources in Action’s Mission and Impacted Programs

            5.      Health Resources in Action is a national public health organization with a vision of

     healthy people thriving in equitable and just communities. Founded in 1957 with over 300 staff across

     the country, HRiA partners with individuals, organizations, and communities to transform the

     practices, policies, and systems that improve health and advance racial equity. For decades, HRiA has

     worked in communities across the country to plan and launch community violence intervention (CVI)

     strategies that cultivate and strengthen a comprehensive and collaborative CVI ecosystem. This

     includes identifying and engaging people at the highest risk of violence, employing CVI workers who

     hold deep knowledge, credibility, and trust within communities, expanding professional and

     educational opportunities for CVI workers and the organizations they work within, developing

     relationships with law enforcement and community, building partnerships between CVI organizations


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     and cross-sector partners, and establishing and strengthening hospital-based violence intervention

     programs. Approaching violence as a public health issue, HRiA staff help communities understand

     that violence spreads like disease, violence is preventable, and community members have critical

     solutions to offer. HRiA partners with institutions and organizations to strengthen the community

     violence intervention ecosystem.

             6.      As part of this work, Health Resources in Action oversees three Department of Justice

     (DOJ) initiatives directly impacted by the grant terminations: Building Trauma Informed Practices and

     Workforce Development for the CVI Field (Award No. 15PBJA-24-GK-04067-CVIP) (HRiA Award

     1), attached here as Exhibit 1; Advancing Hospital-based Victim Services (AHVS) (Award No.

     15POVC-22-GK-00557-NONF) (HRiA Award 2), attached here as Exhibit 3; and Boosting

     Organizational Capacity for Community Violence Intervention (BoostCVI) (Award No. 15PBJA-23-

     GK-05187-CVIP) (HRiA Award 3), attached here as Exhibit 5. HRiA also receives two sub-grants

     on two partnered DOJ-funded awards that have also been impacted by terminations.

             7.      HRiA has been an active participant in the development of this lawsuit and has

     remained in regular communication with Plaintiffs' counsel about this case. HRiA is willing and able

     to take an active role in this litigation and to protect the interests of all members of the Class.

     HRiA’s Grant Process, in General

             8.      HRiA was founded in 1957 as a biomedical grantmaking institution and expanded our

     work to focus on community health grantmaking. HRiA’s grantmaking approach directs funds where

     they are most needed, recognizing that organizations most impactful in reducing community violence

     often may not have resources or experience in applying for or securing grant opportunities.

             9.      HRiA’s BoostCVI Grant Program under HRiA Award 3 is an example of HRiA’s

     grantmaking approach that opens opportunities for a broad array of potential applicants. The program

     aimed to build and strengthen the community violence intervention (CVI) ecosystem by breaking


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     down barriers for small, community-based organizations (CBOs) doing CVI work, allowing those

     groups to access funding. Such CBOs who possess deep roots in the community and make a powerful

     impact can lack the infrastructure or support to take in large federal or statewide grants. Via key

     informant interviews with CVI CBO leaders, we identified that there was an urgent need for funding

     directed toward organizational development and capacity building. Therefore, BoostCVI’s goals were

     to: 1) Support organizations building or strengthening their ability to offer the full spectrum of services

     of violence prevention and intervention, and 2) Build organizational capacity, deepen and expand

     reach, and support infrastructure that strengthens organizational operations and broader field

     sustainability.

             10.       The BoostCVI grant program process aligns with a typical grantmaking process for

     HRiA. HRiA conducted a non-binding Letter of Intent (LOI) process prior to releasing a Request

     for Proposals (RFP). The LOI served as an opportunity for organizations to submit a brief overview

     of their proposed project. The purpose of the LOI was to solicit interest, assess the desire for pre-

     application supports via listening sessions, office hours, workshops on concepts, tutorials on SAM

     sign-ups, etc., and ensure that outreach in the target communities reached organizations that needed

     capacity building. The LOI itself was designed to be a low barrier to ensure organizations would not

     need to hire a grant writer, and HRiA provided LOI development support throughout. Once LOIs

     were submitted, HRiA’s project team reached out to each organization to provide personalized

     feedback on eligibility, with guidance on how to strengthen their application for the next round. The

     LOI served as an opportunity for organizations to strengthen their proposed ideas and see if their

     program was a fit without needing to go through the entire RFP submission process. Following the

     LOI, HRiA released an RFP, accompanied with active outreach to CVI organizations, a bidder’s

     conference, finance-specific webinars with a financial consultant to support organizations to prepare

     their organizational infrastructure for federal grants and budgeting, and office hours to support


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     applicants through every stage of the RFP process. Ultimately, 33 organizations submitted full grant

     proposals, with five organizations each being awarded a $250,000 grant over the course of 24 months.

     Termination of HRiA’s Grant Funding Without Notice

             11.     On the evening of April 22, 2025, HRiA received emails from the Office of Justice

     Programs purporting to immediately terminate HRiA’s three grants because the awards “no longer

     effectuate the program goals or agency priorities 2 C.F.R. § 200.340(a)(4).” The termination email

     went on to state that: “The Department has changed its priorities with respect to discretionary grant

     funding to focus on, among other things, more directly supporting certain law enforcement

     operations, combatting violent crime, protecting American children, and supporting American victims

     of trafficking and sexual assault, and better coordinating law enforcement efforts at all levels of

     government. This award demonstrates that it no longer effectuates Department priorities.” No other

     basis or explanation for the terminations were provided. The termination email did not claim HRiA

     failed to comply with the terms or conditions of the awards and did not otherwise explain why the

     awards no longer effectuated Department priorities. True and correct copies of each termination email

     are attached as Exhibit 2, 4, and 6.

             12.     The terminated direct awards with DOJ totaled $8,550,000, with $1,694,397 drawn

     down to date, and $93,870 due to HRiA at the time of termination. $6,761,733 remains in the

     terminated contracts.

             13.     The termination emails advised that HRiA could “appeal this termination in writing

     within 30 calendar days of the date of this notice.”

             14.     The termination email also required HRiA to commence “closeout and other

     obligations in 2 C.F.R. § 200.340(d),” including an obligation that HRiA “promptly refund any

     unobligated funds,” that have been paid out but “are not authorized to be retained,” and retaining

     grant records for at least three years after the submission of a final financial report. The letter


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     threatened that failure to meet these closeout obligations could include “appropriate enforcement

     actions,” and “affect eligibility for future grants.”

              15.    The closeout obligations include preparing and submitting the grant reports;

     terminating agreements with vendors, consultants, and partners; and submitting remaining

     reimbursement requests for project and closeout expenses.

              16.    It was HRiA’s understanding that the funds awarded by these grants would be available

     throughout the grant periods and that DOJ could terminate the grants only if HRiA failed to comply

     with the terms and conditions of the awards. It was not HRiA’s understanding that DOJ could

     terminate these grants based on that agency’s blithe assertion that the awards no longer affect agency

     priorities.

              17.    Until January 2025, HRiA has never had a federal award terminated before; there is no

     precedent for this in our history. HRiA has managed $92 million in federal award expenditures over

     the past 10 years. Throughout HRiA’s history, the organization has received direct federal awards

     from 10 programs of 3 federal agencies and has served as a pass-through recipient of dozens of other

     federal programs.

     Harms Across HRiA and the CVI Ecosystem

              18.    The termination of HRiA’s awards created an immediate harm and impact to not only

     HRiA’s ability to maintain business and programmatic operations prescribed by the awards, but it also

     denied funds to be paid to subrecipients, impacting their ability to have the financial resources to

     sustain their organizations. As a result of the termination of HRiA’s awards:

                     a. critical, lifesaving technical assistance is unavailable for 23 hospital-based violence

                          intervention programs, which may ultimately result in the loss of life for violently

                          injured people looking for help from the programs;




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                    b. numerous hospitals are without training and technical assistance for their violence

                        prevention professionals, who provide invaluable support and mitigate retaliation

                        for victims of community violence;

                    c. Subaward recipients—who serve youth and young adults, are often the sole source

                        of CVI work in their communities, and relied on this funding to expand their

                        operations—have halted their programs, terminated employees, lost the trust of

                        their community and partners, and been deprived of the training and resources

                        needed to support their organizations

                    d. CVI outreach workers, violence interrupters, case managers, and hospital-based

                        violence intervention program professionals, and frontline workers at CBOs and

                        programs who were awarded subgrants through HRiA face layoffs, diminished

                        hours, reassignment, and termination, without meaningful alternatives for

                        employment;

                    e. at least 250 government, health care and philanthropy leaders, and frontline

                        workers could lose the opportunity to attend a HRiA-hosted annual conference

                        and learn best practices to respond to community violence; and

                    f. 31 members of HRiA staff, who support this work and are funded through the

                        grants, could lose their jobs.

            19.     Organizationally, HRiA relied and acted upon its expectation and understanding that

     DOJ would fulfill its commitment to provide grant funding. HRiA relied on this by hiring new staff

     and assigning existing staff to design and implement effective programming aligned with these awards,

     building partnerships and executing sub-contracts with community-based organizations and

     consultants to carry out the work, engaging trusted messengers and organizations to publicize widely

     the community investment opportunities afforded by this funding, and building HRiA’s internal


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     infrastructure to manage large federal grants and support CBOs to do the same. The Department of

     Justice’s termination of these grants with no notice will force HRiA to make cuts in its budget to offset

     the loss of funding, which includes cutting the budgets of programs tasked with carrying out the grant

     awards, cutting subawards that assist HRiA in carrying out the mission of this work, and cutting

     funding for other programs and staff.

             20.     Beyond the direct financial losses, DOJ’s termination of these grants creates immense

     uncertainty for HRiA organizationally and has required HRiA employees directly working on these

     initiatives, as well as HRiA’s executive leadership and administration and finance staff, to spend

     significant amounts of time working on responding to that disruption. My team and I have spent

     substantial time attempting to quantify and mitigate the effects of these grant terminations— time that

     could have been spent working to address improving the public’s health and wellbeing and reducing

     community violence. This is very difficult to do without the terminated resources; yet, not doing so

     can have damaging impacts on HRiA’s reputation and credibility, since as a funder and capacity builder

     for small, grassroots community-based organizations, trust can easily be broken when HRiA fails to

     deliver on financial or capacity building commitments.

             21.     The termination of all three direct awards creates uncertainty for the 31 members of

     HRiA’s staff working directly on these initiatives. All three awards covered 100% of three HRiA staff

     person’s salaries, and varying percentages from 5% to 50% of the other 28 HRiA employees. This

     has created extreme stress among staff about the possibility of losing their jobs in a specialized,

     underfunded CVI field that already has lost $811 million in federal funding and has seen a reduction

     in the workforce given the abrupt federal award terminations.

             22.     Beyond the organizational instability that these terminations have precipitated, the

     termination of all awards exacerbates financial insecurity for our CVI community partners and

     frontline workers (including CVI outreach workers, violence interrupters, case managers, hospital-


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     based violence intervention program, Violence Prevention Professionals (VPPs), and other individuals

     providing essential services). CVI programs are not only a means of contributing to public safety; they

     are a vital source of economic stability. Grant awards were designed to provide direct financial

     compensation to frontline workers, many of whom work for low wages and without benefits or life

     insurance. For CBOs and programs who no longer have access to grants or funding through our

     initiatives, staff are facing layoffs, diminished hours, reassignment, and terminations.            This

     disproportionately impacts a workforce that typically has few alternative pathways to employment.

     Many staff are forced to find ways to continue their commitment to CVI work without financial

     support or stability, often needing to work other jobs to make ends meet. CVI workers are already at

     high risk for burnout given the inherent risks of this work, difficulty recruiting new generations of

     frontline workers, and the high turnover rates in the field; these terminations undermine the stability

     of this critical and essential workforce. Frontline workers prevent violence and save lives every day.

             23.     The termination of the grant funding also endangers critical workforce development

     and educational opportunities to build capacity for the CVI field. HRiA is a national training and

     technical assistance provider and a cross-sector convener, but the field has lost access to our services,

     including HRiA’s annual field-wide conferences, both nationally and locally.

             24.     For example, HRiA’s field-wide conference brings together a national group of

     approximately 1,000 frontline workers and leaders from government, health care, philanthropy, and

     CVI to share innovative and best practices, lessons from the field, research, and community

     partnerships. Funding from our terminated Awards 1 and 2 provided funding for 250 participants to

     travel to the national 3-day conference; yet, termination of the funding imperils this opportunity for

     their individual professional development, as well as for broader resource sharing across the field that

     streamlines responses to violence. At this time, it is unclear whether we can feasibly hold the

     conference, and if we do, we anticipate low turnout with the funding uncertainty. Because of this


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     termination, participants may ultimately be deprived of the opportunity to share innovative and best

     practices, lessons from the field, research, and community partnerships, making communities across

     the country less safe.

             25.     As another example, HRiA provides best practice guidance to hospital-based violence

     intervention programs (HVIP) and community partners in the CVI ecosystem. Yet, the terminations

     forced us to cease work with 23 HVIPs across the US in cities with high rates of violence. This

     disruption of capacity building assistance, coupled with sites that lost their own DOJ funding, means

     that there are fewer programs with adequate resources to meet the needs of people violently injured

     who present to hospitals and CBOs for critical, life-saving assistance. This means that, in 23 hospitals

     across the country, individuals who directly benefitted from these intervention programs in the

     hospital are no longer going to have life-saving assistance, and in some cases, members in the

     community will lose their lives because of the disruption of services.

             26.     The economic insecurity and loss of professional development and field building

     opportunities for frontline workers and CVI CBOs not only has economic and CVI workforce

     retention impacts; this disinvestment and loss of frontline staff and community-based CVI

     infrastructure destabilizes the communities these programs were designed to support and undermines

     public safety. Prematurely ending our CVI work and funding to our partners has dire and dangerous

     consequences.

             27.     The five direct-service programs funded through the Award 3 (BoostCVI) grant served

     individuals at highest risk or proven risk of involvement in violence. At the individual level, people

     who were in the contemplation stages of change and are at the most risk for gun violence are left

     unsupported and susceptible to the environment they are in; people who were mid-transformation

     can lose momentum or backslide; and, people who were connecting with frontline workers may be

     more difficult to reach with gaps in services and supports. At the neighborhood level, with the halt


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     in work due to terminations, CVI communities are harmed by the lack of immediate intervention with

     active conflicts and retaliations, as well as the lack of response to flare ups in violence. Additionally,

     because building credibility and trust is so critical for effective CVI work, the lapse in contact with

     known CVI workers and organizations can breach this trust, causing momentum built over these last

     years of work to halt or regress.

     Award 1: BJA FY24 OJP Community Based Violence Intervention and Prevention Initiative

     Training and Technical Assistance Program

                28. HRiA received $2,500,000 in grant funding for the Building Trauma Informed

     Practices and Workforce Development for the CVI Field project, starting October 1, 2024, through

     September 30, 2026. HRiA received this grant to expand professional and educational opportunities

     for CVI workers and transform their work environments – just as CVI workers do for violently injured

     individuals and the communities that they support.

                29. The project aimed to engage trusted workers in CVI as partners and subject matter

     experts (SME) in the creation of competencies and resources for developing the workforce, addressing

     vicarious trauma, and instituting organizational practices that promote collective care and wellness.

     Strategies included: tailored technical assistance to individual CVI Prevention Initiative (CVIPI) -

     funded and other interested sites; cohort-based, peer-to-peer learning on topics related to equitable

     staff development, vicarious trauma, and trauma-informed practices; trainings, conferences, and

     convenings; development and dissemination of training materials and knowledge products; and

     continuous evaluation, self-assessment, and quality improvement.

                30. The termination of Award 1 also halts capacity building work. Staff funded through

     this grant were engaged in a needs assessment and outreach to CVI organizations nationally; however,

     the terminations forced us to abruptly cease all communications with stakeholders. Also, in March

     2025, the program hosted a forum in Milwaukee to address the mental health consequences of


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     violence and trauma. Frontline workers served as subject matter experts along with HRiA staff. The

     team worked with a professional videography company to create an educational video as part of a

     national toolkit for the field. With the termination of funding, the program cannot complete this

     project. The time and resources invested were wasted. The harm ripples to others: Frontline workers

     will not receive the benefits of the grant program in terms of workforce development opportunities,

     learning, and compensation for their subject matter expertise. Half of the grant was allocated toward

     direct compensation for frontline workers as subject matter experts and collaborators on the project.

     Terminating the scope of work with the videography company means that they lost the work and

     income that they were expecting from HRiA.

     Award 2: OVC FY24 Advancing Hospital-based Victim Services Technical Assistance Project

             31.     HRiA received a $2,050,000 grant, beginning October 1, 2024, through September 30,

     2026, to provide tailored and comprehensive technical assistance (TA) and training to grantee sites

     that advance hospital-based victim services. Hospitals rely on Violence Prevention Professionals

     (VPPs) and HVIPs to manage safety onsite at the hospitals. VPPs serve as trusted individuals in

     hospitals who, respond to victims of violence, and reduce and mitigate the risks of retailiation and

     further violence. VPPs also address the needs of loved ones of the injured person, and coordinate

     with law enforcement.

             32.     The TA provider would facilitate peer learning communities across the sites and

     provide training to VPPs to increase their skills and capacity to respond to the complex needs of

     victims, and to supervisors of VPPs to promote the professional development and advancement of

     frontline staff. Hospital-based victims services would also receive expert consultation to develop

     sustainability plans.   The aim of this initiative ultimately included: generating model policies,

     recommendations, and guidance documents; disseminating information about best practices; and




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     fostering cross-sector collaboration and sharing innovative learning from this project to bolster and

     expand the field of victim services.

             33.     This specialized partnership with hospital providers is an invaluable and irreplaceable

     resource that allows the medical staff to care for their patients while the HVIP staff manage the

     aftermath and safety risks. The project’s technical assistance helps HVIPs understand their role in

     building bridges with community partners and systems including public health, law enforcement, basic

     needs services, and other community resources that help victims on their healing journey. The TA

     project aimed to enhance services to victims by strengthening the infrastructure and quality of

     hospital-based programs.

             34.     The termination of Award 2 halts this program’s important work, which in turn,

     reduces the effectiveness of VPPs and HVIP staff to intervene and reduce violence in hospitals. As a

     result of the termination of the grant, hospitals will have diminished capacity to address the

     comprehensive needs of victims of crime, thereby leading to less coordinated, more fragmented victim

     services and increased risks at hospital emergency departments. As of April 22, 2025, programs were

     in the process of completing needs assessments and developing individualized technical assistance

     plans. In addition, the AHVS grant provided support to programs to standardize their operations to

     the Standards and Indicators for HVIPs framework and align to HVIP model fidelity. The

     sustainability of these programs is uncertain.

             35.     The termination of Award 2 also diminishes staff development for violence prevention

     professionals in HVIPs. The project’s technical assistance elevates and professionalizes the role of

     the VPP in their hospitals by building their confidence and skills to engage with multidisciplinary

     teams to promote coordination that wraps services around victims seeking care. The programs lose

     an irreplaceable pipeline to promote and amplify the role and leadership of VPPs. This impacts their

     ability to respond to victims of violent crimes when they present to hospital and community settings.


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     Award 3: MA Community Violence Intervention Capacity Building Initiative (BoostCVI)

             36.     HRiA received this $4,000,000 award to build capacity among organizations in the

     Massachusetts CVI ecosystem. The grant was intended to support CBOs engaged in CVI work; small,

     grassroots organizations were strongly encouraged to apply. Often, grassroots CVI organizations led

     by leaders with the closest ties to community do effective work interrupting and preventing violence

     on the ground; yet these same organizations often lack the financial, administrative, and organizational

     capacity to apply for large federal grants.

             37.     Five sub-recipient organizations were selected for this award through a competitive

     RFP process and were awarded $250,000 over the course of 24 months to address capacity needs.

     Organizations were awarded funds to achieve specific capacity building goals with support from

     HRiA, examples of which include standing up a new CVI program in an underserved area of the

     state, expanding existing CVI work to a nearby community in need, and developing organizational

     infrastructure to serve new populations. HRiA also planned extensive training and technical assistance

     for a cohort of organizations, including financial capacity building, developing organizational

     leadership, and training in intervention and outreach best practices.

             38.     In addition to capacity building around each sub-recipient's specific objectives, the

     program aimed to develop each organization’s capacity to apply for state and federal grants and thus

     strengthen the sustainability of the CVI ecosystem in Massachusetts.

             39.     HRiA relied on funding from this award to fund two new roles, created in 2024, and

     to hire two new staff to work full-time on this project.

             40.     HRiA was also in the process of completing capacity assessments for each of the

     BoostCVI sub-recipients and implementing technical assistance plans to meet their needs. In addition

     to individualized technical assistance, HRiA had five cohort-specific trainings scheduled between late

     April and early July covering supervision, financial planning, organizational culture and CVI best


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     practices, and development and diversifying funding streams. HRiA secured internal and external

     consultants to lead each of these trainings. In addition to sub-recipients not receiving the training

     they were promised, the abrupt cancellation of these trainings due to the withdrawal of funding means

     that these consultants also lost income and wasted time preparing to lead these trainings.

            41.     In addition to capacity building efforts, as part of this award, HRiA was in the process

     of developing a web-based resource compendium, highlighting local and national CVI resources,

     implementation guides, and research. This website was intended to serve as a resource for both

     BoostCVI sub-recipients and the field at-large. The website was close to launch when the award was

     terminated, with many hours of work by the web and program team already completed.

     Harms to Sub-Recipients at the Community Level

            42.     The termination of BoostCVI (Award #3) has completely deprived certain

     Massachusetts communities of any CVI resources or CVI focused organizations. Because termination

     interrupted HRiA’s capacity and infrastructure building, many of the subrecipients were forced to

     reduce or completely halt their community-based violence intervention and prevention work. The

     result has, and will continue to have, a devastating impact on the communities who relied on these

     organizations, particularly the youth and young adults that four out of the five subrecipients served.

     Several frontline workers funded through the grant have already been laid off. Halting programs and

     services damage the reputation of HRiA and the subrecipients and erodes years of trust built between

     these organizations and their communities.

     BoostCVI Sub-Recipient 1: Reducing Gun Violence through Direct Intervention Strategies

            43.     Through the BoostCVI award, HRiA awarded $250,000, beginning October 1, 2024

     to September 30, 2026, to a CBO serving a violence-impacted population primarily consisting of

     Latino/a/x individuals aged 14-35 in a Massachusetts city where many residents face socioeconomic

     challenges (e.g., limited access to education, healthcare, and stable employment) and reside in


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     neighborhoods where community resources are insufficient. The organization collaborates with a

     coalition of community organizations to assist at-risk individuals in navigating the maze of available

     resources and participate in juvenile justice reform efforts to ensure appropriate placement for youth

     based on their needs. Though this community faces a higher rate of gun violence than Massachusetts

     as a whole, they do not yet have a community violence intervention and prevention outreach program.

            44.     The BoostCVI award aimed to stand up a CVI program run by this organization within

     the city to deepen engagement with proven-risk priority populations and reduce gun violence through

     direct intervention strategies. To achieve the goals of this award, this organization hired a program

     manager tasked with starting their new violence intervention program. The organization made a

     promise to the community to start developing CVI programming and outreach efforts and hired this

     program manager based on his extensive history of doing this type of work within the community and

     accompanying ties to individuals involved in community violence.

            45.     After a program manager was hired and started his role, the HRiA team immediately

     conducted a technical assistance session on site and had several more planned, including a multi-day,

     individualized shadowing session at a partner program. This program manager immediately began

     forging relationships with law enforcement and the new police chief in the city, drawing on his existing

     connections to develop strong working relationships to further CVI efforts. The organization was

     also in the process of bringing on three peer mediators – individuals in the community who would be

     trained by the program manager to conduct outreach and prevent violence. The program manager

     additionally brought on teachers, coaches, and other school-based staff to assist with school violence

     prevention efforts.

            46.     Unfortunately, because of the Award 3 termination, the organization had to lay off the

     program manager and halt all of it CVI efforts. Without a program manager, the team has lost both

     the financial resources and direct subject matter expertise to create a CVI program. And because there


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     are no other organizations doing CVI work in this city, violence intervention and prevention efforts

     simply do not exist there as a consequence of the grant termination. Though HRiA was poised to

     provide this organization with additional training and support, it can no longer deliver that assistance.

     Consequently, this community—which agreed that violence was impacting individuals at all levels

     within the city, from directly involved individuals to children and the elderly who faced fear of

     exposure to violence when out in the community—will certainly face more violence as a result.

     BoostCVI Sub-Recipient 2: Strengthening Organizational Infrastructure to Interrupt

     Community Violence

             47.     Through the BoostCVI award, HRiA awarded $250,000, beginning October 1, 2024

     to September 30, 2026, to an organization that focuses on young adult men who have experienced

     community violence involvement or incarceration. This organization aimed to build infrastructure to

     address emerging needs more effectively, improve organizational efficiency, and increase impact

     within the community via innovative programs. This sub-recipient specifically hoped to hire new and

     reorganize existing staff to build capacity. They were also in the process of hiring a development

     consultant to assist with fundraising to sustain their efforts.

             48.     The termination of this grant has caused a massive ecosystem disruption to the

     organization’s services, and resultingly, to the city’s CVI efforts. A core part of this sub-recipient’s

     approach was to build partnerships across the CVI ecosystem and to work toward a comprehensive,

     integrated model for CVI, including building a strong relationship with their local police department.

     However, the loss of funding exacerbates tension between CBOs and police departments and

     communicates to the larger community that CVI work and law enforcement priorities are

     incompatible. This undermines the holistic and collaborative approach that both parties are working

     toward and will ultimately have the effect of reducing violence intervention in their community.




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             49.     Further, without grant funding, the organization no longer has access to training and

     capacity building on youth development, restorative justice, community building, and other topics

     through this grant from HRiA and their training partners. The organization could not hire a

     development consultant, was forced to cancel an existing contract with an operations consultant, and

     ended their evaluation plans for future improvement and expansion.

     BoostCVI Sub-Recipient 3: Empowering High- and Proven-risk Youth to Reach a Positive

     Purpose

             50.     BoostCVI’s third $250,000 grant went to an organization that aims to empower and

     motivate youth through outreach, community involvement, life skills programs, and technical

     assistance in navigating the juvenile court system, beginning October 1, 2024 to September 30, 2026.

     This organization prioritizes youth ages 12-24 who are at highest risk or proven risk of being presently

     involved in community violence, drug addiction, and/or court involvement. This awardee hired

     Outreach Advocates to conduct outreach throughout their city and via court referrals, and upon

     request by a District Attorney’s office, planned to expand the work to another neighboring city.

             51.     With the termination in funding, the organization had to immediately reduce serving

     young people in that city, and they have already had to furlough one staff member tasked with leading

     this work. This staff member had strong relationships with young people at highest risk, and the

     immediate withdrawal of her support has impacted their trust in programs. The organization describes

     a sense of uncertainty among the young people as to whether they will be able to continue receiving

     services. The organization describes that post-termination, there is great stress and a strong sense of

     uncertainty as to whether work in this city can continue at all.

             52.     Further, termination has impacted their relationship with other programs and entities

     (including their relationship with correctional facilities and the Department of Youth Services) because

     the organization has been forced to turn young people away from their services or refer them to other


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     youth-serving organizations who may not have the specialized skills that they do. Similar to the other

     sub-recipients, this organization was in the process of receiving training from HRiA on a variety of

     topics and made great strides in financial and organizational infrastructure improvements (e.g., moving

     from paper forms to an online system for data entry, developing strong financial systems, etc.).

     However, now they are experiencing a lack of support while these changes are still in process, which

     puts them in a precarious position. This grant is the largest they have received in their history; while

     it was a huge milestone for them to receive these funds to be able to take on the aforementioned

     efforts and further their mission, the loss of this funding has devastated their work and the individuals

     they serve.

     BoostCVI Sub-Recipient 4: Breaking the Cycle of Violence and Recidivism for Justice-

     Involved Youth and Young Adults

             53.     Under the BoostCVI award, HRiA granted $250,000, beginning October 1, 2024 to

     September 30, 2026, to a sub-recipient located in cities across the state of Massachusetts. The

     subrecipient employs a variety of holistic and coordinated CVI interventions attending to the multiple

     needs of individuals at high risk of gang and gun violence. Recognizing that the profile for those who

     are at the highest risk for violence and recidivism varies, this CBO’s intervention strategies address

     substance use, lack of education or employment, housing instability, and deficient coping behaviors

     to address the accumulation of risk factors that increase the risk for violence. Before termination,

     funds were being planned for new programming and expansion, as well as for piloting a Credible

     Messenger Mentoring program where staff were being trained to mitigate violence as it is happening

     or prior to violence breaking out. All of these efforts have now come to a halt due to the termination.

             54.     At the time of termination, this sub-recipient was building connections in a

     Massachusetts city that is badly in need of robust violence interruption services. Prior to this funding,

     the organization did not operate in this city. This funding allowed them to have a designated staff


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     person in this city to devote time to this work. Young people who were at high risk have had very

     positive results from engaging with the dedicated staff member, including reduced recidivism and

     adherence to program requirements. Unfortunately, the loss of dedicated funding forced the sub-

     recipient to reassign staff, interrupting the progress made and hard-won trust built with young people

     and the broader community. When communities see growth that is abruptly halted, the impact is

     significant because young people rely on that trust and consistency.

             55.     As with all other sub-recipients, this organization was receiving training and TA on a

     variety of prioritized and customized topics from HRiA to further develop their project. While their

     team has strong professional and lived experience, the sudden loss of supervision resources,

     professional development, and access to trainings interrupts their staff’s ability to do high quality work.

     HRiA was also providing access to data collection and case management software, and though that

     access helped them to get positive traction around clean data reporting, the halt in this funding means

     that access will end abruptly instead of continuing until Fall 2026 as promised. In addition, they were

     in the process of acquiring physical space to better serve young people. However, without funding,

     staff supported by this initiative are unable to do their work and lack the TA support to reach their

     capacity building and programmatic goals. They are unlikely to be able to acquire the physical space

     that they were exploring.

             56.     Finally, the termination of this funding impacts cohesion between the organization

     and other partners. In addition to the formal learning they participated in together, frequently

     convening with other sub-recipients and benefitting from access to each other’s networks were very

     impactful for this organization, and loss of access has hindered their ability to effectively and

     seamlessly partner.

     BoostCVI Sub-Recipient 5: Building Organizational Capacity to Work with Court Involved,

     Incarcerated, and Returning Citizens


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              57.    Finally, HRiA granted $250,000, beginning October 1, 2024 through September 2026,

     to a sub-recipient that serves youth and adults who have been inordinately impacted by violence and

     are currently incarcerated or formerly incarcerated and returning to the community. The need for their

     services keeps increasing, so for this grant, they aimed to focus on organizational capacity building to

     keep up with the demand for this work and support additional work inside jails and prisons. This

     organization’s capacity building goals under the grant aimed to focus on program evaluation and data

     collection, organizational development and strategic planning, and fundraising.

              58.   The termination of this grant halts the training and technical assistance from HRiA

     and other external consultants that would strengthen organizational capacity to meet the demand for

     their services. The organization had committed a significant amount of funding towards consultants

     to assist with general strategic planning, organizational development, and financial planning, and are

     scrambling to find replacement funding to meet these commitments. HRiA was working closely with

     them on financial planning and abruptly had to cease support. Without this funding and support from

     HRiA, it is unlikely that this organization can reach its goal and meet the increasing needs across the

     state.

              59.   The consequences of this funding termination has rippled far beyond the direct

     impact: the organization shares that their fiscal sponsor has become very cautious based on funding

     uncertainties, and the organization has had to cut the budget by 25 percent. While they were poised

     to hire seven additional staff this year through both HRiA funding and other funding sources, they

     are now only able to hire one, due to both funding impacts and the sense of fear within the field and

     increased competitiveness around any available funding. As a smaller organization, they are concerned

     that they will not be competitive for other funding sources, especially without HRiA support.

              60.    Organizational leadership for this sub-recipient includes individuals with positive and

     impactful relationships with leadership in jails and prisons across Massachusetts, as well as staff with


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     expertise serving “youthful offenders,” which is especially needed given the new Massachusetts law

     allowing individuals who were sent to prison as juveniles to be eligible for parole. Unfortunately, the

     termination of this grant directly imperils staff from the very communities the organization seeks to

     serve. The organization anticipates hundreds of young people, who have never spent a day outside

     of prison as adults, coming home within the next two years and needing to re-integrate into the

     community. This time is critical, because people are almost always at the highest risk of recidivism

     and harm when they return home from prison. This organization currently serves 100 young people

     and was poised to double their reach to 200 within the next year; however, this is no longer possible

     with the funding termination.

            61.     The organization was also poised to grow their partnership with the Department of

     Youth Services (DYS) to serve more justice-involved young people. DYS was eager to further engage

     this organization due to the impact they have already seen previously. This organization is an

     important part of the ecosystem and is well-prepared to engage with these individuals to prevent future

     violence and crime; however, without this funding, they are no longer positioned to do so.




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      Date: May 21, 2025




                                    ___________________________________
                                    Steven Ridini
                                    President and CEO of HRiA
                                    Suffolk County, Massachusetts




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


      VERA INSTITUTE OF JUSTICE, et al.,
      Plaintiffs, on behalf of themselves and all others
      similarly situated,

      v.

      UNITED STATES DEPARTMENT
      OF JUSTICE,
      PAMELA J. BONDI, in her official capacity as               Case No. ________________________
      United States Attorney General,
      OFFICE OF JUSTICE PROGRAMS,
      MAUREEN A. HENNEBERG, in her official
      capacity as Acting Head of the Office of Justice
      Programs,
      Defendants.



                                   DECLARATION OF NICHOLAS TURNER

     I, Nicholas Turner, declare as follows:

              1.         My name is Nicholas Turner. I am a resident of Kings County in the state of New

     York. I am over the age of eighteen. This declaration is based upon my personal knowledge and the

     knowledge I have acquired in the course of my duties. If called as a witness, I could and would testify

     competently to the matters set forth below. I provide this declaration in support of the motion for

     preliminary injunction.

              2.         I am the President and Director of the Vera Institute of Justice. In this role, I am

     Vera’s chief executive. I started in this role in August of 2013 and have served in the position for over

     eleven years. In my role as President and Director, I oversee all the programs funded by the terminated

     awards, and the initiatives affected by the terminations.



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             3.       Prior to this position, I served as a Managing Director at the Rockefeller Foundation.

     I also previously served in other roles at Vera from 1998 to 2007, leading the expansion of Vera’s

     national programs and rising to the position of Vice President, Chief Program Officer. I also

     previously practiced law at Paul, Weiss, Rifkind, Wharton & Garrison and clerked for the late

     Honorable Jack B. Weinstein of the Eastern District of New York.

     Vera’s Mission and Impacted Programs

             4.      Vera Institute of Justice, founded in 1961, is the oldest and one of the largest

     organizations in the country working to advance safety and justice. For over sixty years, Vera has

     worked in partnership with community and government leaders—including in law enforcement and

     corrections—to address some of the most intractable problems in the criminal justice system. Our

     mission is to pilot, test, and scale innovations that prevent crime and address its drivers, increase

     accountability, and rely less on incarceration and more on the programs and services that help

     individuals, families, and communities to thrive.

             5.      As part of this work, Vera oversees three initiatives directly impacted by the

     terminations: Redefining Public Safety, Restoring Promise, and Reshaping Prosecution. Vera also

     remains responsible for two additional programs affected by terminated awards. Vera initially

     commenced these programs, and they are being completed by our spinoff organization, Activating

     Change. Vera is a member of Activating Change, and I sit on Activating Change’s board of directors.

             6.      Vera has been an active participant in the development of this lawsuit and has

     remained in regular communication with Plaintiffs' counsel about this case. Vera is willing and able

     to take an active role in this litigation and to protect the interests of all members of the Class.

     Vera’s Grant Process, in general

             7.       Vera’s budget reflects a mix of philanthropic, individual, and government grant and

     cooperative agreement funding. Vera regularly responds to Requests for Proposals (RFPs) issued by


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     the Department of Justice (DOJ) Office of Justice Programs (OJP), including its subsidiary agencies,

     the Bureau of Justice Assistance (BJA), National Institute of Justice (NIJ), Office of Juvenile Justice

     Delinquency and Prevention (OJJDP), and Office for Victims of Crime (OVC), as well as DOJ

     agencies Office of Community Oriented Policing Services (COPS) and the Office on Violence against

     Women (OVW). As part of an application for a grant or a cooperative agreement, Vera proposes a

     scope of work addressing the RFP’s programmatic goals, along with a cost-recovery budget and

     supporting documentation that demonstrates organizational preparedness to perform the work (e.g.,

     resumes of key personnel for a project; letters of support from potential collaborators, subrecipients,

     or others whose cooperation will be necessary or helpful in performing the proposed work; required

     organizational policies; etc.). Applications are generally due in the spring, and awards are typically

     announced in September, as the federal fiscal year draws to a close. Over our history, Vera has been

     awarded and successfully fulfilled cooperative agreements or grants with each of these DOJ agencies,

     in both Democratic and Republican administrations.

     Termination of Cooperative Agreement Funding Without Notice

            8.       On April 4, 2025, at 3:12 p.m., Vera received an email from the Office of Justice

     Programs purporting to immediately terminate five of Vera’s cooperative agreements: 15POVC-21-

     GK-01096-NONF (Vera Award 1), attached as Exhibit 1; 15PBJA-24-GK-02981-JAGP (Vera Award

     2), attached as Exhibit 2; 15PBJA-23-GK-05353-MUMU (Vera Award 3), attached as Exhibit 3;

     and 15PBJA-23-GK-05375-SCAX (Vera Award 4), attached as Exhibit 4; 15POVC-21-GK-03261-

     HT (Vera Award 5), attached as Exhibit 5.

            9.       The termination email stated that the awards were being terminated because they “no

     longer effectuate agency priorities.” The termination email went on to state that “the Department has

     changed its priorities with respect to discretionary grant funding to focus on, among other things,

     more directly supporting certain law enforcement operations, combatting violent crime, protecting


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     American children, and supporting American victims of trafficking and sexual assault, and better

     coordinating law enforcement efforts at all levels of government. These awards demonstrate that they

     no longer effectuate Department priorities.” No other basis or explanation for the termination was

     provided. The termination email did not claim Vera failed to comply with the terms or conditions of

     the awards and did not otherwise explain why the awards no longer effectuated Department priorities.

     These awards total $7.25 million dollars, with approximately $5.4 million dollars of funding

     outstanding. A true and correct copy of the termination email is attached as Exhibit 6.

             10.      The termination email advised that Vera could “appeal this termination in writing

     within 30 business days.”

             11.      The termination email also required Vera to commence “closeout and other

     obligations in 2 C.F.R. § 200.340(d),” including an obligation that Vera “promptly refund any

     unobligated funds,” that have been paid out, and retain award records for at least three years. The

     letter threatened that failure to meet these closeout obligations could include “appropriate

     enforcement actions,” and “affect eligibility for future grants.”

             12.      The closeout obligations include preparing and submitting the required reports;

     terminating agreements with vendors, consultants, and partners; and submitting Vera’s remaining

     reimbursement requests for project and closeout expenses.

             13.      Vera was locked out of the federal grants payment system a few days before receiving

     the termination notice. As a result, Vera has incurred approximately $381,476 of expenses in

     performing the awards that have not yet been reimbursed.

             14.      It was Vera’s understanding that the funds awarded through these cooperative

     agreements would be available throughout the agreement periods and that DOJ could terminate the

     agreements only if Vera failed to comply with the terms and conditions of the awards. It was not




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     Vera’s understanding that DOJ could terminate these awards based on that agency’s assertion that the

     awards no longer effectuate agency priorities.

     Termination of Awards Creates Real Harm

            15.      The termination of Vera’s awards created an immediate harm and impact to not only

     Vera’s ability to maintain business and programmatic operations prescribed by the awards but also

     denied funds to be paid to partners and contractors, impacting their ability to have the financial

     resources to sustain their organizational work. As a result of the termination of Vera’s awards:

                  a. hard-of-hearing and Deaf victims of crimes cannot use interpretive services provided

                     by Vera’s National Sign Language Interpreter Bank for Victim Services to

                     communicate with law enforcement and victim services;

                  b. the cities of Richmond, California and Albuquerque, New Mexico, have lost subaward

                     funding that would have supported modernizing each city’s 911 call systems and

                     training civilian specialists to respond to mental and behavioral health crises;

                  c. prosecutors in Arizona, Colorado, Massachusetts, North Carolina, and Virginia will

                     have greater difficulty in launching or expanding diversion programs, designed to help

                     prosecutors address the underlying drivers of criminal conduct in their communities;

                  d. state departments of correction facilities have withdrawn from Vera’s project to

                     support data collection, policy development, training, and monitoring for correctional

                     facilities to increase safety in prisons, and Vera was forced to dissolve a 15-person

                     advisory board already assembled to support the program;

                  e. the needs of human trafficking survivors with disabilities will go unmet as at least 50

                     law enforcement officers and dozens of law enforcement agencies around the nation

                     are deprived of training opportunities to help law enforcement develop resources;

                     and


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                   f. Vera staff members working full or part time on programs funded by Vera’s awards

                      are now severely limited in their ability to carry out the violence intervention, research,

                      technical assistance, and program development work and face the real possibility of

                      unemployment in the near future.

             16.       Vera relied and acted upon its expectation and understanding that DOJ would fulfill

     its commitment to provide award funding. Vera relied on this by recruiting partners from local

     government, corrections and law enforcement agencies to launch or expand programs across the

     country, including in Oklahoma, New Mexico, California, and Colorado; dedicating more than 10 staff

     members to work full or part-time on these programs; and incurring costs related to program

     assistance, training, travel, research, and data analysis.

             17.       DOJ’s termination of these awards with no notice will force Vera to make cuts in its

     budget to offset the loss of funding, including by cutting the budgets of programs tasked with carrying

     out the awards, cutting subawards that assist Vera in carrying out its mission, cutting funding for other

     programs, and making cuts to staff.

             18.       DOJ’s termination of these awards has created immense uncertainty for Vera and has

     required Vera employees, as well as partners in government and at other organizations, to spend

     significant amounts of time working on responding to that chaos. I, along with many other leaders

     within Vera, have spent an enormous number of hours over the last few weeks attempting to quantify

     and mitigate the effects of these award terminations—time that could have been spent advancing our

     mission to make communities safer and to deliver more justice to people impacted by the criminal

     justice system—both victims and defendants.

     Award 1: Sign Language Services for Deaf Victims of Crime

             19.       On September 21, 2021, Defendants awarded Vera $1 million in funding, beginning

     October 1, 2021 and ending June 30, 2025 for the Advancing the Use of Technology to Assist Victims


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     of Crime: National Sign Language Interpreter Bank for Victim Services cooperative agreement to

     Vera. The award provides $1 million in funding from October 1, 2021, to June 30, 2025. See Exhibit

     1.

            20.     This award was intended to assist crime victims who are hard of hearing or Deaf and

     specifically awarded Vera $1 million to provide free sign language interpretation services to Deaf crime

     victims. These services were offered entirely remotely, by specially trained victim services providers,

     to facilitate effective communication between Deaf victims of crimes and law enforcement. These

     interpretation services included specially trained, trauma-informed interpreters, allowing victim

     services providers to interact directly and effectively with Deaf survivors in their community and to

     provide Deaf survivors with both short and long-term assistance.

            21.     This award was terminated with less than three months and $161,003 of undisbursed

     funds remaining.

            22.     Prior to termination, this program (which used technology developed with the award

     funding) had connected with 4,209 victim services providers and others. But the program was halted

     in its tracks: after this award was terminated, Vera was forced to turn away Deaf victims of crime who

     were seeking interpretive services to help them communicate with law enforcement and victims’

     services. And Vera has no ability to further support the 872 victim services participants who

     completed language access training, and 119 people who received one-on-one technical assistance on

     how to provide language access in their organizations for Deaf victims of crime.

            23.     Additionally, this award funded a dedicated staff to fulfill the program’s mission.

     DOJ’s termination of the agreement three months early and with no notice made the wind down

     chaotic, painful, and potentially costly. Because the award was due to end on June 30, a

     conscientious wind-down, including severance for staff whose positions would be eliminated, was

     being planned. But instead of being able to provide a comprehensive accounting within the


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     agreement period, management is now burdened with a more complicated, post-hoc wind-down,

     increasing the difficulty of adhering to the allowability and allocability cost principles set forth in 2

     C.F.R. Part 200.

     Award 2: Supporting Local Government to Build a Comprehensive Public Safety Ecosystem

             24.        On October 1, 2024, Defendants awarded the BJA FY24 Reimagining Justice: Testing

     a New Model of Community Safety: Municipal Safety Hubs cooperative agreement to Vera. The

     award provides $2 million in funding from October 1, 2024, to September 30, 2027. See Exhibit 2.

             25.        This award supported local government partners to build the infrastructure needed

     for a more comprehensive approach to public safety to prevent crime, respond to crisis, and stop

     violence. Specifically, the agreement awarded Vera $2 million to provide technical assistance to public

     safety agencies in the Community Service Departments in Albuquerque, New Mexico, and Richmond,

     California through subawards. The pass-through amounts contemplated across fiscal years totaled

     $700,000: $62,500 by end of Vera’s 2025 fiscal year (June 30, 2025), $313,000 in our FY26, $225,000

     in our FY27, and $100,000 in our FY27. Through subawards, Vera facilitated these cities’ efforts to

     create and sustain an innovative and scalable approach for advancing community safety without solely

     or overly relying on traditional law enforcement responses.

             26.        In communities across the country, police have long been the only first responders

     available to provide timely responses to behavioral health–related 911 calls. Research shows that

     approximately one out of five calls to 911 are for a mental health or substance use-related crisis that

     can be more effectively handled by a civilian trained responder. In Albuquerque and Richmond, Vera

     partnered with government leaders from several departments across each city to conduct the research,

     budget the resources, and launch or expand programs that deploy trained civilian specialists to respond

     to mental health and other behavioral health crises, and to prevent and intervene in violent crime,

     especially gun-related homicides and shootings. These are situations in which a civilian-based


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     approach takes the burden off traditional law enforcement to be the only response to a crisis and,

     importantly, provides local governments with a comprehensive range of options to address disorder,

     crime, and violence in cases where police are unable, unwilling, or lack the training to intercede.

             27.      The award termination resulted in Vera abruptly stopping the subaward process with

     Richmond and Albuquerque. The sudden halt in funding harmed Vera and the cities who were relying

     on the award. Each city had already dedicated significant staff time toward execution and expected

     the subaward to cover the costs of the new or expanded programs and the technology required to

     update their 911 and data collection systems for this more comprehensive approach. Specifically, each

     city was planning to use the subaward to analyze their 911 data to identify which cases could benefit

     from a civilian response and where law enforcement resources could be better managed or deployed.

     Each city planned to modernize their 911 call systems to allow, for example, a trained mental health

     expert or other specialized response, to be selected in appropriate and necessary circumstances. As a

     result of the termination, these two cities must find another way to fund these initiatives, or they will

     not be able to build out this necessary infrastructure to address pressing problems of disorder, crime,

     and violence—all of which undermine community safety.

             28.      The award termination also impacted funding for nine program, policy, and research

     staff dedicated to the project. To fill the gap due to the loss of funding, Vera has had to draw down

     funding from other sources, limit the staff capacity on this important project, and greatly curb the

     amount of assistance, especially in-person, that can be provided to the partner agencies and leaders in

     both Richmond and Albuquerque. Without the opportunity to meaningfully build relationships with

     key government staff tasked with building or expanding these interventions, the overall success of this

     program is likely to be negatively impacted.

             29.      Another loss as a result of the award termination is the opportunity for peer learning

     among the public safety leaders in Richmond and Albuquerque. Peer learning is an integral tool for


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     government officials to spur innovation, troubleshoot challenges, and workshop with others who are

     similarly situated. Losing that aspect of this program is an intangible but significant loss for the local

     government leaders who benefit from peer support, encouragement, and knowledge exchange.

             30.      This award was terminated with 30 months remaining and $1,977,389 of undisbursed

     funds remaining.

     Award 3: Advancing Safety through Prosecutor-Led Diversion

             31.      On October 1, 2023, Defendants awarded the BJA FY 23 Field Initiated:

     Encouraging Innovation cooperative agreement to Vera for the project Motion for Justice: Partnering

     with Prosecutors and Impacted Communities to Remove Barriers and Expand Access to Community-

     Led Diversion Programming. The award provides $1 million in funding from October 1, 2023, to

     September 30, 2026. See Exhibit 3.

             32.      This award was designed to assist prosecutors in their efforts to ensure the safety of

     the American public by using all the tools within their discretion, including community-based

     programming, to reduce crime and prevent recidivism. These programs are conventionally known as

     “diversion.” Specifically, the award granted Vera $1 million to assist prosecutors and community-

     based organizations in six jurisdictions in Arizona, Colorado, Massachusetts, North Carolina, and

     Virginia to develop effective policies, practices, and programs to safely expand diversion programs in

     their jurisdictions. The award was designed to reduce recidivism and advance public safety, as well as

     build trust in the legal system among local community members by demonstrating that community-

     based programs are a legitimate and viable alternative to incarceration in some cases.

             33.      Vera planned to build a cohort that supported the six jurisdictions in launching and

     expanding diversion programs. Through the six-jurisdiction cohort, the intention was to create a

     blueprint for building and expanding community-based diversion programs and, importantly,

     addressing the racial disparities that result in more severe outcomes for Black and brown individuals


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     charged with an offense compared to their white counterparts. These disparities are not only unjust

     but also undermine trust in law enforcement and the legal system. By launching and expanding

     community-based diversion, local prosecutor’s offices could direct attention away from low-level and

     relatively minor offenses and deploy those limited resources toward the most serious and violent cases.

     This program would have also conducted much-needed research for the criminal justice and public

     safety field into whether community-based diversion is in fact successful in reducing recidivism and

     promoting community safety. Ultimately, Vera intended to disseminate these research findings to

     help officials across the country build more effective diversion programs.

             34.      Because of the termination and the reduction in assistance it compels, dozens of

     individuals in six jurisdictions will not benefit from local, community-based services that would

     address the underlying drivers of criminal conduct, like substance abuse, a lack of employment and

     housing, and unmet mental health needs. Due to the loss of funding, employees staffed on this award

     have been forced to reduce the level of assistance to the cohort of six jurisdictions, including less

     travel to sites and abandoning plans to bring the cohort together for ongoing training, peer learning,

     and ideas exchange. The reduction in site visits has an especially negative impact, as being on-site

     allowed us to convene local stakeholders for critical conversations, review data analysis and policies,

     observe success and challenges with setting up or expanding the diversion programs, and otherwise

     troubleshooting and overcoming any obstacles that arise.

             35.      Additionally, the award termination will negatively impact the local community-based

     organizations in each of the six jurisdictions. Vera had intended to use other funding to provide grants

     to each community-based organization to support planning and staff time for launching or expanding

     the diversion program. The termination of this OJP award has instead required Vera to repurpose

     money from other sources for this work and, to compensate, reduce the subaward amount to the

     community-based organizations partnering with us in the six jurisdictions.


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             36.      This award was terminated with eighteen months remaining and $677,948 of funds

     remaining.

     Award 4: Making Prisons Safer for Staff and Incarcerated People

             37.      On October 1, 2023, Defendants awarded the BJA FY 23 Transforming Prison

     Cultures, Climates, and Spaces: Designed for Dignity cooperative agreement to Vera. The award

     provides $1.5 million in funding from October 1, 2023 to September 30, 2026, followed on October

     1, 2024 by a supplemental award of an additional $1.25 million in funding from October 1, 2024 to

     September 30, 2027 (for a total of $2.75 million). See Exhibit 4.

             38.      This award was designed to improve safety in prisons for both correctional staff and

     people incarcerated. Specifically, Vera was granted $1.5 million to help three state departments of

     corrections make units within their prison system safer by implementing new restorative justice

     policies with respect to prison operations and culture, implementing trainings on restorative practices

     for staff, making physical improvements to the built environment and unit design, and winning buy-

     in for a new approach to prison safety from correctional leadership to line staff. BJA’s enthusiasm

     for the potential impact of this program was so evident that OJP approved a supplemental award with

     an additional $1.25 million (for a total of $2.75 million), well before the first award was fully performed

     or spent down.

             39.      Three partner departments of corrections were carefully vetted and selected in early

     2025 and plans were already underway with each agency to dedicate correctional staff to the project,

     schedule trainings and times for site visits, gather data and other needed information to assist Vera in

     launching the project, and socialize the partnership across both correctional leadership and line

     corrections staff. The three departments of corrections had, based on reliance that the project was

     moving forward, dedicated hours of leadership and staff time to preparing for the partnership. This

     program was built on the results of a DOJ National Institute of Justice-funded randomized-control


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     study that found that implementing restorative practices reduces violence in prisons, improves the

     morale and well-being of corrections staff, and incentivizes better behavior and engagement from

     incarcerated people.

             40.      Under this award, twelve Vera staff members were tasked with providing training and

     technical assistance to support three state departments of corrections with data collection; policy

     development; and to facilitate training and monitoring for correctional facilities to increase safety in

     prisons. These staff would also provide implementation monitoring and sustainability planning to

     ensure that changes in policies and practices will last beyond the time of the engagement, thus

     extending the effect of the federal grant money.

             41.      Eight days prior to the award termination, one department of corrections heralded the

     partnership and shared a video with its staff announcing the work and explaining how Vera would

     partner with corrections staff and incarcerated people.

             42.      As a result of termination of this award, two of the three state departments of

     corrections withdrew from the project and Vera was forced to dissolve the recently-assembled

     advisory board of 15 experts from across the corrections and criminal justice fields who could provide

     the project with the most current knowledge about prison conditions. The termination of funding

     and withdrawal of two departments of corrections from this program will make these prisons less safe

     for both staff and incarcerated people who will not benefit from the changes in operations, culture,

     training, and oversight in these facilities.

             43.      Additionally, after the award was terminated, a DOJ Bureau of Prisons employee

     reached out to Vera, expressing interest in working with Vera under the award, specifically because it

     supported the Bureau’s role “as an agency dedicated to the progress and advancement of safe, healthy

     and secure environment[s].” The Bureau of Prisons is known to be an especially challenging

     correctional environment, facing overcrowding, longstanding problems with violence behind bars,


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     and staffing reductions. However, because this award was terminated Vera will not be able to pursue

     this work with the Bureau of Prisons and increase safety within the federal correctional environment.

              44.    This award was terminated with 30 months remaining and $2,458,945 of funds

     remaining.

     Award 5: Assistance for Victims of Human Trafficking with Disabilities

              45.     On October 1, 2021, Defendants awarded the 2021 OVC FY 2021 Field-Generated

     Human Trafficking Training and Technical Assistance for Law Enforcement: Responding to Human

     Trafficking of People with Disabilities cooperative agreement to Vera. The award provides $500,000

     in funding from October 1, 2021, to June 30, 2025. See Exhibit 5.

              46.     This award, titled “Training and Technical Assistance for Law Enforcement for

     Responding to Human Trafficking of People with Disabilities,” helps police agencies across the

     country more effectively identify victims of sex and labor trafficking and provide the necessary services

     to address the unique needs of this population. Specifically, research in the field suggests that people

     with disabilities are victims of sex and labor trafficking at disproportionately higher rates than others,

     but law enforcement often lacks the training necessary to identify these victims, build trust with them,

     and investigate their cases. This award provided $500,000 in funding to Vera and the International

     Organization of Adolescents to design a comprehensive online training program to better educate and

     equip law enforcement to handle the unique challenges facing human trafficking victims with

     disabilities.

              47.     DOJ terminated this award with less than three months and more than $167,274 of

     undisbursed funds remaining.

              48.     The termination deprives dozens of law enforcement agencies around the country of

     the training and skills to better serve human trafficking survivors with disabilities. Before the award

     termination, Vera had been regularly training law enforcement officers and helping agencies to develop


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     resources, such as counseling, language access, referrals, and policy directives, to meet the needs of

     this vulnerable population. For example: an event that is now canceled because of the award

     termination was a scheduled, national webinar on how to effectively respond to and investigate human

     trafficking cases involving survivors with disabilities. Approximately 486 people registered for the

     webinar, half of whom were law enforcement. Additionally, Vera had plans to host two more learning

     cohorts of up to 25 law enforcement officers in the final months of the agreement period. The

     additional cohorts were intended to help sustain impact of Vera’s work beyond the end of the funding

     period by building a network of trained law enforcement officers who could in turn train and assist

     other law enforcement personnel investigating cases of human trafficking involving disabilities. The

     loss of funding resulted in the abrupt termination of those cohorts and ultimately a loss of resources

     to law enforcement and their ability to serve as a force multiplier for other officers in the future.

               49.    In the final months of the award, Vera planned to complete an online training series

     targeted to better educate and equip law enforcement to handle the unique challenges facing human

     trafficking victims with disabilities. As a result of the termination, Vera halted all work on the training

     series. Now the law enforcement audience will no longer benefit from the final four courses of the

     training as well as the aforementioned webinar.

               50.    Not only will these abruptly canceled online trainings and webinars prevent law

     enforcement from benefiting from the information and insights provided, but it wastes the federal

     dollars invested in the development of the trainings to date if the officers do not complete the full

     series.




                                           Signature on following page.


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      Date: May 21, 2025




                                    _________________________________
                                    Nicholas Turner
                                    President and Director of Vera Institute of Justice
                                    Kings County, New York




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


          VERA INSTITUTE OF JUSTICE, ET AL., )
                                             )
                    Plaintiffs,              )
                                             )     CV No. 25-01643
                 vs.                         )     Washington, D.C.
                                             )     June 26, 2025
          U.D. DEPT OF JUSTICE, ET AL.,      )     2:03 p.m.
                                             )
                    Defendants.              )
          ___________________________________)


                     TRANSCRIPT OF MOTION HEARING PROCEEDINGS
                        BEFORE THE HONORABLE AMIT P. MEHTA
                           UNITED STATES DISTRICT JUDGE




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          APPEARANCES CONTINUED

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      1                         P R O C E E D I N G S

      2              COURTROOM DEPUTY:    All rise.   The Honorable Amit

      3   P. Mehta presiding.     Please be seated and come to order.

      4              THE COURT:    Good afternoon, everyone.        Please be

      5   seated.

      6              COURTROOM DEPUTY:    Your Honor, we're now on the

      7   record for Civil Action 25-1643, Vera Institute of Justice,

      8   et al., versus the U.S. Department of Justice, et al.

      9              Present for plaintiffs is Jennifer Connolly,

     10   Lisa Newman, Joshua Stanton, and Somil Trivedi.

     11              For the Department of Justice, John Bailey.

     12              THE COURT:    All right.   Good afternoon, everyone.

     13   Welcome.   It's good to be with-you.

     14              Okay.   So we're here on the plaintiffs' motion for

     15   a preliminary injunction and the defendants motion to

     16   dismiss.

     17              So why don't we begin with plaintiffs' counsel.

     18              MS. NEWMAN:    Good afternoon, Your Honor.

     19   Lisa Newman on behalf of plaintiffs.

     20              Jennifer Connolly will be handling the

     21   class-certification motion.     I will largely be handling the

     22   argument on the preliminary injunction and motion to

     23   dismiss, and my co-counsel, Josh Stanton, will be handling

     24   the constitutional claims on those motions.

     25              We're open to proceeding in any order that you


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      1   you've framed it.

      2              MS. NEWMAN:    Yes.

      3              THE COURT:    And I agree with you that, you know,

      4   you don't necessarily need to rely on the contract to

      5   determine whether reliance interests have been considered,

      6   whether there's been a sufficient explanation, but it seems

      7   to me that what you've then suggested is that every contract

      8   claim can somehow then become an APA claim.

      9              MS. NEWMAN:    We're certainly not suggesting that,

     10   Your Honor.

     11              THE COURT:    But why not?

     12              In other words, anybody who's on the bad end of a

     13   breach, why couldn't they also say, look, you also didn't

     14   consider our reliance interest, you also didn't consider

     15   our -- you know, even give us a sufficient explanation.

     16              And isn't that the whole point of channeling these

     17   claims into the Court of Claims as opposed to bringing them

     18   in the District Court under the APA?

     19              MS. NEWMAN:    I think it comes back to what the

     20   Court in Megapulse said, which is, District Courts still --

     21   and courts still retain their rationality in assessing

     22   whether or not the relief sought from that type of claim is

     23   actually one that is contractual in nature, that is, seeking

     24   money damages, and that really has to be assessed on a

     25   claim-by-claim basis.


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      1   the class, do I need to make a finding that the entire

      2   class, all class members would be irreparably harmed or are

      3   being irreparably harmed?

      4              MS. NEWMAN:    That would be a question that my

      5   co-counsel, Jennifer, will be able to answer.         I don't know

      6   the answer to that question.

      7              THE COURT:    All right.   I will ask your colleague

      8   when she's up.

      9              MS. NEWMAN:   Apologies.

     10              THE COURT:    That's okay.

     11              MS. NEWMAN:    So I guess, one, I'll end with one

     12   final thing.

     13              July 4th is one of the most active days for

     14   shootings in many communities.     Violence interrupters know

     15   this and would normally be, as we are discussing, out in

     16   their communities on that day working to mediate active

     17   conflicts.

     18              The work that they do might include taking

     19   individuals for whom July 4th is an anniversary of a gun

     20   death to physically do other activities to ensure that they

     21   don't act out on their grief and their trauma by turning to

     22   gun violence.

     23              This is not going to be the case in a lot of

     24   communities in the country because of the termination of

     25   this grant funding absent an injunction.


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      1              And there has been a predictable spike in

      2   homicides and shootings in these communities in the months

      3   since these grants have been terminated.       And so we believe

      4   that we have certainly established a likelihood of success

      5   on the merits, shown irreparable harm that the balance of

      6   equities strongly weigh in plaintiffs' favor.

      7              And if there are any other questions on these

      8   points, I will turn it over to my co-counsel.

      9              THE COURT:    No.    Thank you, counsel.

     10              MS. NEWMAN:    Thank you, Your Honor.

     11              MR. STANTON:    Good afternoon, Your Honor.

     12   Josh Stanton on behalf of the plaintiffs.

     13              THE COURT:    Mr. Stanton, welcome.

     14              MR. STANTON:    So before I delve into sort of the

     15   merits of the constitutional argument, I think it might be

     16   helpful to sort of disentangle what we're talking about with

     17   respect to those claims in terms of the motion to dismiss

     18   and the motion for preliminary injunction.

     19              So the only argument that defendants make in favor

     20   of their motion to dismiss, at least as it pertains to

     21   Rule 12(b)(6), specifically, in terms of any particular

     22   claim that plaintiffs have made in arguing the plaintiffs

     23   have failed to state a claim in their motion to dismiss

     24   actually relates to the procedural due process argument.

     25              So we noted this in our opposition joint sort of


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      1               THE COURT:    Please be seated.    Thank you,

      2   everyone.

      3               All right.    Ready for government counsel.

      4               MR. BAILEY:    Yes, Your Honor.    Good afternoon.

      5               THE COURT:    Good afternoon.

      6               MR. BAILEY:    John Bailey with the

      7   Department of Justice for the defendants.

      8               THE COURT:    Mr. Bailey.

      9               MR. BAILEY:    May it please the Court.

     10               Neither the facts nor the law support plaintiffs'

     11   requested relief.

     12               Starting with the facts, this case does not

     13   involve an agency's mass termination of grants in an effort

     14   to refuse spending congressionally obligated funds.

     15   Instead, the Department of Justice has terminated a tiny

     16   fraction of its open discretionary grant awards after

     17   examining each of those awards individually and carefully

     18   and determining that they no longer advance agency

     19   priorities, those priorities being combating violent crime,

     20   protecting American children, and supporting victims of

     21   trafficking and sexual assault.

     22               THE COURT:    Can I ask a -- sorry to interrupt.

     23               I usually don't try to interrupt this early, but

     24   can you just help explain to me how that is so -- I mean,

     25   let's use the Detroit organization.        I mean, you just


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      1   identified, for example, combating violence as one of the

      2   priorities, right?

      3              MR. BAILEY:    Yes.

      4              THE COURT:    So how does an organization that

      5   has -- whose sole purpose is to intercede before violence

      6   happened inconsistent with a priority of combating violence?

      7              MR. BAILEY:    Well, I mean, frankly, Your Honor,

      8   I don't have an insight into how each grant was weighed

      9   against other grants, but I mean, we're balancing --

     10              THE COURT:    Shouldn't you?

     11              I mean, if you're terminating these grants as

     12   inconsistent with your priorities, shouldn't you know why

     13   each of the grants has been terminated for that reason?

     14              MR. BAILEY:    I mean, at this stage, without an

     15   administrative record, I don't have an insight into,

     16   you know, why any one particular grant was terminated.

     17              But I mean, I guess the way that I look at it --

     18              THE COURT:    Isn't that then sort of the hallmark

     19   of arbitrary and capricious decision-making if you can't

     20   identify for me why a particular decision was made?

     21              MR. BAILEY:    Well, Your Honor, I think, taking a

     22   step back here, I mean, it's a finite amount of resources.

     23              And this case is not about disparaging the

     24   plaintiff organizations' missions, but --

     25              THE COURT:    What's a finite amount of resources?


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      1   Not the grant money.     The grant money is the grant money.

      2              MR. BAILEY:    Well, I think the question is, can

      3   this better be -- can this money be used to better serve the

      4   administration's priorities.

      5              THE COURT:    But help me out here.

      6              You'll forgive me.

      7              And I know I'm going -- sort of painting outside

      8   the lines here a little bit, but you've just said, and all

      9   of the notices said, for example, that one of the agency's

     10   priorities -- the Department of Justice priority is to

     11   prevent violence, right?

     12              MR. BAILEY:    Yes, Your Honor.

     13              THE COURT:    Each of these organizations, in some

     14   way, shape or form, at least I think the five that I have

     15   before me, are trying to prevent violence.       That is the very

     16   reason they got the grants in the first place.       Would you

     17   agree with that?

     18              MR. BAILEY:    Yes, that's the agency's mission.

     19              THE COURT:    Right.

     20              So that's what they're doing.

     21              And now the Department of Justice, the

     22   Department of Justice is saying that an organization that is

     23   devoted to fighting violence and preventing violence, that

     24   their execution of the grant is inconsistent with the

     25   Department of Justice's priorities and you can't tell me why


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      1   that is.

      2               MR. BAILEY:    Well, Your Honor, I mean, the

      3   Department doesn't just have one -- a single priority.

      4              And, you know, I perhaps could have quoted the

      5   termination letter in full, but it's, you know, focused,

      6   among other things, more directly supporting certain law

      7   enforcement operations, combating violent crime,

      8   protecting --

      9               THE COURT:    At least one of these institutes --

     10   Vera, for example, one of their missions is -- one use of

     11   the grant, if I remember, was to support and train law

     12   enforcement.

     13               MR. BAILEY:    Yes, Your Honor.

     14               THE COURT:    Right?

     15               So that's inconsistent with the Department's

     16   priorities?

     17               MR. BAILEY:    Your Honor, frankly, I don't have

     18   more of an insight into how each individual grant --

     19               THE COURT:    Isn't that the problem at the end of

     20   the day?

     21               I mean, let's just put aside for the moment all

     22   this song and dance about, you know, Court of Federal

     23   Claims.    Isn't that the fundamental problem, that the

     24   United States Government backed by the Department of Justice

     25   has no idea why it's terminating these grants in the amount


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      1   of $800 million?

      2              I mean, you are representing the United States of

      3   America and you can't tell me why even one of these

      4   plaintiffs, their grant was terminated, not one.

      5              MR. BAILEY:    Your Honor, I can tell you that

      6   Department leadership, in an iterative process with OJP,

      7   examined the project descriptions of each grant and

      8   determined --

      9              THE COURT:    Let's start with FORCE Detroit.

     10              Mr. Kennedy has explained that one of the things

     11   they do is they go out into one of the rougher neighborhoods

     12   in Detroit and they have people on the ground who are there

     13   to serve as intervention.

     14              You know, people are in a bad situation, they

     15   are -- there's a conflict, these folks get called and try

     16   and calm things down.

     17              That prevents violence.    I think you'd agree with

     18   that, right?

     19              MR. BAILEY:    That evidence, yes.

     20              THE COURT:    So why did the Department of Justice

     21   terminate that loan -- or, excuse me, that grant, not loan,

     22   grant, as inconsistent with the new priorities?

     23              MR. BAILEY:    Your Honor, at this stage without a

     24   developed administrative record, I can't speak to what's

     25   beyond the Office of Justice Programs declaration which


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      1   discusses how this was an iterative process with Department

      2   leadership.    I can't speak to how any one individual grant

      3   was weighed but --

      4              THE COURT:    So shouldn't I then enter a

      5   preliminary injunction until we have an administrative

      6   record in this case that you can actually explain and

      7   justify for me why you've done what you've done?

      8              MR. BAILEY:    Well, Your Honor, I think this is the

      9   improper forum for that for the legal reasons I hope we get

     10   into regarding --

     11              THE COURT:    We will, I promise you.   I just am

     12   curious.

     13              MR. BAILEY:    -- why an arbitrary and capricious

     14   claim is just inappropriate here to evaluate an agency's

     15   discretionary decision in contracting with the government,

     16   and so I can't speak in more detail.

     17              THE COURT:    I just -- I know you can't, because

     18   I am confident that there are no individualized reasons, and

     19   I think you know there are no individualized reasons.

     20              And -- okay.

     21              And now the Department of Justice, understandably,

     22   these are your legal positions and you get to advance them,

     23   and ultimately I'm bound by these legal principles, so let's

     24   get all that out in the open.

     25              But fundamentally, that's what you're doing, which


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      1   is that, you're not making individualized assessments.

      2                Yes, you've winnowed the number of grant

      3   recipients down by some percentage, and, yes, there was some

      4   process, but you can't stand here in a court of law and

      5   explain why FORCE Detroit is no longer consistent with the

      6   agency's priorities.       You can't do that.   You maybe didn't

      7   even ask before you walked into this courtroom.

      8                MR. BAILEY:    Well, Your Honor, I think part of the

      9   problem is that none of these plaintiffs took advantage of

     10   the appeals process.

     11               And if I may, I mean, I believe over 200 did.

     12                THE COURT:    So -- but why -- why did you -- you

     13   should be able to articulate why you did it in the first

     14   place, right?

     15                In other words, you've asked them to appeal a

     16   decision that you can't even articulate the basis for here

     17   today.     You can't tell a federal judge why you terminated

     18   this grant.

     19                MR. BAILEY:    Your Honor, my point being there is

     20   that the Department has restored funding in, I believe, two

     21   appeals, denied funding in another as of the time that we

     22   filed our opposition to the preliminary injunction.

     23   So I think that just belies the notion that this is some

     24   sort of arbitrary, they just don't care, they're all --

     25   there's no reasons here.


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      1              I mean, the agency -- that's why the agency put

      2   its priorities in these notices.     The grant recipients were

      3   free to file an appeal and say -- express their reasons.

      4              I can't speak in any more detail as to any one

      5   individual grant.

      6              THE COURT:    I mean, it's just very odd.

      7              You mean, for example, if they were noncompliant,

      8   right -- and that's not the basis for the termination as

      9   I understand it, nobody's alleging that any of these groups

     10   have been noncompliant.     But if they had been noncompliant,

     11   you would have had an obligation to go to them, right, and

     12   say, hey, you're noncompliant, you need to cure your

     13   noncompliance, right?

     14              MR. BAILEY:    I believe so, or I can't --

     15              THE COURT:    But now the Department of Justice is

     16   saying, even if you are compliant, even if you've been

     17   compliant, we have a unilateral right, almost near absolute,

     18   it seems, to just terminate the grants, because we think

     19   it's inconsistent with our new priorities, although they

     20   sound a lot like the priorities that they're carrying out.

     21   And they can do that and we have to wait for this appeals

     22   process to figure out what, whether the department got it

     23   right in the first place?

     24              MR. BAILEY:    I don't mean to suggest that the

     25   appeals process needs to peal out for that to be shown to be


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      1   true.   I think that, as I said, I understand this was an

      2   individualized and iterative process.       I can't speak to any

      3   one decision, Your Honor.

      4              THE COURT:    So say you were standing in front of a

      5   Court of Claims judge today and not a Federal District Court

      6   Article III Judge, what would you say to that judge as to

      7   why you were justified in terminating the grant, consistent

      8   with the terms of the application?

      9              MR. BAILEY:    Well, I mean --

     10              THE COURT:    Consistent with the terms of the

     11   regulation and the contract?

     12              MR. BAILEY:    If we were in the Court of Claims, we

     13   would be dealing with -- it would be a contract action.

     14              THE COURT:    Right.

     15              So what would your argument be as to why you were

     16   justified in terminating the contract if you were standing

     17   before a Court of Claims judge?

     18              MR. BAILEY:    I mean, truthfully, Your Honor,

     19   I haven't developed -- we haven't developed contract

     20   defenses because plaintiffs have brought an arbitrary and

     21   capricious claim and a number of others.

     22              I can't speak to what our position would be

     23   exactly in the Court of Claims.

     24              THE COURT:    But presumably, you should be able to

     25   because you terminated the grant.


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      1              I don't get it.

      2              I mean, if you terminated the grant, presumably

      3   the Department of Justice doesn't act unlawfully.           Would you

      4   agree with that?

      5              MR. BAILEY:    Yes.

      6              THE COURT:    Right.     You don't act unlawfully.

      7              So presumably somebody at the

      8   Department of Justice decided that we have a basis for

      9   termination of this grant, correct?

     10              MR. BAILEY:    Yes, absolutely.

     11              THE COURT:    And you haven't yet developed what

     12   that defense is?

     13              MR. BAILEY:    Your Honor, those are contract

     14   defenses for the Court of Federal Claims.

     15              I mean -- and plaintiffs are free to try to prove

     16   that there was a breach and they are entitled to damages.

     17   We're not saying that that's -- our position is not that

     18   that's foreclosed.

     19              THE COURT:    What damages would they be entitled to

     20   in the Court of Claims?

     21              MR. BAILEY:    Again, I didn't -- this would be an

     22   issue for the expertise of the Claims Court.

     23              But, I mean, it is not our position that they're

     24   necessarily limited to compensation for work already

     25   performed.


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      1              THE COURT:    Could they recover the full amount of

      2   the grant?

      3              MR. BAILEY:    I mean, we think that's unlikely.

      4              We think that it's unlikely that the full measure

      5   of their damages would be the full amount of the grants

      6   when, because specific performance is not a remedy there,

      7   they would not have any of the obligations to do anything

      8   with the money.    They could just pocket it.

      9              So I mean, it might be some sort of reliance --

     10   reliance damages, shutdown cost, some other expectation,

     11   measure of expectation damages, and I'm not exactly sure

     12   what these are.

     13              But plaintiffs are free to seek damages in the

     14   Court of Claims.

     15              And I mean, Congress has specifically limited the

     16   contract remedies against the government; they've made that

     17   decision to make specific performance to preclude specific

     18   performance there.

     19              And, you know, I'll just note, Your Honor, that in

     20   procurement contracts, termination for convenience clauses

     21   are read into procurement contracts if they weren't already

     22   universally used, and that just gives the government broad

     23   discretion to say, in our convenience, we're shutting off

     24   here.

     25              So I think in the space of government contracting,


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      1   required by the contract and that was their contract

      2   argument, their breach argument, sure.

      3              Like I said, I haven't developed contract

      4   defenses, and I'm not sure what the contract arguments would

      5   be in the Court of Claims.

      6              THE COURT:    But in other words, they could not

      7   make sort of a traditional APA claim of the kind that

      8   they're making here; for example, the Department of Justice

      9   did not consider reliance interests, for example?         That's

     10   not an argument they could make in a Court of Claims?

     11              MR. BAILEY:    No, Your Honor, I don't believe so.

     12              I think that question would be a matter of

     13   contract interpretation, how do we, within the four corners

     14   of the contract, you know, reasonably interpret this phrase,

     15   what does it encompass, what does it require.       You know, was

     16   it within the expectations of the parties that there be a

     17   reasoned explanation.

     18              But I think that those are questions for the

     19   Claims Court.   And they're the experts in government

     20   contracting.    I'm truthfully not.

     21              But I think that just shows their claims, they

     22   certainly -- they can make them there in some form.

     23              THE COURT:    But your view is that there's no court

     24   that could grant them the relief that they're seeking, which

     25   is reinstatement of the contract -- or reinstatement of the


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      1   grant?

      2              MR. BAILEY:    Yes, Your Honor.

      3              I mean, that's the whole point of -- or a large

      4   part of the point of the Tucker Act is, Congress wanted to

      5   limit the remedies for breach of contract against a

      6   government.

      7              And we may disagree with Congress about that and

      8   think that that's unfair to government contractors, but it

      9   was very intentional, the specific performance.

     10              The limited waiver of sovereign immunity that's

     11   been waived is not eroded further in specific performance;

     12   and I think our papers allude to this, that it raises

     13   separation-of-powers concerns when you have a court

     14   requiring the Executive to continue an ongoing relationship

     15   with a private party that carries, you know, conditions for

     16   both sides, and, you know -- it's invasive.      And so that's

     17   one of, I think, many reasons why specific performance isn't

     18   an available remedy.

     19              And it's -- it seems to me to be why plaintiffs

     20   want to be in this forum, because that's the remedy that

     21   they seek.    They seek the full amount of their grant funds

     22   and the continued ongoing relationship.      But Congress has

     23   decided that that is just not the remedy that's available

     24   when you contract with the government.

     25              THE COURT:    Is it your view that their


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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
     _________________________________________
                                               )
     VERA INSTITUTE OF JUSTICE, et al.,        )
                                               )
                                               )
           Plaintiffs,                         )
                                               )
                  v.                           ) Case No. 25-cv-1643 (APM)
                                               )
     U.S. DEPARTMENT OF JUSTICE, et al.,       )
                                               )
           Defendants.                         )
     _________________________________________ )

                                        MEMORANDUM OPINION

     I.      INTRODUCTION

             In April 2025, the Department of Justice’s Office of Justice Programs, without warning,

     terminated more than 370 multi-year cooperative agreements and grants totaling more than

     $820 million. In identical notices issued to the affected organizations, the Office of Justice

     Programs vaguely explained that the reason for the terminations was that the “awards no longer

     effectuate[] the program goals or agency priorities.” The notices instructed the grantees to stop

     work immediately and informed them that they would be reimbursed only up to the date of

     termination.

             Plaintiffs are five organizations that had their awards terminated.            Asserting both

     constitutional and statutory claims, Plaintiffs seek a preliminary injunction that reverses the

     terminations and restores their awards. They assert that their operational health and ability to fulfill

     their missions depend on the funds promised. Plaintiffs also seek to certify a class comprised of

     the hundreds of other grantees whose awards were terminated and ask that their funding be

     reinstated, too.




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            The Office of Justice Programs’ decision to terminate these awards was unquestionably

     arbitrary, at least in lay terms. The agency advised the grantees that it had “changed its priorities”

     to focus on, among other things, “more directly supporting certain law enforcement operations,”

     “combatting violent crime,” and “supporting American victims of trafficking and sexual assault.”

     The monies awarded to these Plaintiffs, however, were for those very purposes. Lead Plaintiff

     Vera Institute for Justice used one of its awards to train law enforcement on investigating human

     trafficking of persons with disabilities. Plaintiff Children and Youth Justice Center received funds

     to prevent and reduce gun violence against youth in King County, Washington. Plaintiff FORCE

     Detroit put its grant towards community violence intervention in Detroit’s Warrendale-Cody

     Rouge neighborhood. Plaintiff Heath Resources in Action used its funding to support violence

     prevention professionals and programs. And Plaintiff Chinese for Affirmative Action, which does

     business as Stop AAPI Hate, dedicated its grant towards, among other things, increasing safety on

     public transit systems. When asked at oral argument why these awards were no longer consistent

     with the agency’s new priorities, Defendants’ counsel had no answer. He simply shrugged his

     shoulders.

            Defendants’ rescinding of these awards is shameful. It is likely to harm communities and

     individuals vulnerable to crime and violence. No federal agency, especially the Department of

     Justice, should conduct itself in such manner.

            But displeasure and sympathy are not enough in a court of law. The court’s powers are

     limited. It cannot act without jurisdiction or in the absence of a valid cause of action. That is the

     nub here. The court cannot grant Plaintiffs relief because it lacks the power to hear their claims

     under the Administrative Procedure Act, and because Plaintiffs have failed to demonstrate a

     violation of any constitutional right or protection.



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            For those reasons, the court denies preliminary injunctive relief and grants Defendants’

     pending motion to dismiss. As the court denies preliminary relief and dismisses this action, it also

     denies the pending motion for class certification as moot.

     II.    BACKGROUND

            A.      Statutory and Regulatory Background

            The Office of Justice Programs (“OJP”) is the Department of Justice’s (“DOJ’s”) largest

     grantmaking component and “advances DOJ’s mission in part by making thousands of

     discretionary grant agreements to state and local law enforcement agencies, as well as to

     community-based and other non-governmental entities.” See Defs.’ Mot. to Dismiss & Opp’n to

     Pls.’ Mot. for Prelim. Inj., ECF No. 27 [hereinafter Defs.’ Mot. to Dismiss], Decl. of Maureen A.

     Henneberg, ECF No. 27-1 [hereinafter Henneberg Decl.], ¶ 4. According to Defendants, the

     funding for the vast majority of OJP awards is “no year” monies from Congress, meaning that they

     do not need to be spent within the fiscal year for which they are appropriated and they remain

     available until expended. Id. ¶ 17; see, e.g., Consolidated Appropriations Act, 2022, Pub. L. No.

     117-103, 136 Stat. 49, 123–24; Bipartisan Safer Communities Act, Pub. L. No. 117-159, 136 Stat.

     1313, 1338–39 (2022); see also 34 U.S.C. §§ 20101(c), 20103(c)(1)(A) (congressionally created

     Crime Victims Fund which is permanent and available for grants “without fiscal year limitation”).

            Congress earmarked these funds for certain broad purposes, but it did not mandate that the

     funds be awarded to any specific organization. See, e.g., Consolidated Appropriations Act, 2024,

     Pub. L. No. 118-42, 138 Stat. 25, 149 (appropriating “$50,000,000 for a community violence

     intervention and prevention initiative”); Consolidated Appropriations Act, 2022, 136 Stat. at 125

     (appropriating “$184,707,000 . . . for discretionary grants to improve the functioning of the




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     criminal justice system, to prevent or combat juvenile delinquency, and to assist victims of crime”).

     OJP makes discretionary awards from these appropriations. Henneberg Decl. ¶¶ 4–5.

            OJP grants are subject to the Office of Management and Budget’s Uniform Administrative

     Requirements, Cost Principles, and Audit Requirements for Federal Awards (“Uniform

     Guidance”). See 2 C.F.R. § 2800.101 (DOJ adopting the Uniform Guidance). Part of the Uniform

     Guidance addresses when a federal award may be terminated. See 2 C.F.R. § 200.340. It identifies

     four such circumstances, three of which are not at issue here: (1) “the recipient or subrecipient fails

     to comply with the terms and conditions” of the award; (2) the parties consent to termination; or

     (3) the recipient voluntarily terminates the award. Id. § 200.340(a)(1)–(3). The fourth, which is

     at the heart of this case, allows a federal agency to terminate a grant unilaterally “pursuant to the

     terms and conditions of the [] award, including, to the extent authorized by law, if an award no

     longer effectuates the program goals or agency priorities.” Id. § 200.340(a)(4).

            Importantly, any basis for termination must be spelled out in the award itself. The

     regulations provide that the agency “must clearly and unambiguously specify all termination

     provisions in the terms and conditions of the Federal award.” Id. § 200.340(b). An agency

     therefore must have a textual hook to terminate. Thus, if OJP wishes to end an award under

     § 200.340(a)(4) based on its failure to effectuate agency priorities, it can do so only if that basis

     for termination is itself in the terms and conditions of the award. See Guidance for Federal

     Financial Assistance, 89 Fed. Reg. 30,046, 30,089 (Apr. 22, 2024) (clarifying that terminations

     based on an award “no longer effectuat[ing]” agency priorities are allowed “[p]rovided that the

     language is included in the terms and conditions of the award”).




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            B.      Grant Terminations

            At the start of the new Trump administration, there were roughly 11,000 open OJP grant

     awards. Henneberg Decl. ¶ 18. In February 2025, DOJ leadership began a review of those awards,

     “focusing on the possibility of termination of particular OJP awards, grounded in consideration of

     whether (based on their individual project descriptions) they effectuated [DOJ’s] priorities.” Id.

     Defendants say that they conducted an “individualized review of open grant awards,” which within

     weeks reduced “the number of awards under active focus . . . to approximately 2,200.” Id. Then

     throughout April 2025, “OJP was directed to terminate 376 individual, specifically identified

     discretionary grant awards (to 219 recipients), on the basis of the Department determination that

     they ‘no longer effectuate[d] Department priorities.’” Id. ¶ 19. Beyond this, Defendants have

     offered zero insight into what criteria they used to evaluate the project descriptions, reduce the

     number of awards under “active focus,” and determine which of them would ultimately be

     terminated.

            The record includes the termination notices that OJP delivered to the five Plaintiff-

     organizations, all of which are identical. See Pls.’ Mot. for Prelim. Inj., ECF No. 3 [hereinafter

     Prelim. Inj. Mot.], Decl. of Rachel Sottile, ECF No. 3-3 [hereinafter Sottile Decl.,], Exs. 2, 4

     (Center for Children & Youth Justice’s termination letters); Prelim. Inj. Mot., Decl. of Cynthia

     Choi, ECF No. 3-4 [hereinafter Choi Decl.], Ex. 2 (Stop AAPI Hate’s termination letter); Prelim.

     Inj. Mot., Decl. of Dujuan Kennedy, ECF No. 3-5 [hereinafter Kennedy Decl.], Ex. 2 (FORCE

     Detroit’s termination letter); Prelim. Inj. Mot., Decl. of Steven Ridini, ECF No. 3-6 [hereinafter

     Ridini Decl.], Exs. 2, 4, 6 (Health Resources in Action’s termination letters); Prelim. Inj. Mot.,

     Decl. of Nicholas Turner, ECF No. 3-7 [hereinafter Turner Decl.], Ex. 6 (Vera Institute of Justice’s




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     termination letter). Sent via email, the notices immediately ceased future funding. OJP offered

     the same boilerplate explanation to each grant recipient:

                    This award is being terminated because it “no longer effectuates the
                    program goals or agency priorities.” 2 C.F.R. § 200.340(a)(4). The
                    Department has changed its priorities with respect to discretionary
                    grant funding to focus on, among other things, more directly
                    supporting certain law enforcement operations, combatting violent
                    crime, protecting American children, and supporting American
                    victims of trafficking and sexual assault, and better coordinating law
                    enforcement efforts at all levels of government. This award
                    demonstrates that it no longer effectuates Department priorities.

     See, e.g., Sottile Decl., Ex. 2. The notices offered no explanation as to why the grantees’ awards

     no longer effectuated agency priorities. See generally id.

            The notices alerted recipients to an appeals process to dispute their terminations. Id.

     Consistent with 2 C.F.R. § 200.342, grant recipients had 30 days to submit a written appeal to the

     Assistant Attorney General for OJP. Id.

            C.      Procedural Background

            Plaintiffs are five grantees who had their awards terminated in April 2025. See Compl.,

     ECF No. 1 [hereinafter Compl.], ¶¶ 42–43.

                    •   Vera Institute of Justice (“Vera”) is a New York-based nonprofit
                        that seeks “to pilot, test, and scale innovations that prevent crime
                        and address its drivers, increase accountability, and rely less on
                        incarceration and more on the programs and services that help
                        individuals, families, and communities to thrive.” Compl. ¶¶ 17,
                        39. OJP made five awards to Vera totaling $7.25 million running
                        through September 30, 2027. Id. ¶ 40; Turner Decl. ¶¶ 19, 24,
                        31, 37, 45. OJP terminated the awards on April 4, 2025, with
                        approximately $5.4 million in funds remaining. Turner Decl.
                        ¶¶ 8–9.

                    •   The Center for Children & Youth Justice (“CCYJ”) is a
                        Washington state-based nonprofit seeking “to create better lives
                        for generations of children and youth by reforming the child
                        welfare and juvenile justice systems.” Compl. ¶ 13. OJP made
                        two awards to CCYJ totaling $6 million for the fiscal years

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                         ending September 30, 2025, and September 30, 2026. Id. ¶ 28;
                         Sottile Decl. ¶¶ 19, 27. OJP terminated both awards on April 22,
                         2025, with roughly $4.1 million in funds remaining. See Sottile
                         Decl., ¶¶ 9, 11.

                     •   Chinese for Affirmative Action, doing business as Stop AAPI
                         Hate, “is a U.S.-based non-partisan Civil Rights coalition
                         dedicated to ending racism and discrimination against Asian
                         Americans and Pacific Islanders (AAPIs).” Compl. ¶ 14. OJP
                         made a $2 million grant to Stop AAPI Hate to run from October
                         1, 2024, through September 30, 2027. Id. ¶ 32; Choi Decl. ¶ 13.
                         The agency terminated the award on April 22, 2025, after Stop
                         AAPI Hate had withdrawn only $500,000. Choi Decl. ¶¶ 18–19.

                     •   “FORCE         (Faithfully   Organizing     for     Community
                         Empowerment) Detroit is a community violence intervention
                         . . . organization dedicated to building a safer, freer Detroit,
                         Michigan.” Compl. ¶ 15. OJP awarded FORCE Detroit
                         $1,999,998 for the period of October 1, 2024, through
                         September 30, 2027. Kennedy Decl. ¶ 6. OJP terminated the
                         award on April 22, 2025, with $1,945,998 in funds remaining.
                         Id. ¶ 9.

                     •   “Health Resources in Action (‘HRiA’) is a Massachusetts based
                         non-profit organization working to improve and reimagine
                         public health, with a vision of healthy people thriving in
                         equitable and just communities.” Compl. ¶ 16. OJP made three
                         grant awards to HRiA totaling approximately $8.55 million to
                         run through September 30, 2027. Id. ¶ 36; see also Ridini Decl.,
                         ¶¶ 28, 31; id., Exs. 1, 3, 5. OJP terminated all three awards on
                         April 22, 2025, with over $6.75 million in funds remaining.
                         Ridini Decl. ¶¶ 11–12.

              Plaintiffs filed suit on May 21, 2025, challenging the grant terminations. See generally

     Compl.     They assert both statutory and constitutional claims.      They allege that the grant

     terminations (1) were arbitrary and capricious, contrary to law, and contrary to a constitutional

     right under the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 702, 706(2)(A) (Counts V and

     VI); (2) violated their right to due process under the Fifth Amendment, and were based on an

     unconstitutionally vague regulation (Counts I and II); and (3) violated the doctrine of the

     separation of powers, the Spending and Appropriations Clauses, and the Take Care Clause

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     (Count IV). See id. ¶¶ 82–98, 104–34. They also assert an equitable ultra vires claim against the

     individual Defendants, the Attorney General and the acting head of OJP (Count III). Id. ¶¶ 99–

     103.

                Plaintiffs also seek to proceed as representatives of a class. They request certification of a

     class as follows:

                         All entities in the United States issued awards by the
                         U.S. Department of Justice (DOJ) Office of Justice Programs,
                         whose grants DOJ terminated in April 2025 pursuant to 2 C.F.R.
                         § 200.340(a)(4).

     Compl. ¶ 74.

                Plaintiffs demand various forms of relief. 1 In sum, they ask the court (1) to declare

     unlawful, vacate, and set aside OJP’s en masse terminations of the putative class members’ grants;

     (2) to declare that the terminations violate the Fifth Amendment, the separation of powers, the

     Take Care Clause, and the Appropriations and Spending Clauses; (3) to declare that the

     terminations based on 2 C.F.R. § 200.340(a), and OJP’s interpretation of that regulation, are

     unlawful; (4) to preliminarily and permanently enjoin Defendants from giving effect to the

     terminations and re-obligating those funds to other organizations; and (5) to “[e]nter an order in

     the exercise of the court’s equitable powers that directs Defendants to take all steps necessary to

     ensure that OJP disburses funds to Plaintiffs in the customary manner and in customary

     timeframes[.]” Id. at 29–31.

                Plaintiffs simultaneously moved for preliminary injunctive relief and class certification.

     See Class Cert. Mot., ECF No. 2; Prelim. Inj. Mot. Defendants opposed such relief and moved

     to dismiss for lack of subject matter jurisdiction and for failure to state a claim. See Defs.’ Mot.

     to Dismiss. The court held a hearing on the pending motions on June 26, 2025.


     1
         The Complaint lists 17 separate forms of relief. Compl. at 29–31. The court has distilled them to five.

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     III.   LEGAL STANDARDS

            A.      Preliminary Injunction

            Preliminary injunctive relief is an “extraordinary and drastic remedy” that is “never

     awarded as [a matter] of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (internal quotation

     marks and citations omitted). A court may grant the “extraordinary remedy . . . [only] upon a clear

     showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.

     7, 22 (2008) (citing Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam)).

     The preliminary injunction factors are well established: plaintiffs must show that (1) they are

     “likely to succeed on the merits”; (2) they are “likely to suffer irreparable harm in the absence of

     preliminary relief”; (3) “the balance of equities tips in [their] favor”; and (4) “an injunction is in

     the public interest.” Id. at 20 (citations omitted). Where the federal government is the opposing

     party, the balance of equities and public interest factors merge. See Nken v. Holder, 556 U.S. 418,

     435 (2009).

            Prior to the Supreme Court’s decision in Winter, the D.C. Circuit “allowed . . . a strong

     showing on one factor” to “make up for a weaker showing on another.” Sherley v. Sebelius,

     644 F.3d 388, 392 (D.C. Cir. 2011). The D.C. Circuit has since repeatedly suggested that this

     “sliding scale” approach does not remain good law after Winter, but it has not squarely said so.

     See, e.g., id. at 392–93; Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1292 (D.C. Cir.

     2009); Aamer v. Obama, 742 F.3d 1023, 1043 (D.C. Cir. 2014); Changji Esquel Textile Co. v.

     Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022); Clevinger v. Advocacy Holdings, Inc., 134 F.4th

     1230, 1235–36 (D.C. Cir. 2025). It has emphasized that “the first and most important” of these

     four factors is whether the movant “ha[s] established a likelihood of success on the merits.”

     Aamer, 742 F.3d at 1038. If a plaintiff cannot show a likelihood of success on the merits, “there



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     is no need to consider the remaining factors.” Greater New Orleans Fair Hous. Action Ctr. v. U.S.

     Dep’t of Hous. & Urban Dev., 639 F.3d 1078, 1088 (D.C. Cir. 2011). “[T]he ‘merits’ on which [a]

     plaintiff must show a likelihood of success encompass not only substantive theories but also

     establishment of jurisdiction.” Obama v. Klayman, 800 F.3d 559, 565 (D.C. Cir. 2015).

             B.      Motion to Dismiss

                     1.      Rule 12(b)(1)

             The court must dismiss a claim as to which it lacks subject matter jurisdiction.

     See Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006); see Fed. R. Civ. P. 12(b)(1), 12(h)(3). The

     plaintiff bears the burden of establishing the court’s subject-matter jurisdiction. See Lujan v. Defs.

     of Wildlife, 504 U.S. 555, 561 (1992). The court must accept all well-pleaded factual allegations

     in the complaint as true. See Jerome Stevens Pharm., Inc. v. Food & Drug Admin., 402 F.3d 1249,

     1253–54 (D.C. Cir. 2005) (citation omitted). “[W]here necessary, the court may consider the

     complaint supplemented by undisputed facts evidenced in the record, or the complaint

     supplemented by undisputed facts plus the court’s resolution of disputed facts” when resolving a

     motion under Rule 12(b)(1). Coal. for Underground Expansion v. Mineta, 333 F.3d 193, 198

     (D.C. Cir. 2003) (quoting Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992)).

                     2.      Rule 12(b)(6)

             To survive a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), “a

     complaint must contain sufficient factual matter . . . to state a claim to relief that is plausible on its

     face.” Sickle v. Torres Advanced Enter. Sols., LLC, 884 F.3d 338, 344–45 (D.C. Cir. 2018)

     (alteration in original) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A claim satisfies the

     plausibility standard “when the plaintiff pleads factual content that allows the court to draw the




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     reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

     678 (citation omitted).

     IV.    JURISDICTION

            Defendants first argue that Plaintiffs’ claims—all of them—must be dismissed because they

     “stem from grant agreements with the government and seek relief that is quintessentially

     contractual.” Defs.’ Mot. to Dismiss at 1. “[T]his suit belongs in the Court of Federal Claims,”

     they say. Id. In so arguing, Defendants require this court to wade into the ongoing controversy

     over whether federal grant termination cases belong in federal district courts or in the Court of

     Federal Claims. See, e.g., Harris Cnty. v. Kennedy, --- F. Supp. 3d ---, 2025 WL 1707665, at *14

     (D.D.C. 2025) (citing cases with various approaches to the issue in this District).

            “The United States and its agencies are generally immune from suit in federal court absent

     a clear and unequivocal waiver of sovereign immunity.” Crowley Gov’t Servs., Inc. v. Gen. Servs.

     Admin., 38 F.4th 1099, 1105 (D.C. Cir. 2022) (citing Kalodner v. Abraham, 310 F.3d 767, 769

     (D.C. Cir. 2002)). Under the APA, Congress has waived sovereign immunity on a limited basis

     for lawsuits by “[a] person suffering legal wrong because of agency action, or adversely affected

     or aggrieved by agency action within the meaning of a relevant statute, . . . [and] seeking relief

     other than money damages.” 5 U.S.C. § 702; see Crowley, 38 F.4th at 1105–06. The waiver does

     not apply, however, “if any other statute that grants consent to suit expressly or impliedly forbids

     the relief which is sought.” Crowley, 38 F.4th at 1106 (quoting Perry Cap. LLC v. Mnuchin,

     864 F.3d 591, 618 (D.C. Cir. 2017) (quoting 5 U.S.C. § 702)).

            According to Defendants, the “other statute” that forecloses this court’s jurisdiction in this

     case is the Tucker Act. That law “confer[s] exclusive jurisdiction over breach of contract claims

     against the United States seeking more than $10,000 in damages on the Court of Federal Claims.”



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     Id. at 1106 (quoting Hammer v. Untied States, 589 F.3d 1, 2 (D.C. Cir. 2021) (citations omitted)).

     The D.C. Circuit has interpreted the Tucker Act as “impliedly forbid[ding] contract claims against

     the Government from being brought in district court under the waiver in the APA.” Id. (internal

     quotation marks omitted) (quoting Perry Cap., 84 F.3d at 618–19).

            A.      Constitutional and Ultra Vires Claims

            Subject matter jurisdiction cannot be evaluated on a case-wide basis. “To resolve the

     sovereign immunity and jurisdiction questions, [the court] must consider [Plaintiffs’] claims

     individually[.]” Transohio Sav. Bank v. Dir., Off. of Thrift Supervision, 967 F.2d 598, 609 (D.C.

     Cir. 1992). Though Defendants in their opposition brief failed to appreciate this nuance, their

     counsel acknowledged at argument that jurisdiction may lie for certain claims and not for others.

     See Hr’g Tr. 6/26/25, ECF No. 46 [hereinafter Tr.], 74:2-4 (“[I]nsofar as they have truly

     independent constitutional claims, this [c]ourt has jurisdiction.”).

            That concession was wise. Where the “source of the rights upon which the plaintiff bases

     its claims,” Megapulse v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982), is constitutional or statutory,

     the D.C. Circuit has said that such claims belong in federal district court, see Transohio, 967 F.2d

     at 609–10 (“[L]itigants may bring statutory and constitutional claims in federal district court even

     when the claims depend on the existence and terms of a contract with the government.”). Further,

     the fact that a favorable outcome might require the payment of money is no impediment to

     jurisdiction. “[A] federal district court may accept jurisdiction over a statutory or constitutional

     claim for injunctive relief even where the relief sought is an order forcing the government to obey

     the terms of a contract—that is, specific performance.” Id. at 610.

            The D.C. Circuit’s decisions in Transohio and Sharp v. Weinberger are illustrative. In both

     cases, the court held that the APA waived sovereign immunity for the plaintiffs’ due process claims,



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     where they had asserted that government “contracts gave them a property interest, the denial of

     which the Constitution prohibits.” Transohio, 967 F.2d at 610; see Sharp v. Weinberger, 798 F.2d

     1521, 1523–24 (D.C. Cir. 1986). The plaintiffs in both cases also sought injunctive and declaratory

     relief. See Transohio, 967 F.2d at 610; Sharp, 798 F.2d at 1523.

            Transohio and Sharp establish this court’s jurisdiction to hear Plaintiffs’ due process claims

     (Counts I and II). Like those cases, Plaintiffs here contend that their grant awards gave them

     “a protected property interest,” which OJP stripped “without the procedural due process rights to

     which they are entitled.” Compl. ¶¶ 85, 87. Plaintiffs further assert that OJP deprived them of

     their property rights based on an unconstitutionally vague application of § 200.340(a)(4). Id.

     ¶¶ 94–95. They seek injunctive and declaratory relief that would compel OJP to pay in full the

     remaining grant funds. The APA therefore waives the United States’ sovereign immunity as to

     these claims. See Transohio, 967 F.2d at 610.

            The same result obtains for Plaintiffs’ other constitutional claims. “The core principle

     underlying” Plaintiffs’ separation of powers, Spending and Appropriation Clauses, and Take Care

     Clause claims (Count IV) “is that the Constitution gives Congress, not the Executive Branch,

     exclusive power over spending.” Harris Cnty., 2025 WL 1707665, at *4 (citing Dep’t of Navy v.

     Fed. Lab. Rels. Auth., 665 F.3d 1339, 1346 (D.C. Cir. 2012)); see also In re Aiken Cnty., 725 F.3d

     255, 259 (D.C. Cir. 2013) (stating that the Executive Branch must follow statutory mandates where

     appropriated funds remain available). The source of these claimed rights is thus the Constitution,

     not any grant award. The court therefore can hear those claims. See Harris Cnty., 2025 WL

     1707665, at *4–6.

            So, too, as to Plaintiffs’ equitable ultra vires cause of action (Count III). The rights sought

     to be vindicated through that claim are those same constitutional and statutory principles regarding



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     Congress’s power of the purse. See, e.g., Harris Cnty., 2025 WL 1707655, at *16; Widakuswara

     v. Lake, No. 25-5144, 2025 WL 1288817, at *10 (D.C. Cir. May 3, 2025) (Pillard, J., dissenting)

     [hereinafter Widakuswara I], on reconsideration en banc, No. 25-5144, 2025 WL 1521355, at *1

     (D.C. Cir. May 28, 2025) (vacating the panel’s decision for “substantially . . . the reasons explained

     by Judge Pillard”). Plaintiffs’ position as to the ultra vires claim “is ultimately based, not on breach

     of contract, but on an alleged governmental . . . violation of” constitutional principles and the

     relevant appropriations statutes. Megapulse, 672 F.2d at 969.

             B.      APA Claims

             Whether the court has jurisdiction over the APA claims (Counts V and VI) is more

     complicated. The D.C. Circuit has “interpreted the Tucker Act as providing the exclusive remedy

     for contract claims against the government, at least vis a vis the APA.” Transohio, 967 F.2d at 609.

     “[A]n action against the United States which is at its essence a contract claim lies within the Tucker

     Act and . . . a district court has no power to grant injunctive relief.” Megapulse, 672 F.2d at 967

     (emphasis added). The “longstanding test” in this Circuit “for determining whether a claim falls

     within the exclusive jurisdiction of the Claims Court pursuant to the Tucker Act” turns on two

     factors: “the source of the rights upon which the plaintiff bases its claims,” and “the type of relief

     sought (or appropriate).” Crowley, 38 F.4th at 1106 (quoting Megapulse, 672 F.2d at 968). In

     assessing those factors, the court must be careful to guard against “a disguised contract action,”

     Megapulse, 672 F.2d at 968, that seeks to avoid the Tucker Act “merely by alleging violations of

     regulatory or statutory provisions rather than breach of contract,” Ingersoll-Rand Co. v. United

     States, 780 F.2d 74, 77 (D.C. Cir. 1985).

             Plaintiffs make two APA claims. First, they assert that “OJP’s en masse termination of an

     estimated 373 grants, on the same day, using the same cursory and unspecific rationale” was



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     arbitrary and capricious agency action. Prelim. Inj. Mot., Mem. in Supp., ECF No. 3-1 [hereinafter

     Prelim Inj. Mem.], at 19; see 5 U.S.C. § 706(2)(A).            Second, Plaintiffs contend that the

     terminations violated § 200.340(a)(4), and are thus contrary to law, insofar as none of their award

     documents contained a provision that would permit OJP to terminate awards based on changed

     agency priorities. Compl. ¶ 120; see 5 U.S.C. § 706(2)(A).

            The court holds that both APA claims are essentially contractual in nature and belong in

     the Court of Federal Claims.

                    1.      Department of Education v. California

            The Supreme Court’s recent decision in Department of Education v. California frames the

     jurisdictional inquiry. 145 S. Ct. 966, 968 (2025) [hereinafter California III]. Some detail about

     the lower court proceedings is helpful to put the Supreme Court’s decision in context.

            Various states filed suit against the Secretary of Education for terminating “all grants

     previously awarded” under congressionally funded programs that provided grants to help teachers

     in underserved areas. California v. Dep’t of Educ., 769 F. Supp. 3d 72, 75 (D. Mass. 2025)

     [hereinafter California I]. The plaintiffs asserted that the terminations were both arbitrary and

     capricious and contrary to law under the APA; they did not, however, assert any constitutional or

     ultra vires claims. See Compl., ECF No. 1, ¶¶ 161–86, California v. Dep’t of Educ., No. 25-cv-

     10548-AK (D. Mass.).

            Their APA claims were identical to those asserted here. The plaintiffs in California I

     insisted that the grant terminations were arbitrary and capricious because the defendants did not

     engage in reasoned decisionmaking, did not conduct an individual analysis of each termination,

     and failed to consider the reliance interests of the grant recipients. Id. ¶ 13. As to the contrary-to-

     law claim, the plaintiffs maintained that “because the authority on which Defendants rely,” 2 C.F.R.



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     § 200.340(a)(4), “does not authorize termination on the independent grounds of ‘Department

     priorities,’” the agency had to “‘clearly and unambiguously specify all termination provisions in

     the terms and conditions of the federal award.’” Id. ¶ 14 (quoting 2 C.F.R. § 200.340(b)). Because

     “the terms and conditions of the . . . grant awards [did] not authorize termination on these grounds,”

     the terminations were not “authorized by law.” Id. As relief, the plaintiffs requested that the court

     “vacate and set aside [the defendants’] termination of all previously-awarded” grants and “restore

     recipients . . . to the pre-existing status quo prior to the termination.” See id. at 51–52.

             The district court granted the requested temporary restraining order (“TRO”).

     See California I, 769 F. Supp. 3d at 75. In doing so, it rejected the same jurisdictional argument

     Defendants make here. The court ruled that the case did not belong in the Court of Federal Claims

     because “the ‘essence’ of the action was not contractual in nature,” as the plaintiffs did not allege

     “claims for past pecuniary harms” and “the dispute [did] not hinge on the terms of a contract

     between the parties, but rather ‘federal statute and regulations put in place by Congress and the

     [Department of Education].’” Id. at 76 (quoting Massachusetts v. Nat’l Insts. of Health, 770 F.

     Supp. 3d 277, 293 (D. Mass. 2025)). On the merits, the court held that the grant terminations were

     arbitrary and capricious because the Department of Education had failed to conduct individualized

     analysis or offer a reasoned explanation for its en masse terminations. Id. at 76–78. The court did

     not reach the contrary-to-law claim. Id. at 78 n.3. As relief, the district court ordered the

     defendants to “immediately restore Plaintiff States to the pre-existing status quo prior to the

     termination under all previously awarded . . . grants for recipients in Plaintiff States,” among

     others. Id. at 80.

             The defendants appealed and moved for a stay, which the First Circuit denied. California

     v. U.S. Dep’t of Educ., 132 F.4th 92, 96–97 (1st Cir. 2025) [hereinafter California II]. The appellate



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     court held that jurisdiction was proper because, “although the terms and conditions of each

     individual grant award are at issue, the ‘essence’ . . . of the claims is not contractual” as “the States

     challenge the Department’s actions as insufficiently explained, insufficiently reasoned, and

     otherwise contrary to law—arguments derived from the [APA].” Id. at 96–97. “Simply put, if the

     Department breached any contract, it did so by violating the APA.” Id. at 97. The court further

     reasoned that, because the plaintiffs sought equitable relief by requiring the Department to continue

     paying out appropriated funds, “[t]he fact that a judicial remedy may require one party to pay

     money to another is not a sufficient reason to characterize the relief as ‘money damages.’” Id.

     (quoting Bowen v. Massachusetts, 487 U.S. 879, 893 (1988)).

             The Supreme Court reversed and granted the defendants a stay. California III, 145 S. Ct.

     at 968–69. It held that “the Government is likely to succeed in showing the District Court lacked

     jurisdiction to order the payment of money under the APA.” Id. at 968. The Court recognized that

     “a district court’s jurisdiction ‘is not barred by the possibility’ that an order setting aside an

     agency’s action may result in the disbursement of funds,” id. (quoting Bowen, 487 U.S. at 910),

     but distinguished Bowen insofar as “the APA’s limited waiver of immunity does not extend to

     orders ‘to enforce a contractual obligation to pay money’ along the lines of what the District Court

     ordered here,” id. (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212

     (2002)).

             The Supreme Court’s sparse reasoning in California III has sown confusion in this

     jurisdiction. Several judges on the D.C. Circuit “appear to have suggested that [California III]

     forecloses district-court jurisdiction in grant-termination cases altogether.” Harris Cnty., 2025 WL

     1707665, at *14 (citing Widakuswara v. Lake, No. 25-5150, 2025 WL 1521355, at *2 (D.C. Cir.

     May 28, 2025) (Katsas, J., dissenting, joined by Henderson, Rao, and Walker, JJ.) [hereinafter



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     Widakuswara II]). Another D.C. Circuit judge did not go as far. She instead distinguished between

     “entities created by statute and designated by Congress to receive specified sums” and entities

     whose “only claim was to sums awarded to them in previously awarded discretionary grants,” with

     jurisdiction proper in federal district court in the former but not the latter. Widakuswara I, 2025

     WL 1288817, at *13 (Pillard, J., dissenting); see also Widakuswara II, 2025 WL 1521355, at *1

     (granting motion for en banc reconsideration and vacatur of government’s stay pending appeal for

     “substantially” the same “reasons explained by Judge Pillard”).

            Nor have judges in this District been uniform in their application of California III.

     See Harris Cnty., 2025 WL 1707665, at *4–6, 14–15 (allowing constitutional claims to proceed,

     declining to rule on APA contrary-to-statute and contrary-to-regulation claims, and finding that an

     APA arbitrary-and-capricious claim is subject to California III’s bar); S. Educ. Found. v. U.S. Dep’t

     of Educ., --- F. Supp. 3d ---, 2025 WL 1453047, at *6–11 (D.D.C. 2025) (allowing an APA

     arbitrary-and-capricious claim to proceed, reasoning that California III “does not displace

     governing law”); Am. Ctr. for Int’l Labor Solidarity v. Chavez-Deremer, No. 25-cv-1128 (BAH),

     2025 WL 1795090, at *12–20 (D.D.C. June 30, 2025) (explaining that exclusive Tucker Act

     jurisdiction does not apply to claims that “seek[] relief based only on an alleged statutory or

     constitutional violation,” and finding jurisdiction because the cooperative agreements at issue did

     not resemble contracts); Climate United Fund v. Citibank, N.A., --- F. Supp. 3d ---, 2025 WL

     1131412, at *9–12 (D.D.C. 2025) (allowing APA, statutory, and constitutional claims to proceed);

     U.S. Conf. of Cath. Bishops v. U.S. Dep’t of State, 770 F. Supp. 3d 155, 163 (D.D.C. 2025) (holding

     that APA-styled claims belonged in the Court of Federal Claims where the plaintiff wanted the

     court “to order the Government to stop withholding the money due under the Cooperative

     Agreements”).



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                    2.      Application

                            a.      Arbitrary and capricious

            Against this unsettled terrain, this court agrees with Harris County’s approach and finds

     that it lacks jurisdiction over Plaintiffs’ arbitrary-and-capricious claim under California III. As in

     Harris County, the arbitrary-and-capricious claim here “appears in all material respects identical”

     to that of California III. Harris Cnty., 2025 WL 1707665, at *15. That is: (1) Plaintiffs’ challenge

     “involve[s] a statute that required the Executive Branch to issue grants . . . for specified purposes”;

     (2) “the Executive Branch terminated [the] grants en masse with a boilerplate, one-paragraph

     explanation”; and (3) “the plaintiffs challenged that explanation under the APA on the ground that

     one paragraph does not cut it.” Id. (citing California III, 145 S. Ct. at 970–71, 975); see also

     Prelim. Inj. Mem. at 18–22.

            Plaintiffs respond that California III does not control because (1) the grants and cooperative

     agreements at issue are not the type of contract that can give rise to Tucker Act jurisdiction,

     see Prelim. Inj. Mem. at 31–33, and (2) California III’s precedential value is questionable, see id.

     at 36. Plaintiffs, however, fail to explain how the grant agreements in this case differ from those

     in California III, which the Supreme Court treated as contracts implicating Tucker Act jurisdiction.

     See California III, 145 S. Ct. at 968. Plaintiffs instead argue that the Supreme Court “had no

     occasion whether to consider the grant agreements there were the type of contract that can give

     rise to Tucker Act jurisdiction because no party raised that issue.” Prelim. Inj. Mem. at 36. That

     is doubtful. After all, the Court held that the plaintiff’s arbitrary-and-capricious claim was

     essentially contractual. It would be foolhardy to assume that the Supreme Court did not at least

     implicitly consider whether the grants at issue were contracts in the first place.




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            In any event, Plaintiffs’ position is at odds with authorities from the Federal Circuit, which

     has developed robust caselaw as to what constitutes a contract for purposes of the Tucker Act.

     Where there is “(1) mutuality of intent to contract; (2) offer and acceptance; (3) consideration; and

     (4) a government representative having actual authority to bind the United States,” there is an

     enforceable contract for purposes of the Tucker Act. Columbus Reg’l Hosp. v. United States,

     990 F.3d 1330, 1339 (Fed. Cir. 2021). The Federal Circuit “treat[s] federal grant agreements as

     contracts when the standard conditions for a contract are satisfied, including that the federal entity

     agrees to be bound.” Id. at 1338.

            Plaintiffs argue that the grant and cooperative agreements at issue “are not contracts at all”

     because they lack consideration, that is, a “‘direct, tangible’” benefit to the government. Prelim.

     Inj. Mem. at 31 (quoting Am. Near E. Refugee Aid v. U.S. Agency for Int'l Dev., 703 F. Supp. 3d

     126, 133 (D.D.C. 2023)). But the Federal Circuit has ruled otherwise. In Columbus Regional, the

     court held that there was consideration in a disaster grant agreement, where the grant recipient

     “agreed to comply with an array of requirements attached to the receipt, use, and distribution of

     the grant money.” Columbus Reg’l, 990 F.3d at 1340; see id. (“[C]onsideraton may consist of

     performance or a return promise to perform, and performance ‘may be a specified act of

     forbearance, or any one of several specified acts or forbearances of which the offeree is given the

     choice, or such conduct as will produce a specified result.’”) (quoting Restatement (Second of

     Contracts) § 71 cmt. d (1981)). And further “at least some of the conditions imposed on [the

     recipient] confer[red] a benefit on the government, such as [the recipient’s] promises to serve as a

     collector or reimburser of funds procured by fraud and to report employees who have committed

     drug offenses.” Id. Similarly, in State of Texas v. United States, the predecessor Court of Claims

     concluded that “defendant’s valid execution of a document, which it prepared and titled ‘Federal-



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     State Disaster Assistance Agreement,’ specifying that ‘Federal assistance will be made available

     in accordance with (various specified laws, Executive Orders and regulations)’ obligates defendant

     to provide such assistance as called for by the parties’ agreement.” 537 F.2d 466, 468–69 (Ct. Cl.

     1976).

              As in those cases, Plaintiffs here “agreed to comply with an array of requirements attached

     to the receipt, use, and distribution of the grant money.” Columbus Reg’l, 990 F.3d at 1340;

     see also Henneberg Decl. ¶¶ 11–12. The grantees accepted the awards from OJP subject to dozens

     of “Conditions.” See, e.g., Defs.’ Mot. to Dismiss, Exs. 2, 3, ECF Nos. 27-2 [hereinafter CYJC

     Award], 26-3 (CYJC award containing 52 conditions). The government also received some direct

     benefit from the agreements, such as a promise by the recipient to collect, maintain, and provide

     data to OJP about program performance and effectiveness, see CYJC Award at 10 (Condition 13),

     and to report any fraud, waste, and abuse, id. at 15 (Condition 29).

              Plaintiffs also argue that “even if the grant agreements here qualified as contracts, they are

     not the type of contract over which the Court of Federal Claims has jurisdiction” because they

     contain no “affirmative indication that the agreement[s] create[] a right to money damages.”

     Prelim. Inj. Mem. at 31, 32; see Rick’s Mushroom Serv., Inc. v. United States, 521 F.3d 1338, 1343

     (Fed. Cir. 2008) (holding that a cooperative agreement did “not provide a substantive right to

     recover money-damages”). But “[n]ormally contracts do not contain provisions specifying the

     basis for the award of damages in case of breach,” and “[t]he fact that this contract covers

     government financial grants does not warrant a different standard”—“[i]f the government has

     breached the Agreement, [Plaintiffs are] entitled to seek whatever damages [they are] entitled to

     receive.” San Juan City Coll. v. United States, 391 F.3d 1357, 1361 (Fed. Cir. 2004).




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            Plaintiffs acknowledge this principle but point to the Court of Federal Claims’ decision in

     St. Bernard Parish Government v. United States for the proposition that money damages are not

     available under a cooperative agreement where “no ‘specific provision in the agreement

     contemplate[s] money damages for breach’” by the federal agency. See Prelim. Inj. Mem. at 33

     (quoting 134 Fed. Cl. 730, 735 (2017)). But this position is at odds with the Federal Circuit’s

     decision in San Juan City College, which, as here, involved a federal grant agreement that did not

     contain a specific provision for money damages. See also San Antonio Hous. Auth. v. United

     States, 143 Fed. Cl. 425, 462–63 (2019) (disagreeing with St. Bernard Parish that cooperative

     agreements are not afforded a presumption of monetary damages). The trial-level decision in

     St. Bernard Parish therefore is not persuasive.

            Ultimately, the Supreme Court’s ruling in California III forecloses the exercise of

     jurisdiction over Plaintiffs’ arbitrary-and-capricious claim. Although California III does not

     displace other Supreme Court and D.C. Circuit precedent, see Am. Ctr. for Int’l Labor Solidarity,

     2025 WL 1795090, at *20; S. Educ. Found., 2025 WL 1453047, at *9, the Court has spoken in a

     case substantially the same as this one. This court must listen. See Harris Cnty., 2025 WL

     1707665, at *15; cf. Trump v. CASA, Inc., --- S. Ct. ---, 2025 WL 1773631, at *22 (June 27, 2025)

     (Kavanaugh, J., concurring) (“[W]hen this Court makes a decision on the interim legal status of a

     major new federal statute or executive action—that decision will often constitute a form of

     precedent (de jure or de facto) that provides guidance throughout the United States during the

     years-long interim period until a final decision on the merits.”).

            The court holds that Plaintiffs have not established this court’s jurisdiction over their

     arbitrary-and-capricious APA claim, and therefore both denies injunctive relief and grants

     dismissal as to that claim. See Spectrum Leasing Corp. v. United States, 764 F.2d 891, 895 (D.C.



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     Cir. 1985) (affirming dismissal where the matter was determined to be within the Court of Federal

     Claims’ jurisdiction).

                               b.       Contrary to law

             Though the arbitrary-and-capricious claim is governed by California III, Plaintiffs’

     contrary-to-law claim arguably stands on a different footing. 2 Recall, the Supreme Court in

     California III had no occasion to consider jurisdiction over a contrary-to-law claim, because the

     district court did not reach it when granting the TRO. See California I, 769 F. Supp. 3d at 78 n.3.

     Still, Plaintiffs’ contrary-to-law claim runs aground for a different reason: D.C. Circuit precedent

     requires dismissal for lack of jurisdiction. See Spectrum Leasing Corp., 764 F.2d 891; Ingersoll-

     Rand, 780 F.2d 74.

             At issue in Spectrum Leasing was a contract awarded to Spectrum by the General Services

     Administration (“GSA”) to develop a data communications network. 764 F.2d at 892. The

     government eventually terminated the contract by invoking its liquidated damages clause, after

     which Spectrum sued, claiming that GSA violated the procedures set forth in the Debt Collection

     Act, 31 U.S.C. §§ 3701 et seq. Id. Spectrum sought (1) a declaration that GSA violated Spectrum’s

     rights under the Debt Collection Act and (2) “an injunction compelling the GSA to cease

     withholding hardware and maintenance payments under the contract.” Id. The D.C. Circuit found

     that Spectrum’s suit belonged in the Court of Federal Claims because it sought “an injunction

     requiring the government to pay monies owed for computer hardware,” and “[t]he right to these

     payments is created in the first instance by the contract, not by the Debt Collection Act.” Id. at

     894. That is, “[t]he [Debt Collection Act], even if it applied, confers no such right in the absence



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       Plaintiffs also assert an APA claim that Defendants’ terminations are “contrary to constitutional right, power,
     privilege, or immunity.” 5 U.S.C. § 706(2)(B); see Prelim. Inj. Mem. at 18; Compl. at 26 (Count V). The court allows
     this portion of the APA claim to proceed for the same reasons described in Section III.A, supra.

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     of the contract itself”—though the Act “might impose procedural requirements on the government

     having some impact on the contract, the Act in no way creates the substantive right to the remedy

     Spectrum seeks.” Id. The Circuit also looked to the type of relief sought, noting that “Spectrum

     seeks an order compelling the government to pay money owed in exchange for goods procured

     under an executory contract,” which it likened to “the classic contractual remedy of specific

     performance.” Id. Based on “the source of the rights” and “the type of relief sought,” the

     D.C. Circuit concluded that Spectrum’s claims were not properly in the jurisdiction of the federal

     district court. Spectrum Leasing, 764 F.2d at 893, 895 (quoting Megapulse, 672 F.2d at 968).

            Then there is Ingersoll-Rand. In that case, the plaintiff challenged the Air Force’s decision

     to terminate its contract for convenience pursuant to Federal Acquisition Regulation 52.249-2(a),

     which was incorporated into the contract. 780 F.2d at 75. The essence of Ingersoll-Rand’s

     argument was that the termination of the contract violated two other federal regulations and thus

     was arbitrary and capricious under the APA. Id. at 77. Applying the Megapulse test, the

     D.C. Circuit found that “the essential rights at stake . . . are contractual” and that “the essence of

     [Ingersoll-Rand’s] claim is a request for specific performance of the original contract.” Id. at 77,

     79. As to the source of the rights, the court found that it was “possible to conceive of this dispute

     as entirely contained within the terms of the contract” since the issue was really whether the text

     of the contract forbids termination under the challenged conditions.          Id. at 78. “That the

     termination also arguably violates certain other regulations does not transform the action into one

     based solely on those regulations. Nor does plaintiff’s decision to allege only a violation of the

     regulations change the essential character of the action.” Id. And, as to the remedy, since Ingersoll-

     Rand “requested an order reinstating the original award of the contract,” it in essence requested




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     specific performance, and it could not sidestep Tucker Act jurisdictional limitations merely by

     seeking “a declaratory and injunctive order.” Id. at 79–80.

            Plaintiffs’ contrary-to-law claim is on par with Spectrum Leasing and Ingersoll-Rand.

     First, as to the source of the right, “it is possible to conceive of this dispute as entirely contained

     within the terms of the contract.” Ingersoll-Rand, 780 F.2d at 78. The regulation that Defendants

     allegedly violated requires that the basis for termination be spelled out in “the terms and conditions

     of the Federal award.” 2 C.F.R. § 200.340(a)(4); see also id. § 200.340(b). Thus, to determine

     whether OJP violated § 200.340(a)(4), the court must look back to the awards themselves. It must

     ask: Do the agreements contain a term permitting OJP to terminate the award for no longer

     effectuating agency priorities, or is such provision absent? That is a classic contract question.

     Although § 200.340(a) “might impose procedural requirements on the government having some

     impact on the contract,” it “in no way creates the substantive right to the remedy [Plaintiffs]

     seek[].” Spectrum Leasing, 764 F.2d at 895. Put differently, Plaintiffs “right to the [ ] payments

     arose only upon creation and satisfaction of its [grant award from] the government; in no sense did

     it exist independently of that [award].” Id. at 894.

            The remedy sought also marks the claim as essentially contractual.              Plaintiffs seek

     continued payment of the grants—in other words, specific performance. “A request for specific

     performance must be resolved by the Claims Court” when, as here, the source of right is

     contractual. Ingersoll-Rand, 780 F.2d at 80; Spectrum Leasing, 764 F.2d at 894 (“Spectrum seeks

     the classic contractual remedy of specific performance.”); see also Transohio, 967 F.2d at 613

     (explaining that the Supreme Court’s decision in Bowen did not overrule the D.C. Circuit’s “very

     specific holdings that the APA does not waive sovereign immunity for contract claims seeking

     specific relief”); U.S. Conf. of Catholic Bishops, 770 F. Supp. 3d at 162–64 (holding that claims



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     belonged in the Court of Federal Claims where the plaintiffs asked “to cancel the termination, pay

     money due, and reinstate the contracts”).

            Plaintiffs fail to grapple with Spectrum Leasing and Ingersoll-Rand. See, e.g., Tr. at 12:4–

     17:5. Indeed, their papers nowhere cite, let alone seek to distinguish, those cases. Their leading

     argument goes to the remedy prong of the inquiry, which is that they seek additional “non-

     monetary relief that has ‘considerable value’ independent of any future potential for monetary

     relief.” Pls.’ Reply in Supp. of Prelim. Inj. Mot. and Opp’n to Defs.’ Mot. to Dismiss, ECF No. 37

     [hereinafter Pls.’ Reply & Opp’n], at 30 (quoting Kidwell v. Dep’t of Army, 56 F.3d 279, 284 (D.C.

     Cir. 1995) and citing Crowley, 38 F.4th at 1107–08). But this case bears no resemblance to Crowley

     and fails the Kidwell “considerable value” test.

            Crowley involved audits by GSA of a contract between the plaintiff and the Department of

     Defense, which resulted in notices of overcharge. Crowley, 38 F.4th at 1102–03. Crowley sought

     a judgment (1) declaring GSA did not have statutory audit authority over the contract, (2) declaring

     that the notices of overcharge were contrary to statute, and (3) enjoining GSA from additional

     audits and issuing further notices. Id. at 1104. The D.C. Circuit found that there was considerable

     independent value in preventing GSA from interfering with the contract. Id. at 1111. Furthermore,

     it did not matter that money might flow from the government fisc from such a judgment. “Any

     monetary recovery Crowley might be entitled to in the future, including in Claims Court, would

     be entirely separate from the district court’s exercise of jurisdiction and award of the requested

     declaratory and injunctive relief.” Id. (internal quotation marks and alterations omitted).

            The same cannot be said here. The non-monetary relief that Plaintiffs seek does not have

     “considerable value” apart from the “future potential for monetary gain.” Kidwell, 56 F.3d at 284

     (internal quotation marks omitted). Plaintiffs ask the court (1) to “[d]eclare that OJP’s terminations



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     on the basis of Section 200.340(a)(4) are unlawful, including its interpretation that 2 C.F.R.

     § 200.340(a)(4) allows OJP to terminate a grant based on a ‘change’ in agency priorities,” and

     (2) to “[p]reliminarily and permanently enjoin Defendants . . . from terminating grants under

     2 C.F.R. § 200.340(a)(4) on the basis of a ‘change’ in agency priorities.” Compl. at 29–30. But

     that non-monetary relief has little, if any, independent value from the future potential of monetary

     recovery. Plaintiffs conceded as much at oral argument. They acknowledged that the value of the

     non-monetary relief was the avoidance of future grant terminations that violate § 200.340(a)(4).

     Tr. at 13:8-11 (stating that declaratory relief is necessary because if “the grants are reinstated and

     the government does the exact same thing as it did before and terminates the grants, we’re back in

     the same position moving forward”). That is not “considerable value” independent of the monetary

     relief sought; it merely ensures that the monetary relief will continue.

            In sum, because the source of the right and the relief requested for Plaintiffs’ contrary-to-

     law APA claim is “at its essence” contractual, Plaintiffs have failed to establish this court’s

     jurisdiction over this claim. Denial of preliminary injunctive relief and dismissal must follow.

     V.     THE MERITS

            The court turns now to the merits of those claims over which it does have jurisdiction,

     namely, Plaintiffs’ constitutional and ultra vires claims. To secure preliminary injunctive relief,

     Plaintiffs must establish a “likelihood of success on the merits.” Aamer, 742 F.3d at 1038.

     To defeat a motion to dismiss, the burden is lower. Plaintiffs need only state a claim for relief that

     is “plausible on its face.” Sickle, 884 F.3d at 344–45 (quoting Iqbal, 556 U.S. at 678). The court




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     keeps these different standards in mind when evaluating the pending motions. Cf. Food & Water

     Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015). 3

             A.       Fifth Amendment Claims

             Plaintiffs assert two Fifth Amendment claims. First, they contend that they “have a

     constitutionally protected property interest in the funding they applied for, were awarded, and

     currently rely on,” entitling them to due process before Defendants summarily terminated their

     grants. Prelim. Inj. Mem. at 23; Compl. ¶¶ 84–85. To assert a claim pursuant to the Fifth

     Amendment’s Due Process Clause, “a plaintiff must show (i) deprivation of a protected liberty or

     property interest; (ii) by the government; (iii) without the process that is ‘due’ under the Fifth

     Amendment.” NB ex rel. Peacock v. District of Columbia, 794 F.3d 31, 41 (D.C. Cir. 2015)

     (internal citations omitted). Second, they contend that Defendants “violated the Due Process

     Clause by terminating [their] grants in an unconstitutionally vague manner.” Prelim. Inj. Mem. at

     24. They argue that “OJP’s use of Section 20.340(a)(4) to allow for the termination anytime it

     ‘changes’ agency priorities invites the very sort of arbitrary terminations that are at issue in this

     case.” Id. at 25.

             “The first inquiry in every due process challenge is whether the plaintiff has been deprived

     of a protected interest in ‘liberty’ or ‘property,’” so the court begins there. See NB ex rel. Peacock,

     794 F.3d at 41 (quoting Gen. Elec. Co. v. Jackson, 610 F.3d 110, 117 (D.C. Cir. 2010)). “[T]he

     range of interests protected by procedural due process is not infinite.” Bd. of Regents of State Colls.

     v. Roth, 408 U.S. 564, 570 (1972). As the D.C. Circuit has explained:

                      Whether a given statutory scheme gives rise to a protected interest
                      depends on whether the authority promulgating the statute or

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       The court rejects Plaintiffs’ assertion that Defendants have somehow forfeited Rule 12(b)(6) arguments as to any
     claim. See Pls.’ Reply & Opp’n at 28 n.6. Defendants’ Rule 12(b)(6) arguments in opposition to injunctive relief are
     the same as those supporting dismissal. See Defs.’ Mot. to Dismiss at 2 (arguing that “each claim fails on its own
     terms and should be dismissed.”).

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                    regulation has placed substantive limits on official discretion.
                    Addressing the limitations necessary to support such an entitlement,
                    the Court has stated that ‘the regulations [must] contain ‘explicitly
                    mandatory language,’ i.e., specific directives to the decisionmaker
                    that if the regulations’ substantive predicates are present, a particular
                    outcome must follow.”

     Tarpeh-Doe v. United States, 904 F.2d 719, 722–23 (D.C. Cir. 1990) (quoting Ky. Dep’t of

     Corrections v. Thompson, 490 U.S. 454, 463 (1989)) (internal citation omitted).

            Within the government contracting space, the D.C. Circuit has found that total debarment

     from government contracting implicates a protected liberty interest, but it has never held that a

     contractor has a property interest in expected payments. See, e.g., Conset Corp. v. Cmty. Servs.

     Admin., 655 F.2d 1291, 1296 (D.C. Cir. 1981); Reeve Aleutian Airways, Inc. v. United States, 982

     F.2d 594, 598 (D.C. Cir. 1993); Com. Drapery Contractors, Inc. v. United States, 133 F.3d 1, 6

     (D.C. Cir. 1998); see also Loc. 342, Long Island Pub. Serv. Emps., UMD, ILA, AFL-CIO v. Town

     Bd. of Town of Huntington, 31 F.3d 1191, 1195 (2d Cir. 1994) (holding there is no protected

     property interest where there is “nothing more than a simple contractual right to receive . . .

     payments”). Indeed, “[o]utside of the employment context, courts have resisted application of

     due-process principles to government contracts because with scores of millions of government

     contracts in effect at any point in time, it is unimaginable that all government agencies would be

     required to provide a hearing before they take any action that is arguably inconsistent with a

     contract.” New Vision Photography Program, Inc. v. District of Columbia, 54 F. Supp. 3d 12, 29

     (D.D.C. 2014) (internal quotation marks, alteration, and citation omitted).

            The crux of Plaintiffs’ claimed property interest is that federal regulations “place

     substantive limitations on” Defendants’ ability to terminate the grant funds, thereby affording

     Plaintiffs “a legitimate claim of entitlement, as to which the Due Process Clause affords

     protection.” Prelim. Inj. Mem. at 23 (quoting NB ex rel. Peacock, 794 F.3d at 41–42); see also


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     Pls.’ Reply & Opp’n at 20. More specifically, they say that “2 C.F.R. § 200.340(a)—the governing

     regulation specific to grant terminations—places substantive limitations on OJP’s discretion to

     terminate the grants at issue.” Pls.’ Reply & Opp’n at 20.

            But the regulation does no such thing. Section 200.340(a) simply lists four circumstances

     in which a government agency “may” terminate a federal award. The regulation’s text is thus

     permissive; it does not contain “explicitly mandatory language” that dictates an outcome if

     “substantive predicates are present.” Tarpeh-Doe, 904 F.2d at 722–23 (quoting Ky. Dep’t of

     Corrections, 490 U.S. at 463). Further, the regulation itself is inert unless the agreement contains

     the relevant termination provision. 2 C.F.R. § 200.340(b) (“The Federal agency . . . must clearly

     and unambiguously specify all termination provisions in the terms and conditions of the Federal

     award.”). To the extent OJP was restricted in its ability to terminate grants, the source of such

     constraint is the grant agreements themselves, not § 200.340(a). In that sense, Plaintiffs’ due

     process claim “is substantively indistinguishable from a breach of contract claim.” Suburban

     Mortg. Assocs. v. Dep’t of Housing & Urban Dev., 480 F.3d 1116, 1128 (Fed. Cir. 2007) (“[A]

     claim that a government agency has violated a party’s right to due process by refusing performance

     under a contract is substantively indistinguishable from a breach of contract claim.”).

            Finally, the court agrees with the conclusion of another judge in this District who found no

     property interest in a grant termination case because “Plaintiffs offer[ed] no reason to think their

     contracts and grants . . . are different from the ‘millions of government contracts in effect at any

     point in time’ to which courts seldom apply ‘due-process principles.’” Nat’l Urban League v.




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     Trump, --- F. Supp. 3d ----, 2025 WL 1275613, at *18 (D.D.C. 2025) (quoting New Vision

     Photography, 54 F. Supp. 3d at 29 (citation omitted)). 4

              Having failed to establish even a plausible property interest in the grant awards, Plaintiffs’

     Fifth Amendment claims must be dismissed. See Hettinga v. United States, 677 F.3d 471, 479–80

     (D.C. Cir. 2012) (identifying a “cognizable liberty or property interest” as “the threshold

     requirement of a due process claim”); Nat’l Urban League, 2025 WL 1275613, at *17 (observing

     that “[a] void for vagueness challenge is, at bottom, a due-process claim, so Plaintiffs must show

     that they were deprived of a constitutionally-protected property or liberty interest”) (internal

     quotation marks and citation omitted).

              B.       Other Constitutional Claims

              Plaintiffs’ remaining constitutional claim rests on “Congress’s ‘exclusive power over the

     federal purse.’” Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d at 1346 (quoting Rochester Pure

     Waters Dist. v. EPA, 960 F.2d 180, 185 (D.C. Cir. 1992)). According to Plaintiffs, the grant

     terminations violated the separation of powers, the Spending and Appropriations Clauses, and the

     Take Care Clause. 5 Compl. ¶¶ 104–15.

              “Under Article II of the Constitution . . . , the President must follow statutory mandates so

     long as there is appropriated money available and the President has no constitutional objection to




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       The court respectfully disagrees with the few cases that have found that federal grantees “have a legitimate property
     interest in federal funds that Congress has already appropriated and that the [grantees] have accepted.” Cnty. of Santa
     Clara v. Trump, 275 F. Supp. 3d 1196, 1218 (N.D. Cal. 2017), aff’d in part, vacated in part, remanded sub. nom. City
     & Cnty. of San Francisco v. Trump, 897 F.3d 1225 (9th Cir. 2018); see also Nat’l Ass’n of Diversity Officers in Higher
     Educ. v. Trump, 767 F. Supp. 3d 243, 280 n. 10 (D. Md. 2025). In both cases, the courts relied on summary citations
     to Roth and other foundational Supreme Court precedent. Indeed, National Association of Diversity Officers made
     this observation in a footnote and merely accepted the plaintiffs’ arguments. See 767 F. Supp. 3d at 280 n.10. The
     order in that case was subsequently stayed by the Fourth Circuit. See Order, Doc. No. 29, Nat’l Ass’n of Diversity
     Officers in Higher Educ. v. Trump, No. 25-1189 (4th Cir. March 14, 2025).
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       At argument, Plaintiffs represented that its Spending and Appropriations Clauses and Take Care Clause claims are
     co-extensive with its separation of powers claim. See Tr. 47:11-23. The court thus considers these claims together.
     See Prelim. Inj. Mem. at 26–28.

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     the statute.” In re Aiken Cnty., 725 F.3d at 259; see also Youngstown Sheet & Tube Co. v. Sawyer,

     343 U.S. 579, 637 (1952) (Jackson, J., concurring) (“When the President takes measures

     incompatible with the expressed or implied will of Congress, his power is at its lowest ebb[.]”).

     Thus, when Congress appropriates sums of money for certain purposes, the Executive must spend

     it. See Train v. City of New York, 420 U.S. 35, 42–44 (1975); Anti-Deficiency Act, Pub. L. No. 97-

     258, 96 Stat. 929 (1982) (codified at 31 U.S.C. § 1512) (prohibiting executive officers from

     holding appropriated funds in reserve except in certain circumstances). The President cannot

     refuse to spend appropriated funds based on policy reasons alone, unless Congress explicitly

     approves their recission. In re Aiken Cnty., 725 F.3d at 259, 261 n.1; see also Impoundment Control

     Act, Pub. L. No. 93-344, 88 Stat. 297 (1974) (appropriated funds “shall be made available for

     obligation” absent congressional recission).

              According to Plaintiffs, Defendants’ termination of hundreds of grants to the tune of $820

     million constituted a “blanket refusal to spend appropriations.” See Prelim. Inj. Mem. at 26;

     Compl. ¶¶ 110–15. But that is not the evidence before the court. Defendants are not refusing to

     spend the $820 million in terminated grant awards; rather, they intend to re-obligate those funds

     to other grantees. See Henneberg Decl. ¶ 26. Further, the awards are sourced to “no year”

     appropriations, meaning Defendants are not required to expend the funds by the end of a fiscal

     year.    Id. ¶ 17; Consolidated Appropriations Act, 2024, 138 Stat. at 145; Consolidated

     Appropriations Act, 2023, Pub. L. No. 117-328, 136 Stat. 4459, 4534 (2023); Bipartisan Safer

     Communities Act, 136 Stat. at 1338–39; Consolidated Appropriations Act, 2022, 136 Stat. at 123–

     24; see also 34 U.S.C. §§ 20101(c), 20103(c)(1)(A) (congressionally created Crime Victims Fund

     which is permanent and available for grants “without fiscal year limitation”). Defendants therefore

     face no congressionally mandated deadline to identify and pay new grantees.



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            Plaintiffs push back against none of this. See Tr. at 32:8-21 (conceding the grant monies

     are “no year” funds). For that reason alone, they have failed to establish a likelihood of success

     on their separation-of-powers and related claims. See Harris Cnty., 2025 WL 1707665, at *9–10

     (holding that the plaintiffs had failed to establish a likelihood of success on their separation of

     powers claim where the congressional appropriation did not “limit agency discretion over how to

     spend appropriated funds” and “plaintiffs have presented no evidence that this administration (or

     for that matter, a future administration)” will not re-obligate the terminated grant funds).

            Whether to dismiss these claims is trickier. Defendants rightly concede that they cannot

     rely on the Henneberg Declaration on their Rule 12(b)(6) motion. Tr. at 82:22-24. So, OJP’s stated

     intention to re-obligate the funds cannot be the basis for dismissal. That said, Plaintiffs still bear

     the burden of pleading a plausible claim. And, in this context, the court thinks it is important that,

     to survive a motion to dismiss, Plaintiffs must plead some facts that plausibly establish that OJP

     will not reissue the awards to new grantees or that they will do so in a way inconsistent with the

     appropriations statutes.

            The complaint does not do so. The closest Plaintiffs come is an assertion contained in

     paragraph 111. There, after recounting facts about one Plaintiff’s terminated funding, Plaintiffs

     write: “But Congress’ command did not change, and Congress’ command left Defendants no

     leeway to simply pocket the money.” Compl. ¶ 111. That statement, however, is a “bare

     assertion[]” of fact and is “not entitled to be assumed true.” Iqbal, 556 U.S. at 681. Nowhere else

     does the complaint provide the “factual enhancement” necessary to support Plaintiffs’ spending-

     related constitutional claims. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007). Accordingly,

     the court will dismiss them.




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            C.       Equitable Ultra Vires

            That leaves Plaintiffs’ ultra vires claim. The court disposes of it quickly.

            Ultra vires review is a type of nonstatutory review and is available where “an agency has

     taken action entirely ‘in excess of its delegated powers and contrary to a specific prohibition’ in

     a statute.” Nuclear Regul. Comm’n v. Texas, 145 S. Ct. 1762, 1776 (2025) (quoting Railway

     Clerks v. Ass’n for Benefit of Non-contract Employees, 380 U.S. 650, 660 (1965)). Additionally,

     ultra vires review is “unavailable if . . . a statutory review scheme provides aggrieved persons

     ‘with meaningful and adequate opportunity for judicial review,’ or if a statutory review scheme

     forecloses all other forms of judicial review.” Id. (quoting Board of Governors, FRS v. McCorp

     Financial, Inc., 502 U.S. 32, 43 (1991)).

            Plaintiffs’ ultra vires claim fails at these thresholds. They do not allege that Defendants

     acted “entirely in excess of” their delegated powers and contrary to a specific prohibition in any

     appropriations statute. See Fed. Express Corp. v. United States Dep’t of Com., 39 F.4th 756, 765

     (D.C. Cir. 2022) (“[U]ltra vires claimants must demonstrate that the agency has plainly and openly

     crossed a congressionally drawn line in the sand.”). Further, the ultra vires claim is simply a

     variant of their other claims, for which there are adequate forms of judicial review both in this

     court and the Court of Federal Claims. See Compl. ¶ 102 (alleging that Defendants “lacked

     constitutional, statutory, and regulatory authority to issue or implement the en masse termination

     of the Plaintiffs’ and putative class members’ grant awards”). Accordingly, their ultra vires claim

     is dismissed.

     VI.    CONCLUSION

            There is no doubt in the court’s mind that OJP’s award terminations were unfair and

     indiscriminate. When a government agency, especially the Department of Justice, agrees to fund



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     private organizations to carry out a public purpose, such organizations expect regularity and

     respectful treatment. That is not what occurred here. The court laments that the limits of its own

     power prevent it from helping Plaintiffs and similarly situated grantees. But the court cannot cure

     an injustice by exceeding its own authority.

            Accordingly, Plaintiffs’ Motion for Preliminary Injunction, ECF No. 3, is denied, and

     Defendants’ Motion to Dismiss, ECF No. 27, is granted. Plaintiffs’ Motion for Class Certification,

     ECF No. 2, is denied as moot. A final, appealable order accompanies this opinion.




     Dated: July 7, 2025                                         Amit P. Mehta
                                                           United States District Judge




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
     _________________________________________
                                               )
     VERA INSTITUTE OF JUSTICE, et al.,        )
                                               )
                                               )
           Plaintiffs,                         )
                                               )
                  v.                           ) Case No. 25-cv-1643 (APM)
                                               )
     U.S. DEPARTMENT OF JUSTICE, et al.,       )
                                               )
           Defendants.                         )
     _________________________________________ )

                                                    ORDER

            For the reasons set forth in the court’s Memorandum Opinion, ECF No. 47, Plaintiffs’

     Motion for Preliminary Injunction, ECF No. 3, is denied and Defendants’ Motion to Dismiss, ECF

     No. 27, is granted. Plaintiffs’ Motion for Class Certification, ECF No. 2, is denied as moot.

            This is a final, appealable order.




     Dated: July 7, 2025                                          Amit P. Mehta
                                                            United States District Judge




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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


         VERA INSTITUTE OF JUSTICE, et al.,

         Plaintiffs, on behalf of themselves and all
         others similarly situated,

         v.                                              Case No. 25-cv-1643 (APM)


         UNITED STATES DEPARTMENT
         OF JUSTICE;
         PAMELA J. BONDI, in her official capacity
         as United States Attorney General;

         OFFICE OF JUSTICE PROGRAMS,

         MAUREEN A. HENNEBERG, in her official
         capacity as Acting Head of the Office of
         Justice Programs,

         Defendants.



                    EMERGENCY MOTION FOR INJUNCTION PENDING APPEAL

               Defendants terminated more than $820 million in grants to Plaintiffs and hundreds of other

     nonprofits in Plaintiffs’ putative class. ECF 47 at 1. This Court’s July 7 Order denied Plaintiffs’

     motions for preliminary injunction and class certification and granted Defendants’ motion to

     dismiss. ECF 48. But the Court’s Memorandum Opinion suggested that Plaintiffs had shown all

     the factors warranting an injunction pending their appeal of the Order. Now Plaintiffs seek that

     injunction under Federal Rule of Civil Procedure 62(d). 1




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         Defendants are opposed to this Motion.



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            Rule 62(d) “necessarily envisions situations in which a district court that has denied an

     injunction still grants an injunction pending appeal”—“even if the court that just denied injunctive

     relief ‘believe[s] its analysis’ in denying relief ‘is correct.’” United States v. Facebook, 2024 WL

     291739, at *1 (D.D.C. Jan. 12, 2024) (alteration in original) (quoting Wash. Metro. Area Transit

     Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 844–45 (D.C. Cir. 1977)). An injunction pending

     appeal is proper, for instance, where the “threat of irreparable harm” is “grave”; the balance of the

     equities “decisively” favors relief; and the movant “establishes a ‘serious legal question’ on the

     merits and shows that ‘the other three factors tip sharply’ in its favor.” Id. (citations omitted).

     Those criteria are all met here.

            Grave threat of irreparable harm. Plaintiffs’ Complaint and briefing showed that Plaintiffs

     and the communities they serve have been and will continue to be devastated by Defendants’

     precipitous grant terminations. ECF 8-1, 11-1, 37. This Court’s Memorandum Opinion agreed that

     the terminations would likely cause enormous harm. And everything that has happened since this

     litigation began—attested to by the declarations attached to this Motion—only reinforces

     Plaintiffs’ irreparable harm showing.

            As Plaintiffs’ preliminary injunction briefing and the attached declarations showed,

     Defendants’ terminations are inflicting precisely the kinds of irreparable harms that warrant an

     emergency injunction and cannot be remedied by retrospective financial payments. ECF 11-1.

     Defendants’ terminations have forced “the layoff of specialized staff that is presently jeopardizing

     their operations and services, the elimination of critical programs that serve victims and law

     enforcement alike, and deep harms to Plaintiffs’ reputations in communities that were

     painstakingly built up over years and decades.” ECF 37 at 43. The effects of those layoffs and

     cutbacks resonate throughout communities. Plaintiffs, among many other vital services, provide


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     interpretation for Deaf crime victims; relief for victims of violent crime in 23 different hospitals;

     interventions in active armed conflicts; and support to youth at risk of gun and gang violence. ECF

     37 at 43-44 (citing declarations). When Plaintiffs are forced to cut back, people get hurt. As this

     Court already concluded: Defendants’ actions, if not enjoined, are “likely to harm communities

     and individuals vulnerable to crime and violence.” ECF 47 at 2.

            The new declarations attached to this Motion only underscore the immediacy of the harm,

     which no post-litigation payments can remedy. For instance, since this litigation started:

        •   Homicides in King County, Washington, where Plaintiff Center for Children & Youth

            Justice operates, continue to increase at an “astronomical” pace with thirteen deaths by

            firearm since May 21, 2025. Sottile Decl. ¶¶ 8, 6. But CCYJ has had to lay off gang

            outreach specialists who specialize in working with many of the youth who fall precisely

            in these populations. Id. ¶ 3-4.

        •   In Detroit, thirteen teenagers and children were shot between June 27 and July 7. Kennedy

            Decl. ¶ 3. A four-year-old boy was murdered. Id. This kind of eruption of violence often

            happens around block parties and firework displays on the Fourth of July weekend—at

            least, absent the kinds of interventions that Plaintiff FORCE Detroit was funded to provide.

            Because of OJP’s termination of grant funding, though, FORCE Detroit was unable to

            intervene to help prevent this summer’s violence. Id. ¶ 6.

        •   In communities across the country, gun violence skyrockets when hot weather hits and

            schools close for the summer. Ridni Decl. ¶ 4. During that risky period, the violence

            interruption work of Plaintiff Health Resources in Action (HRiA) is particularly important.

            But Defendants’ terminations robbed HRiA of the resources that support frontline

            intervention workers: one HRiA community partner, for instance, had to lay off staff and


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            triage violence interventions. Id. ¶ 3. The long term-impact of the termination is being felt

            both by the impacted communities and by HRiA itself: when the organization and its

            partners cannot show up at critical moments despite promising that they would do so, that

            absence inflicts irreparable reputational harm. Id.

        •   Reported threats of violence against Asian-Americans are skyrocketing—but, because of

            Defendants’ terminations, Plaintiff Stop AAPI Hate could not be there to help victims of

            such violence by providing them with support and healing. For instance: threats to South

            Asian communities jumped by 40% in May compared to the previous six months. Choi

            Decl. ¶ 7. Meanwhile, Stop AAPI Hate had to accelerate layoffs; cut back work with

            consultants who help victims; and halve its healing support programs. Id. ¶ 3-4.

            The public interest and equities decisively favor relief. Plaintiffs amply showed that the

     public interest and equities weigh heavily in their favor. ECF 37 at 47-51. This Court again agreed,

     concluding that Defendants’ terminations are “likely to harm communities and individuals

     vulnerable to crime and violence.” ECF 47 at 2. Speaking directly to the equities, the Court

     concluded that Defendants’ abrupt and unexplained termination of Plaintiffs’ grant awards was

     “unquestionably arbitrary,” “shameful,” “unfair and indiscriminate.” Id. at 1-2, 34.

            Serious legal questions on the merits. At a minimum, Plaintiffs raised serious legal issues

     for the reasons explained in their prior briefing. ECF Nos. 8-1, 11-1, 37, 38. And here too, this

     Court’s opinion shows that Plaintiffs met their burden. The Court suggested that Plaintiffs’ APA

     claims likely have merit—that Defendants’ actions were “arbitrary, at least in lay terms” and

     “indiscriminate.” ECF 47 at 2, 34. The Court denied a preliminary injunction because it concluded

     that it lacked jurisdiction. Id. at 27. But it recognized that its conclusion was far from obvious. For

     instance: while finding that the Supreme Court decision in California III forecloses relief on


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     Plaintiffs’ arbitrary-and-capricious APA claim, id. at 22, the Court recognized that other district

     courts in this Circuit have read California III quite differently. See id. at 17-18 (“The Supreme

     Court’s sparse reasoning in California III has sown confusion in this jurisdiction. . . . Nor have

     judges in this District been uniform in their application of California III.”). A difference of opinion

     among district courts in this Circuit on the meaning and interpretation of an emergency order from

     the Supreme Court is precisely the kind of serious merits question that—taken together with the

     harms and the equities—warrants injunctive relief pending appeal.

                                               CONCLUSION

            For these reasons, the Court should grant Plaintiffs’ motion and enjoin OJP’s terminations

     of Plaintiffs’ grants pending Plaintiffs’ appeal. This Court should not require Plaintiffs—

     organizations seeking to protect the public from violence and whose missions are already gravely

     suffering from cuts to their grant funding—to post a bond. Imposing a bond requirement would

     undermine their right to judicial review. ECF 11-1 at 48.

     Dated: July 10, 2025                   Respectfully submitted,

                                            /s/ Joshua Stanton
                                            JOSHUA STANTON (D.C. Bar No. 90010653)
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                                            SOMIL TRIVEDI (D.C. BAR NO. 1617967)
                                            BRIAN D. NETTER (D.C. BAR NO. 979362)
                                            SKYE L. PERRYMAN (D.C. BAR NO. 984573)
                                            DEMOCRACY FORWARD FOUNDATION

                                                       5

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                                   Washington, D.C. 20043
                                   (202) 448-9090
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                                   Counsel for Plaintiffs
                                   *Admission pro hac vice pending




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                                      CERTIFICATE OF SERVICE

            I hereby certify that on this 10th of July, 2025, I filed the foregoing papers using the Court’s

     CM/ECF system, which served the foregoing on all counsel of record.


                                            /s/ Joshua Stanton
                                            JOSHUA STANTON




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,

     Plaintiffs, on behalf of themselves and all others similarly
     situated,

     v.                                                                 Case No. 1:25-cv-01643
     UNITED STATES DEPARTMENT
     OF JUSTICE, et al.,

     Defendants.



                                   DECLARATION OF NICHOLAS TURNER
     I, Nicholas Turner, declare as follows:

              1.        My name is Nicholas Turner. I am a resident of Kings County in the state of New

     York. I am over the age of eighteen. I am the President and Director of the Vera Institute of

     Justice. This declaration is based upon my personal knowledge and the knowledge I have acquired

     in the course of my duties. If called as a witness, I could and would testify competently to the

     matters set forth below. I provide this additional declaration in support of the motion for an

     injunction pending appeal.

              3.        Since the commencement of this litigation, Vera continues to suffer from serious and

     irreparable harm as result of the termination of Vera’s awards.

              4.        Although Vera is a relatively large organization, we cannot absorb the blow of losing

     the OJP grant funding at issue over the long-term; as a consequence Vera initiatives will cut their

     budgets and lay off staff members in the next few months.

              5.        We have already lost staff. One of Vera’s lead staffers, working on our

     Transforming Prison Cultures, Climates, and Spaces: Designed for Dignity program, resigned after


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     the awards were terminated. Had the awards remained in place, along with the partnerships and

     work they supported, Vera would have restaffed this position, but ithout funding Vera cannot fill

     her position despite its necessity and importance.

            6.      Other organizations—prospective members of the class—have reported to Vera that

     the termination of their OJP awards has had a significant and irreparable impact. One organization

     lost approximately $3.84 million in OJP funding. Despite being a well-established institution (one of

     the most prominent in the field) the organization cannot survive the loss of funding. They have

     already laid off almost a dozen staff members and are now planning to lay off the remaining staff

     and cease operations. Absent an injunction pending appeal, they will have to imminently shut down

     their organization because they cannot continue to effectively provide community safety

     programming on a skeleton budget.




                                            Signature on following page.




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     Date: July 10, 2025



                                    _________________________________
                                    Nicholas Turner
                                    President and Director of Vera Institute of Justice
                                    Kings County, New York




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,

     Plaintiffs, on behalf of themselves and all others similarly
     situated,

     v.                                                             Case No. 1:25-cv-01643
     UNITED STATES DEPARTMENT
     OF JUSTICE, et al.,

     Defendants.



                                       DECLARATION OF STEVEN RIDINI


     I, Steven Ridini, declare as follows:

              1.        My name is Steven Ridini. I am a resident of Suffolk County in the State of

     Massachusetts. I am over the age of eighteen. This declaration is based upon my personal

     knowledge and the knowledge I have acquired in the course of my duties. If called as a witness,

     I could and would testify competently to the matters set forth below. I provide this additional

     declaration in support of Plaintiffs’ motion for an injunction pending appeal.

              2.        I am the President and CEO of Health Resources in Action (HRiA). In this role, I

     lead the organization and partner with the HRiA Board and staff to develop a vision and strategic

     direction rooted in addressing critical public health issues through a health and racial equity

     framework. This includes building strategic partnerships with key individuals and organizations

     to advance HRiA’s mission and maximize our community impact. I started as President and

     CEO on March 1, 2016, and have served in the position for nine years.




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            3.      Since the commencement of this litigation, HRiA continues to suffer immediate

     and irreparable harms as a result of OJP’s termination of HRiA awards.

            a.      HRiA has had to lay off employees due to the termination of these funds.

            b.      Several community partners who rely on HRiA for funding and financial support

            have laid off employees and have been forced to judiciously deploy violence intervenors

            due to staffing layoffs and limitations.

            c.      Because of the loss of grant funding, HRiA and its partners continue to face

            irreparable reputational harm: the halting of critical programs and hiring, and failure to

            follow through on promises made to communities has severely damaged HRiA and its

            partners relationships with their communities, law enforcement, and local mental health

            agencies.

            d.      For one of HRiA’s community partners that works in prisons, hiring freezes and a

            lack of access to the infrastructure and expertise HRiA offered has slowed their work; the

            organization had delayed onboarding new staff and is under immense stress to find and

            fundraise enough money to pay consultants, uphold commitments, and keep their

            program afloat.

            e.      Another community partner is scrambling to find funding to meet a $25,000

            salary shortfall to maintain a critical staff member, and their employees are going above

            and beyond to maintain trust with, and commitments to, the young people they serve—

            even resorting to using their personal vehicles to transport the young people they work

            with as a result of cuts.

            4.      Further, because warm weather increases community violence, HRiA’s grant

     funding was terminated at the time in which CVI work is desperately needed in the communities




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     it serves. For example, HRiA’s community partners in two communities have reported an

     increase in gun cases among youth under the age of 17, including possession charges and guns

     being brought into schools. In another city, community partners have seen increased incidents of

     violence, particularly among women, that experience shows may be the tip of the iceberg

     because a rise in aggravated assaults can and will lead to gun violence, and is typically a sign of

     more violence to come. Absent an injunction pending appeal, it will be nearly impossible for

     HRiA’s partners to prevent this increase in violence in their communities without the financial

     and infrastructural support of HRiA’s grants.



                                        Signature on following page.




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     Date: July 10, 2025




                                    ___________________________________
                                    Steven Ridini
                                    President and CEO of HRiA
                                    Suffolk County, Massachusetts




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,

     Plaintiffs, on behalf of themselves and all others similarly
     situated,

     v.                                                             Case No. 1:25-cv-01643
     UNITED STATES DEPARTMENT
     OF JUSTICE, et al.,

     Defendants.



                                    DECLARATION OF DUJUAN KENNEDY


     I, Dujuan Kennedy, declare as follows:

              1.        My name is Dujuan Kennedy. I am a resident of Detroit, Michigan. I am over the

     age of eighteen. I am the executive director of FORCE Detroit. This declaration is based upon

     my personal knowledge and the knowledge I have acquired in the course of my duties. If called

     as a witness, I could and would testify competently to the matters set forth below. I provide this

     additional declaration in support of Plaintiffs’ motion for an injunction pending appeal.

              2.        Since the start of this litigation, FORCE Detroit has seen a significant increase in

     community violence that, because of the termination of FORCE Detroit’s awards, it has not been

     able to prevent.

              3.        Local news outlets reported that at least 13 teenagers and children were shot in

     Detroit between June 27 and July 7,1 including a four-year-old boy who was shot and killed in



     1
      Andrea May Sahouri, Detroit Cracks Down on Curfew Violations After Several Teens, Children Shot, Detroit Free
     Press (July 7, 2025), https://www.freep.com/story/news/local/michigan/detroit/2025/07/07/detroit-police-
     department-curfew-violations/84494108007/.




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     Detroit’s Skinner park.2 FORCE Detroit previously funded an organization—Team Pursuit—that

     worked to prevent violence in the zip code where these shootings occurred. But since its award

     was terminated, FORCE Detroit could not implement its summer strategy to continue supporting

     organizations like Team Pursuit in their efforts to prevent devastating community violence.

             4.       In a recent statement, Detroit’s Mayor Duggan remarked that the city has “had 20

     shootings involving juveniles, either victims or shooters” in June, and the city has issued “curfew

     tickets for minors as young as 12, 13, 9 out at 3, 4 in the morning.”3

             5.       Over the Fourth of July holiday specifically, a two-year old was struck by a bullet

     while watching fireworks in a Detroit neighborhood,4 and one shooting left three teenagers in

     critical condition,5 prompting further enforcement of the city’s teen curfews.6

             6.       In our experience, at least some of these incidents of violence could have been

     prevented if FORCE Detroit and its community partners had been able to execute engagement

     strategies around block parties and firework displays during the holiday weekend, which is the

     very sort of work that FORCE Detroit was carrying out in Detroit prior to the termination of its




     2
       Joseph Buczek, 2 Teens Charged with Murder in Detroit Park Shooting that Killed 4-year-old, CBS News Detroit
     (July 5, 2025), https://www.cbsnews.com/detroit/news/2-teens-charged-murder-detroit-park-shooting-that-killed-4-
     year-old-teen/.
     3
        City of Detroit Outlines Plan to Step Up Enforcement of Teen Curfews Following Rash of Violence, WXYZ Detroit
     (July 7, 2025), https://www.wxyz.com/news/city-of-detroit-outlines-plan-to-step-up-enforcement-of-teen-curfews-
     following-rash-of-violence.
     4
       2-year-old struck by bullet while watching fireworks in Detroit neighborhood, CBS News (July 7, 2025),
     https://www.cbsnews.com/detroit/video/2-year-old-struck-by-bullet-while-watching-fireworks-in-detroit-
     neighborhood/#x.
     5
        Natalie Davies, Shooting Leaves 3 Teens Critically Injured in Detroit, Detroit Free Press (July 5, 2025),
     https://www.freep.com/story/news/local/michigan/detroit/2025/07/05/detroit-shooting-saturday-july-5-acacia-
     bentler/84478442007/.
     6
        Anna Liz Nichols, Detroit Police Chief Implores Parental Vigilance Amid Juvenile Shootings, Michigan Advance
     (July 7, 2025), https://michiganadvance.com/2025/07/07/detroit-police-chief-implores-parental-vigilance-amid-
     juvenile-shootings/. See also Sara Powers, Detroit to Step Up Curfew Enforcement to Curb Violence Involving
     Minors. Here’s What’s Changing, Click on Detroit (July 7, 2025),
     https://www.clickondetroit.com/news/local/2025/07/07/detroit-to-step-up-curfew-enforcement-to-curb-violence-
     involving-minors-heres-what-to-expect/.




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     funding. But FORCE Detroit was not able to engage in this critical work because of the

     termination of its grant funding. Absent an injunction pending appeal to reinstate FORCE

     Detroit’s grant funding, these tragic but preventable deaths will continue to ravage our

     community.

                                       Signature on following page.




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,

     Plaintiffs, on behalf of themselves and all others similarly
     situated,

     v.                                                                 Case No. 1:25-cv-01643
     UNITED STATES DEPARTMENT
     OF JUSTICE, et al.,

     Defendants.



                                       DECLARATION OF CYNTHIA CHOI


     I, Cynthia Choi, declare as follows:

              1.        My name is Cynthia Choi. I am a resident of Los Angeles Country in the State of

     California. I am over the age of eighteen. I am the Co-Founder of Stop AAPI Hate and the Co-

     Executive Director of Chinese for Affirmative Action, the fiscal sponsor for Stop AAPI Hate. This

     declaration is based upon my personal knowledge and the knowledge I have acquired in the course

     of my duties. If called as a witness, I could and would testify competently to the matters set forth

     below. I provide this additional declaration in support of Plaintiffs’ motion for an injunction

     pending appeal.

              3.        Since the commencement of this litigation, Stop AAPI Hate’s ability to respond to

     and prevent incidents of hate against AAPI communities continues to be hampered by the

     termination of Stop AAPI Hate’s award.

              4.        After conducting an organization-wide budget assessment to determine where staff

     layoffs and other budget cuts can be made, we accelerated our timeline for staff layoffs. Instead of



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     estimating that layoffs will happen sometime this year, layoffs will occur this fall unless Stop AAPI

     Hate’s grant funding is restored.

             5.      Stop AAPI Hate also scaled back our healing support programs from two states to

     one, reduced the scope of work with consultants with expertise on healing support, paused plans to

     conduct evaluations of healing support programs, and limited the scope of Stop AAPI Hate’s annual

     national survey on how AAPI communities experience hate.

             6.      Meanwhile, firsthand accounts of in-person anti-Asian hate acts continue to be

     reported and online anti-Asian hate has risen. In May alone, threats of violence and slurs made in

     extremist online spaces against Asian communities reached the third highest monthly count since

     Stop AAPI Hate began tracking in partnership a private research organization. This includes 996

     anti-Asian threats of violence and 60,950 anti-Asian slurs.

             7.      The same month, there was a 40% increase in threats in extremist online spaces

     towards South Asian communities compared to the previous six months—the highest level of

     threats against South Asians observed since this January.

             8.      This May, a husband of a Malaysian woman reported that his neighbor called him

     and his wife various racial slurs, making remarks about immigration, and threatening to get his gun

     to “sort out” the couple. The neighbor eventually punched the husband in the face before leaving

     to retrieve his gun.

             9.      June has been no better. Stop AAPI Hate received reports of various hate acts and

     threats against Asian communities in June.

             10.     For example, a Koren woman in New Jersey was “harassed by a group of boys who

     chased after her with bikes and were yelling at her.” The boys continued to harass the woman to the

     point of a panic attack, necessitating hospital care.




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            11.     Another report detailed the harassment of an Indian woman in Texas, who was

     harassed at work by a customer who yelled “I am glad Trump is deporting you b-tches, and I hope

     you have a green card” while repeatedly calling the woman and her colleague “tramps” and “trolls.”

            12.     Another Asian woman in California reported that she was harassed and called racial

     slurs while trying to register for a class and being denied. The employees gestured their middle

     finger toward her, and made a remark about Indians being “smelly, poor and subhuman.”

            13.     Absent an injunction pending appeal, Stop AAPI Hate will not be able to provide

     the support or resources to help combat these incidents of hate, or engage in culturally relevant

     healing efforts in response to them, without the critical funding from their terminated grant.




                                            Signature on following page.




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     Date: July 10, 2025



                                    _______________________________
                                    Cynthia Choi
                                    Co-Founder of Stop AAPI Hate & Co-Executive Director of
                                    Chinese for Affirmative Action
                                    Los Angeles, California




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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


     VERA INSTITUTE OF JUSTICE, et al.,

     Plaintiffs, on behalf of themselves and all others similarly
     situated,

     v.                                                             Case No. 1:25-cv-01643
     UNITED STATES DEPARTMENT
     OF JUSTICE, et al.,

     Defendants.



                                  DECLARATION OF RACHEL SOTTILE
     I, Rachel Sottile, declare as follows:

              1.        My name is Rachel Sottile. I am a resident of King County in the State of

     Washington. I am over the age of eighteen. I serve as the President & CEO of the Children and

     Youth Justice Center, which does business as the Center for Children & Youth Justice (CCYJ). This

     declaration is based upon my personal knowledge and the knowledge I have acquired in the course

     of my duties, except to those matters stated upon information and belief; as to the latter, I believe

     them to be true. If called as a witness, I could and would testify competently to the matters set forth

     below. I provide this additional declaration in support of Plaintiffs’ motion for an injunction

     pending appeal.

              2.        Since the commencement of this litigation, CCYJ continues to suffer immediate and

     irreparable harm as a result of OJP’s termination of CCYJ’s awards.

              3.        As a result of these terminated awards, our contracted providers have had to reduce

     staff working directly with youth. Across CCYJ’s subrecipients/contracted organizations, at least six

     employees have been let go. In one instance, the organization’s staff was reduced from six members

     to just two.



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              4.       Another organization completely stopped providing Street Outreach services to

     LINC youth. Prior to termination, LINC had 19 Street Outreach workers from contracted partner

     organizations serving youth. Following termination, LINC has only 4 Street Outreach workers from

     contracted partner organizations serving youth. Due to this loss of capacity, LINC has had to

     contract program services and is serving about 30% fewer young people. Street outreach workers

     are a core component of the Office of Juvenile Justice and Delinquency Prevention’s

     Comprehensive Gang Model; this reduction is the most critical connection with gang involved

     youth.

              5.       These organizational harms coincide with an increase in gun violence and shooting

     deaths King County, Washington, the community CCYJ serves.

              6.       According to the King County Medical Examiner’s Office decedent list,1 since May

     21, 2025, there have been 13 homicide deaths by gunshot in King County. Of the 13 homicide

     deaths by gunshot, about 69% of the victims were under the age of 25, which is the demographic

     served by CCYJ.

              7.       According to the 2025 Q1 King County Quarterly Shots Fired Report,2 from January

     1 through March 31 of this year, there were 13 fatal shootings and 47 non-fatal shooting victims in

     King County. Out of the 60 total shooting victims (fatal and non-fatal), 11.67% were under the age

     of 18 and 28% were 18 to 24 years old. Since March 31, those numbers have increased. From the

     beginning of the year through July, King County reported 56 total homicide deaths, with 41

     homicide deaths caused by a firearms. Based on these figures, subtracting the 13 fatalities reported

     in Q1 suggests there were 28 fatal shooting victims between April and July 2025, (during the period



     1 King County Medical Examiner’s Office decedents lists by day, King County, https://kingcounty.gov/en/dept/dph/health-

     safety/medical-examiner/decedents (last visited July 10, 2025).
     2 2025 Q1 King County Quarterly Shots Fired Report, King County, https://perma.cc/KDC8-TQY4 (captured July 10,

     2025).




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     in which CCYJ was no longer able to provide essential services to its community) representing a

     twofold increase from the first quarter of the year when CCYJ was operating in this County at full

     capacity.

             8.      The 2025 Q1 King County Shots Fired Report states that the county saw a 41%

     decrease in the overall number of shooting victims compared to Q1 2024, and that overall shots

     fired incidents were the lowest they have been since QI 2021, which CCYJ believes can be attributed

     to the implementation of CVI protocols in the county. However, despite this positive trend, our

     research tells us that after the termination of the OJP grants, in the seven weeks since the

     commencement of this litigation, (from May 21, 2025 to July 8, 2025) the county saw the same

     number of homicide victims by gunshot as all of the 12.5 weeks of Q1 2025. This is an

     astronomical increase in homicide victims, positioning the county to see an increase in fatal shooting

     victims, and more specifically youth and young adult victims, during the rest of 2025 compared to

     2024.




                                            Signature on following page.




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